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                   CONFIDENTIAL UNDER THE PROTECTIVE ORDER

1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
      IN RE:     FACEBOOK, INC.,                MDL No. 2843
4     CONSUMER USER PROFILE                     Case No.
      LITIGATION                                18-md-02843-VC-JSC
5     ___________________________
6     This document relates to:
7     ALL ACTIONS
8
      ____________________________
9
10
11         **CONFIDENTIAL UNDER THE PROTECTIVE ORDER**
12             ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13         CORPORATE REPRESENTATIVE - ALLISON HENDRIX
14    (Reported Remotely via Video & Web Videoconference)
15         Palo Alto, California (Deponent's location)
16                        Thursday, May 5, 2022
17                                  Volume I
18
19
20
      STENOGRAPHICALLY REPORTED BY:
21    REBECCA L. ROMANO, RPR, CSR, CCR
      California CSR No. 12546
22    Nevada CCR No. 827
      Oregon CSR No. 20-0466
23    Washington CCR No. 3491
24    JOB NO. 5210138
25    PAGES 1 - 347

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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
      IN RE:     FACEBOOK, INC.,                MDL No. 2843
4     CONSUMER USER PROFILE                     Case No.
      LITIGATION                                18-md-02843-VC-JSC
5     ___________________________
6     This document relates to:
7     ALL ACTIONS
8
      ____________________________
9
10
11
12
13
14
15                 DEPOSITION OF ALLISON HENDRIX, taken on
16    behalf of the Plaintiffs, with the deponent located
17    in Palo Alto, California, commencing at
18    9:16 a.m., Thursday, May 5, 2022, remotely reported
19    via Video & Web videoconference before
20    REBECCA L. ROMANO, a Certified Shorthand Reporter,
21    Certified Court Reporter, Registered Professional
22    Reporter.
23
24
25

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1                           APPEARANCES OF COUNSEL
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25    /////

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1                     APPEARANCES OF COUNSEL(cont'd)
2     (All parties appearing via Web videoconference)
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1                     APPEARANCES OF COUNSEL(cont'd)
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7             BY:    ANDREW V. KUNTZ
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1                     APPEARANCES OF COUNSEL(cont'd)
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1                           APPEARANCES(cont'd)
2     (All parties appearing via Web videoconference)
3
4     ALSO PRESENT:
5             Ian Chen, Associate General Counsel, Facebook
6     Inc.
7             John Macdonell, Videographer
8
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1                                  I N D E X
2      DEPONENT                                             EXAMINATION
3      ALLISON HENDRIX                                               PAGE
       VOLUME I
4
5                                BY MR. KO                              12
6
7
8                              E X H I B I T S
9      NUMBER                                                        PAGE
10                               DESCRIPTION
11     Exhibit 330      Plaintiff's Second Amended                      15
12                      Notice of Deposition of
13                      Defendant Facebook, Inc.
14                      Pursuant to Federal Rule of
15                      Civil Procedure 30(b)(6);
16
17     Exhibit 331      newsroom - Better Controls                     169
18                      for Managing Your Content,
19                      FB-CA-MDL-00005751 -
20                      FB-CA-MDL-00005758.
21
22
23
24
25     /////

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1                  Palo Alto, California; May 5, 2022

2                                9:16 a.m.

3                                ---o0o---

4

5                   THE VIDEOGRAPHER:    Okay.    We're on the     09:16:25

6      record.     It's 9:16 a.m., Pacific Time, on

7      May 5th, 2022.     This is the deposition of

8      Allison Hendrix.

9                   We're here in the matter In Re:

10     Facebook, Inc. Consumer Privacy User Profile                09:16:39

11     Litigation.

12                  I'm John Macdonell, the videographer with

13     Veritext.

14                  Before the reporter swears the witness,

15     would counsel please identify themselves, beginning         09:16:47

16     with the noticing attorney, please.

17                  MR. KO:   Good morning, everyone.

18     David Ko of Keller Rohrbach on behalf of

19     plaintiffs.

20                  And with me here today is -- are               09:16:59

21     Cari Laufenberg, Derek Loeser, Emma Wright and

22     Adele Daniele, I believe, also of Keller-Rohrback.

23                  MR. BLUME:    And good morning.      This is

24     Rob Blume from Gibson Dunn on behalf of

25     Ms. Ali Hendrix and Facebook.                               09:17:17

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1                And on the video is -- with me in the            09:17:22

2      room is Prachi Mistry, Kelly Herbert and Ian Chen

3      from Facebook and Gibson Dunn.       And on the video, I

4      think, is Joe LoPresti, Dana Zolle Hauser,

5      Andrew Kuntz and -- I think that's all we have.            09:17:43

6                SPECIAL MASTER GARRIE:       This is

7      Special Master Garrie.     I'm here on behalf of the

8      Court.

9                MR. BLUME:     And --

10               MR. KO:   We have a big crowd for you,           09:18:01

11     Ms. Hendrix.

12               MR. BLUME:     And the part -- as -- as we

13     spoke before we went on the record, the

14     transcript -- we seek to have the transcript marked

15     "Confidential" under the existing protective               09:18:09

16     orders.

17               THE COURT REPORTER:       If you could raise

18     your right hand for me, please.

19               THE DEPONENT:     (Complies.)

20               THE COURT REPORTER:       You do solemnly        09:18:13

21     state, under penalty of perjury, that the testimony

22     you are about to give in this deposition shall be

23     the truth, the whole truth and nothing but the

24     truth?

25               THE DEPONENT:     I do.                          09:18:13

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1                           ALLISON HENDRIX,                     09:18:34

2      having been administered an oath, was examined and

3      testified as follows:

4

5                             EXAMINATION                        09:18:34

6      BY MR. KO:

7             Q.    Good morning, Ms. Hendrix.

8             A.    Good morning.

9             Q.    We met off the record, but my name is

10     David Ko of Keller Rohrback and I'll be taking your       09:18:47

11     deposition today.

12                  I believe you have taken your dep- -- I

13     believe you have taken a deposition before; is that

14     correct?

15            A.    Yes.                                         09:18:58

16            Q.    So you know how this goes a bit, but let

17     me remind you of a few of the ground rules that are

18     most important to me.

19                  The most important task here today is to

20     create a clean record and for Rebecca, the                09:19:10

21     court reporter, to transcribe everything that we

22     say.    So please wait until I finish my question

23     before moving on to your answer, even though you

24     think you know what the answer is.        And I will

25     likewise wait until you finish your response before       09:19:21

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1      moving on to my next question.                            09:19:24

2                Does that sound fair?

3           A.   Yes.

4           Q.   And to the extent I ask a yes-or-no

5      question and your response is, in fact, yes or no,        09:19:32

6      it is important for the record to answer in that

7      manner rather than shaking your head or giving an

8      inaudible response.

9                Does that sound fair?

10          A.   Yes.                                            09:19:47

11          Q.   From time to time your counsel,

12     Mr. Blume, may object to some of my questioning.

13     But unless he clearly instructs you not to answer,

14     I'd ask that you respond to my question

15     nonetheless.                                              09:19:59

16               Does that sound fair?

17          A.   Yes.

18          Q.   And we'll be here for a few hours.         It

19     won't be an entire long day of seven -- seven or

20     eight hours, like a normal deposition, but it will        09:20:10

21     be a pretty long day.   So if at any time you need a

22     break, just please let me know and I will do my

23     best to accommodate.

24               Okay?

25          A.   Yes.                                            09:20:20

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1           Q.   Ms. Hendrix -- by the way, would you               09:20:25

2      prefer Ms. Hendrix, Allison?

3                How would you like to be addressed during

4      this deposition?

5           A.   Ms. Hendrix is fine.                               09:20:34

6           Q.   Okay.    Great.

7                Ms. Hendrix, is there anything that you

8      can think of that will prevent you from testifying

9      honestly or truthfully today?

10          A.   No.                                                09:20:43

11          Q.   Great.

12               Let me start by showing you the notice

13     that governs your testimony today.

14               So let's start with the 30(b)(6) notice

15     that I assume you have seen.      But we'll talk about       09:20:58

16     that here in a second.

17               I can see you're a little confused.          The

18     exhibits will be shown to you both on this platform

19     that you can access or I believe if you would like

20     we can share it on the screen for you.                       09:21:18

21               Whatever you prefer?

22          A.   I wasn't sure if the machine next to me

23     was -- was what I was going to be viewing it on.

24     And it looked like it's -- you might need to log

25     back in to it.                                               09:21:38

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1                 (Discussion off the stenographic record.)      09:21:40

2                 MR. KO:   So while that's being fired up,

3      I will note for the record that this exhibit will

4      be Exhibit 330.

5                 (Exhibit 330 was marked for                    09:22:03

6      identification by the court reporter and is

7      attached hereto.)

8                 MR. KO:   And it will be a copy of the

9      30(b)(6) notice, dated March 1st, 2022.

10          Q.    (By Mr. Ko)     Let me know when you have      09:22:15

11     that up.

12          A.    The folder currently appears to be empty,

13     but maybe I need to do something.

14                MR. KO:   Yeah.    Just give -- give it a

15     little time.   It should --                               09:22:28

16                MR. BLUME:    Just click on that right

17     there.

18                THE DEPONENT:     Okay.

19                MR. KO:   Yeah, you can -- you can

20     refresh.                                                  09:22:33

21                THE DEPONENT:     Yeah.   I got it up.

22                MR. KO:   And while you do that, just

23     so -- great.

24                While you do that, so the record is

25     clear, that exact title of this document is               09:22:37

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1      Plaintiffs Second Amended Notice of Deposition of         09:22:39

2      Defendant Facebook, Pursuant to FRCP 30(b)(6).

3           Q.   (By Mr. Ko)    Do you see that document in

4      front of you now, Ms. Hendrix?

5           A.   I do.                                           09:22:54

6           Q.   Have you seen this notice before?

7           A.   I believe so, yes.

8           Q.   You are testifying on certain topics in

9      this notice, correct?

10          A.   Correct.                                        09:23:04

11          Q.   And let me turn your attention to

12     page 11, section III of this notice.

13          A.   I'm not seeing a section III on what

14     appears to be page 11.

15          Q.   Well, go ahead to page 11 of the notice.        09:23:32

16     And I -- I don't know what PDF you may have up, but

17     I'm talking about page 11 of the notice itself that

18     appears at the bottom of the -- the document.

19          A.   I'm on what seems to be page 11 and it

20     starts with "Matters For Testimony."                      09:23:46

21          Q.   Right.

22               And so by section III, I'm just simply

23     referring to the -- the Roman numeral III that

24     precedes --

25          A.   Oh, okay.                                       09:23:56

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1           Q.      -- "Matters For Testimony."                  09:23:57

2           A.      All right.   I'm there.

3           Q.      So do you see -- okay.     Great.

4                   Do you see under "Matters For Testimony"

5      a topic 1?                                                09:24:06

6           A.      Yes.

7           Q.      Accurate to state that you are testifying

8      on topic 1 of this notice?

9           A.      Yes.

10          Q.      Turn with me to the next page, to            09:24:24

11     topic 3.

12                  Is it accurate to state that you are

13     testifying on topic 3 of this notice?

14          A.      Yes.

15          Q.      And I'm sorry to go a little out of          09:24:41

16     order, but now go back to -- to page 11, topic 2.

17                  Is it accurate to state that you are

18     testifying on some aspects of topic 2 of this

19     notice?

20          A.      Yes.                                         09:24:55

21          Q.      In particular, you are testifying as to

22     topics 2b and 2d, except as those topics relate to

23     targeted advertising, correct?

24          A.      Yes.

25          Q.      Would you agree with me that topics 2b       09:25:11

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1      and 2d have relation -- have some relationship to         09:25:14

2      topic 3?

3                 MR. BLUME:    Objection.      Form.

4                 THE DEPONENT:     What do you mean?

5           Q.    (By Mr. Ko)     Do you understand what the     09:25:28

6      word "related" means?

7                 MR. BLUME:    Objection.      Form.

8                 THE DEPONENT:     I know what the word

9      "related" means.     And if you want to repeat your

10     question, I can slowly look at this and see.              09:25:41

11          Q.    (By Mr. Ko)     Sure.

12                Are -- are topics 2b and 2d related to

13     topic 3?

14                MR. BLUME:    Objection.      Form.

15                THE DEPONENT:     So you're asking me how      09:26:06

16     topics 2b and 2d are related to 2, 3?

17          Q.    (By Mr. Ko)     No.     I'm not -- first of

18     all, I'm not asking you how.         And I'm not -- I

19     didn't talk about 2, 3.

20                I said are topics 2b and 2d related to         09:26:23

21     topic 3?

22                MR. BLUME:    Objection.      Form.

23                MR. KO:    Mr. Blume, in the past, just so

24     you -- for your edification, we have had a standing

25     objection or we've stipulated to a standing               09:26:38

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1      objection as to form.       And I'm happy to do that      09:26:41

2      here, to the extent those objections are -- are

3      form objections.

4                  MR. BLUME:     Well, I don't -- I don't

5      think we can have a --                                    09:26:52

6                  MR. KO:     If you don't want to stipulate,

7      that's fine.

8                  MR. BLUME:     I -- yeah, I'd prefer not a

9      standing objection.       I just -- I'm not sure --

10     I'm -- I'm not even sure what you mean, but               09:26:57

11     that's my -- my objection is to the form of the

12     question.

13                 THE DEPONENT:     Yeah, I -- I can't --

14     I'm -- I'm going to decline to answer that because

15     like we've -- we've never sold data.          So it's     09:27:07

16     like -- I'm not going to wrap all of these

17     statements in together and say that they're

18     related.    I'm sorry.

19          Q.     (By Mr. Ko)     Okay.   Is topics -- are

20     aspects of topic 2b and 2d -- and this is not a           09:27:22

21     trick question.       This is just a basic question.

22                 Are topic -- aspects of topic 2b and 2d

23     related in any way to topic 3?

24                 MR. BLUME:     Objection.

25                 THE DEPONENT:     What do you mean by         09:28:04

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1      "related"?                                                09:28:05

2                   Maybe you can help me.

3           Q.      (By Mr. Ko)   I'm -- I'm not the Webster

4      dictionary, but I have a very common understanding

5      of what the word "related" means.                         09:28:14

6                   Do you have an understanding of what the

7      word "related" means because earlier when I asked

8      you --

9           A.      I'd love to understand -- I'd -- I'd love

10     to understand what your common understanding is.          09:28:20

11          Q.      Is there any relation --

12          A.      That could help me answer this question.

13          Q.      So your counsel designated you, and you

14     consented to testify as to topics 2b and 2d, and

15     you answered yes to that question, correct?               09:28:40

16          A.      I can testify with respect to the topics

17     that I already acknowledged that I'm here to

18     testify.

19          Q.      So you -- I assume you have an

20     understanding of what topics 2b and 2d encompass;         09:28:53

21     is that correct?

22          A.      Yes.

23          Q.      If the Court or the jury wanted to know

24     whether or not Ms. Hendrix believed that topics 2b

25     and 2d were in any way, shape or form related to          09:29:11

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1      topics 3, how would you respond to that question?         09:29:14

2                MR. BLUME:   Objection.    Speculation.

3      Vague.

4                THE DEPONENT:   So 2b is "Identification,

5      by category, of the type of Data or Information to        09:29:27

6      which Facebook sold" -- again, we've never done

7      that -- "made accessible, made available, or

8      allowed Third Parties to use to target Users,"

9      which I'm not here to testify to, on ads, "The

10     types" -- well, let's go to b.                            09:29:45

11               "The purposes for which such Data or

12     Information was shared or made" available -- "made

13     accessible, or permitted Third Parties to target,"

14     the later of which I'm not here to speak to.

15               "How Facebook ensured Third Parties' Use        09:29:57

16     of such Data or Information was limited to the Use

17     Case."

18               Then when we go to topic 3, "An overview

19     of the processes of developing Privacy or App

20     Settings or other controls made available to Users        09:30:11

21     to prevent or limit their Data or Information from

22     being accessed by Third Parties, including the

23     dates during which each such Privacy or App Setting

24     or other controls were available."

25               And I'll go ahead and help us all by not        09:30:27

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1      continuing to read it.                                    09:30:29

2                 So topic 2 does speak to the platform.

3      And topic 3 speaks to how people could use settings

4      to control information through the platform, so

5      they are somewhat related.                                09:30:45

6           Q.    (By Mr. Ko)     Okay.    Thank you.

7                 In particular, topic 3c, and which you

8      indicated earlier that you were testifying on

9      behalf of Facebook for, indicates that you will be

10     providing testimony as to Facebook's monitoring and       09:31:03

11     enforcement of contractual terms with third

12     parties.

13                Do you see that -- of course, it has some

14     extra language in there -- but do you see topic 3c?

15          A.    I do.                                          09:31:14

16          Q.    Do you feel that it -- that has any

17     relationship with topic 2d, which asks for how

18     Facebook ensured third parties' use of such data or

19     information was limited to the use case?

20                MR. BLUME:    Objection.     Form.             09:31:26

21                THE DEPONENT:     Those topics are similar.

22          Q.    (By Mr. Ko)     Great.    Thank you.

23                I believe you're also tasked -- turn --

24     turn to page 13 of the notice and, in particular,

25     topic 6.                                                  09:31:54

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1           A.      I just read it.                                    09:32:05

2           Q.      Is it accurate to state that you are also

3      testifying as to some aspects of topic 6 of this

4      notice?

5                   MR. BLUME:    Objection.     She's not --          09:32:19

6      we're not presenting her as a witness on topic 6.

7      So, no, I can answer that.

8                   MR. KO:   That's con- -- that's contrary,

9      Mr. Blume, to your own email that indicated that

10     Ms. Hendrix is testifying as to the portions of                 09:32:30

11     topics --

12                  MR. BLUME:    Right.     Yeah, you're right.

13     I'm sorry.     My -- you're absolutely right, Mr. Ko.

14     You're -- that's correct.        My -- I'm sorry.

15          Q.      (By Mr. Ko)    Let me restate the question.        09:32:40

16          A.      I am prepared to -- I'm prepared to --

17          Q.      Let me -- sorry.       Sorry, Ms. Hendrix.     I

18     apologize.     Let me just -- so we have a clean

19     record, let me just ask it again.

20                  Is it accurate to state that you are               09:32:49

21     testifying as to some aspects of topic 6 of this

22     notice?

23          A.      Yes.

24          Q.      In particular, you are testifying as to

25     "The development of Friend Sharing" and "the                    09:33:01

                                                                        Page 23

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1      communication of this technology to users,                09:33:09

2      including the drafting of Facebook's Terms of

3      Service, SRR and Data and Privacy Policies" related

4      to "Friend sharing"?      And I added a "to" there.

5                 But is that accurate to state, that you        09:33:24

6      are testifying as to that portion of topic 6?

7           A.    The first part, no.      But I am here to

8      talk about the -- like the drafting of Facebook's

9      terms of service, SRR and data and privacy policies

10     related to friend sharing.                                09:33:40

11          Q.    Great.     Thank you.   That's helpful.

12                So it's accurate to state that you are

13     testifying on behalf of Facebook today as to the

14     drafting of Facebook's terms and service, SRR, and

15     data and privacy policies related to friend               09:33:52

16     sharing, correct?

17          A.    Yes.

18          Q.    And for all of these topics that we just

19     went through, which is -- which are topic --

20     topics 1, portions of 2, including 2b and 2d,             09:34:06

21     topic 3 and portions of topic 6, you understand

22     that you are testifying on behalf of Facebook,

23     correct?

24          A.    Correct.

25          Q.    Do you understand that you are not             09:34:22

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1      testifying in your individual capacity, correct?          09:34:24

2           A.    That's correct.

3                 And just to qualify for 2b, not the third

4      parties to target.

5           Q.    Correct.                                       09:34:37

6                 You -- you are not here to testify as to

7      the aspects of topic 2 related to targeted

8      advertising?

9           A.    That's correct.

10          Q.    Do you understand that your testimony is       09:34:50

11     binding on the company?

12          A.    Yes.

13          Q.    Now, pursuant to the notice, this --

14     these topics and your testimony today will cover

15     the time period from January 1st, 2007 to the             09:35:09

16     present.

17                Do you understand that time period

18     reflected in the notice?

19          A.    I do.

20          Q.    Great.                                         09:35:20

21                So unless I otherwise specify a range or

22     a specific date that I am interested in, with

23     respect to my question, my questions will generally

24     relate to this entire time period.

25                Okay?                                          09:35:34

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1           A.      I understand.                                       09:35:36

2           Q.      Ms. Hendrix, what did you do to prepare

3      for this deposition?

4           A.      I -- I reviewed a number of documents.          I

5      met with fellow teammates.        I met with my counsel.         09:35:52

6      I'm --

7           Q.      When you say --

8           A.      Would you like me to go into detail?

9           Q.      I can ask some follow-up questions.

10     Thank you.                                                       09:36:10

11                  When you say "teammates," what do you

12     mean by that?

13          A.      I -- I met with individual employees at

14     Meta Facebook so that I could prepare for these

15     topics.                                                          09:36:28

16          Q.      And by the way, thank you for reminding

17     me of Facebook's new corporate name.           I just want

18     to make sure that the record is clear.

19                  Your testimony today is on behalf of both

20     Meta and Facebook; is that fair?                                 09:36:42

21          A.      Yes.

22          Q.      And so to the extent I say "Facebook,"

23     that will be synonymous with Meta.          And to the

24     extent I say "Meta," that will be synonymous with

25     Facebook; is that okay?                                          09:36:56

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1           A.      Yes.                                               09:36:57

2           Q.      And your corporate testimony, pursuant to

3      Rule 30(b)(6), will also be on behalf of Meta and

4      Facebook, correct?

5           A.      Yes.                                               09:37:07

6           Q.      So the individuals and employees that you

7      spoke with at Facebook, what groups or departments

8      were they a part of?

9                   MR. BLUME:    Objection.     Form.

10                  THE DEPONENT:     I met with -- let's -- it        09:37:31

11     might be easier if I just state the individuals'

12     names.

13          Q.      (By Mr. Ko)     Sure.

14                  What -- how many -- approximately how

15     many individuals did you meet with that were -- and             09:37:44

16     this is just with respect to the Facebook employees

17     that you described.

18          A.      So setting aside our lawyers, I met with

19     Simon Cross, Eddie O'Neil, Rob Sherman.            Pratiti --

20     her name is hard to pronounce.          It starts with a P.     09:38:05

21                  I -- I think -- oh, and Kristy Cook.         I

22     think those -- I think that's a comprehensive list

23     of the people that I met with over videoconference.

24          Q.      And with respect to Kristy Cook and

25     Pratiti --                                                      09:38:42

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1              A.    Oh, I forgot.     Ed Palmieri.               09:38:42

2      Edward Palmieri.

3              Q.    So I count six individuals that you met

4      with in preparation for this deposition -- at least

5      six individuals at Facebook, setting aside your            09:38:58

6      lawyers; is that correct?

7              A.    Yes.   Those are -- those are the

8      teammates that I sought additional information

9      from.

10             Q.    And with respect to Pratiti and Kristy,      09:39:11

11     what departments at Facebook are they in?

12             A.    I'm going to refer to my notes here.

13                   She -- so Pratiti is the functional head

14     for user research.         And Kristy is a member of

15     the -- I think present day, she's on the global            09:39:43

16     operations team that's led by John DeVine.

17             Q.    When you say presently that's her role,

18     what was her role prior to that?

19                   MR. BLUME:     Objection.    Form.

20                   THE DEPONENT:     Her role hasn't changed,   09:40:07

21     but there was -- but her team was moved into a

22     different org recently.         And I can't recall the

23     name of exactly which org she had been sitting in

24     before.      But her day-to-day responsibilities, as I

25     understand them, haven't -- haven't changed.               09:40:27

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1           Q.      (By Mr. Ko)    And -- and you just           09:40:30

2      indicated that you were looking at some of your

3      notes.

4                   So I assume you brought some notes with

5      you to this deposition today?                             09:40:37

6           A.      Yes, I -- I did.

7           Q.      Are they notes that you created yourself?

8           A.      Yes.

9           Q.      And those are notes that you've obviously

10     referred to once and that you intend to refer to          09:40:51

11     throughout this deposition, I assume?

12          A.      If needed.    I mean, I probably spent 30,

13     40 hours like preparing, just -- just meeting with

14     counsel, let alone all of time reviewing all the

15     documents.     So as I'm sure you can imagine, this is    09:41:09

16     a very lengthy period of time so I felt comfortable

17     that I wanted to be helpful to you and be able to

18     be responsive.

19                  So yes, I -- I asked if I could create

20     notes and -- and I created them.                          09:41:25

21                  MR. KO:   I appreciate that.

22                  Counsel Blume, we would request a copy

23     and a version of these notes following this

24     deposition.

25                  MR. BLUME:    Noted.                         09:41:41

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1           Q.    (By Mr. Ko)   Now, earlier you had             09:41:46

2      asked -- or you had indicated that there were some

3      documents that you reviewed in connection with your

4      preparation.

5                 Did those documents consist of documents       09:42:00

6      that you understood were provided by plaintiffs'

7      counsel in connection with this deposition?

8           A.    I did receive documents that you guys

9      sent over a handful of days ago, I think.

10          Q.    And did you review all those documents?        09:42:23

11          A.    I did look through.    I didn't read every

12     word, but I did review them all.

13          Q.    And other than that tranche of documents,

14     I assume you reviewed other additional documents in

15     connection with this -- in connection with                09:42:38

16     preparing for this deposition?

17          A.    Yes.

18          Q.    Okay.   And can you describe -- tell me

19     what those documents consisted of?

20          A.    I probably won't be comprehensive, but         09:42:55

21     I'll do my best.

22                So it's like newsroom posts, tasks,

23     emails.   I believe the documents that we've shared

24     with you, which -- and then transcripts from prior

25     testimony, like -- yeah, I -- I -- I don't know if        09:43:14

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1      you want me to go further, but it was, you know, a         09:43:26

2      lot of materials.

3           Q.      No, that's great.    I was just trying to

4      get a general understanding of the types and

5      categories of documents you reviewed, and so that          09:43:34

6      was helpful.

7                   When you said that there were documents

8      that "we've shared with you," do you mean to talk

9      about the documents that Facebook has produced in

10     connection with discovery in this case or are you          09:43:50

11     talking about some other set of documents that were

12     shared?

13          A.      I believe these are the documents that

14     we've produced to you in connection with my

15     testimony.                                                 09:44:01

16          Q.      Okay.   So you believe that there was a

17     specific set of documents that were provided to us

18     in connection with this testimony?

19                  MR. BLUME:    And -- and I'll -- I'll

20     object.   To the extent that -- that your                  09:44:13

21     understanding of what was produced and when and to

22     whom came from discussions with counsel, that you

23     should not respond to that question.

24          Q.      (By Mr. Ko)    Are you going to follow your

25     counsel's instruction?                                     09:44:35

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1           A.     Yes.    I don't have anything further to      09:44:36

2      add than what I said.

3           Q.     Take a look at schedule B of the notice,

4      which is Exhibit 330, and it's at page 16.

5           A.     Okay.    I'm here.                            09:45:00

6           Q.     There is a paragraph, paragraph 1,

7      that -- to be fair, it doesn't ask you directly,

8      but it asks your counsel -- to produce and provide

9      "All documents which the person Facebook designates

10     to testify on its behalf has consulted or reviewed        09:45:17

11     or plans to consult in preparation for the

12     deposition and has relied upon or will rely upon

13     for testimony concerning the above deposition

14     topics."

15                 Did I read that correctly?                    09:45:29

16          A.     Yes.

17          Q.     And you had indicated that in addition to

18     the documents we provided to you, that you have

19     reviewed a large set of additional categories of

20     documents to prepare for this deposition, correct?        09:45:41

21                 MR. BLUME:    Objection.

22                 THE DEPONENT:    I would bucket it into --

23     into two categories.      Those documents that you

24     noticed us on and those documents that we provided

25     to you.    I didn't --                                    09:45:57

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1           Q.   (By Mr. Ko)        And with --                  09:46:00

2           A.   -- review other documents.

3           Q.   Right.     And I was talking about this --

4      this -- that second latter category.

5                Apologies if I was unclear.                     09:46:07

6                So --

7           A.   Well --

8           Q.   -- in addition --

9           A.   -- the third bucket is my notes.

10          Q.   Okay.     Great.     Thank you for that         09:46:16

11     clarification.

12               So there -- there -- to be clear, there

13     is a set of documents that you reviewed in

14     preparation for this deposition, outside of the

15     documents we provided to you, correct?                    09:46:33

16          A.   Yes.

17               MR. KO:     Okay.     Counsel Blume --

18               THE DEPONENT:        I should -- I --

19               MR. BLUME:     Yes.

20               MR. KO:     Go ahead.                           09:46:47

21               MR. BLUME:     Go ahead.

22               THE DEPONENT:        Well, I -- I -- I had a

23     deposition in another matter very, very recently.

24     And so in terms of scope and me really wanting to

25     make sure that I'm being fully responsive,                09:47:01

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1      you know, over the last couple of months I've had             09:47:05

2      to review documents that might have been out of

3      scope.     But -- but that would -- I -- I don't know.

4                   Like, I just want to make sure -- like

5      I -- I did review documents not too long ago for              09:47:17

6      another case, but I don't know if they're relevant

7      to this.

8                   MR. KO:   Understood.   Thank you for that

9      explanation.

10                  So Counsel Blume, we would request,              09:47:31

11     consistent with both the schedule and our previous

12     request, that you produce to us all the documents

13     that Ms. Hendrix reviewed in connection with

14     preparing for this deposition today.

15                  And I would also note that we reserve the        09:47:48

16     right to reopen this deposition after you produce

17     those documents to us.

18                  MR. BLUME:   All -- all -- all of those

19     documents have been produced in discovery.              You

20     already have every document that she looked at in             09:48:01

21     preparation for this 30(b)(6) witness.         And so

22     pursuant to discovery protocol, those do not have

23     to be produced again, so -- but you have them all.

24                  MR. KO:   Thank you for that explanation.

25                  And our view would be that we would like         09:48:16

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1      to know the specific documents and not just a                  09:48:17

2      reference to the entire discovery production.

3                MR. BLUME:     And that is we --

4                MR. KO:   So we would like to --

5                MR. BLUME:     -- we would -- sorry.           Go    09:48:24

6      ahead.

7                MR. KO:   Yeah.     So we -- just to clarify,

8      we would renew our request, consistent with this

9      notice and consistent with our prior request and

10     meet-and-confers, that you prepare and produce this            09:48:38

11     material with a specific reference to which

12     documents were reviewed by Ms. Hendrix.

13               MR. BLUME:     And we would object.           It's

14     work product.   Engages privileged conversations.

15     And pursuant to the discovery protocol, not --                 09:48:51

16     we're not required to reproduce documents for

17     purposes of depositions that have already been

18     produced in discovery.      Every document that she

19     reviewed that -- in preparation for this 30(b)(6)

20     deposition, has been previously produced.                      09:49:08

21               THE DEPONENT:      And I can testify --

22               MR. BLUME:     Wait for a question.

23               THE DEPONENT:      Oh, sorry.

24          Q.   (By Mr. Ko)     Sorry.

25               Ms. Hendrix, what were you going to say?             09:49:19

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1           A.     I might have just --                           09:49:22

2                  MR. BLUME:     Is there -- is there a

3      question?

4                  THE DEPONENT:     Oh.

5           Q.     (By Mr. Ko)     I said -- yeah, the question   09:49:23

6      was, what were you going to say?

7           A.     I might have --

8           Q.     Go ahead.

9           A.     I might have caused us noise because I

10     can testify -- well, I am testifying -- I didn't           09:49:32

11     open up any of those old -- I just was trying to be

12     clear that I -- I've been -- review -- I've -- I've

13     testified recently on another case.

14                 But after I testified, I never reviewed

15     any of those documents.       But it sounds like you       09:49:49

16     already have them anyway.

17          Q.     What case did you testify recently on?

18                 MR. BLUME:     Hang on.

19                 Okay.     You can answer.

20                 THE DEPONENT:     It -- it was the D.C.        09:50:09

21     attorney general case.

22                 MR. KO:     Thank you.

23                 By the way, Mr. Blume, I'm -- I'm having

24     trouble hearing you a little bit.

25                 MR. BLUME:     Oh --                           09:50:23

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1                MR. KO:     So if -- if you don't mind, when    09:50:24

2      you object or note anything for the record, if you

3      could kind of lean over and speak into the

4      microphone, that would helpful.

5                Thank you.                                      09:50:30

6                MR. BLUME:     How is that; is that better?

7                MR. KO:     Yeah, I think so.     Thanks.

8           Q.   (By Mr. Ko)     And when was that

9      deposition, Ms. Hendrix?

10          A.   I don't remember the precise date.              09:50:45

11          Q.   Approximately when was that deposition,

12     Ms. Hendrix?

13          A.   It was in June.

14          Q.   June of 2021?

15          A.   2022.                                           09:51:03

16               MR. BLUME:     We're only in May.

17               MR. KO:     We're in May.    Sorry.

18               THE DEPONENT:     It was in -- oh, shit.

19     Excuse my language.

20               MR. BLUME:     That would be amazing.           09:51:11

21               THE DEPONENT:     Like I'm going backwards.

22     Sorry.

23               Last month.     April.

24          Q.   (By Mr. Ko)     Okay.    So you -- you

25     testified in the D.C. attorney general action in          09:51:20

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1      April of 2022, correct?                                    09:51:23

2           A.   Yes.

3                Sorry.   It looks like I'm having --

4           Q.   No worries.

5           A.   -- morning fatigue.                              09:51:30

6           Q.   Well, you know, time does generally fly

7      these days.   So, yeah, you were just getting ahead

8      of yourself a little bit.     It's okay.

9                So with respect to some of these

10     topics -- and as we discussed, because these topics        09:51:46

11     relate to various policies and contracts that were

12     applicable to users and third parties -- I assume

13     you have reviewed some of these policies and

14     contracts; is that fair to say?

15          A.   Yes.                                             09:52:07

16          Q.   And let me be a little more specific.

17               Are -- are you familiar with the

18     statement of rights and responsibilities or SRRs?

19          A.   Yes.

20          Q.   What are they?                                   09:52:20

21          A.   It's not two separate things.         Like the

22     SRR is how we abbreviate the statement of rights

23     and responsibilities and it is the terms of -- of

24     service for using Facebook.

25          Q.   And throughout today, I -- I will be             09:52:40

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1      using the acronym SRR.                                         09:52:42

2                   And is it okay, for purposes of the

3      deposition, that, as you note, when I say SRR, or

4      when you say SRR, we can assume that refers to the

5      statement of rights and responsibilities; is that              09:52:55

6      fair?

7              A.   Yes.    If you would like to refer to the

8      SRR -- that wasn't the name of it initially.             But

9      I'm happy to know and agree that SRR means just

10     terms of service, generally.                                   09:53:09

11             Q.   And -- and we'll get to the various

12     iterations and names in a moment.

13                  But before we do that, let -- let me ask

14     you about Facebook's data use policy.          And I know

15     that it had different names as well.                           09:53:21

16                  But are you familiar with Facebook's data

17     use policy?

18             A.   I am.

19             Q.   And what is Facebook's -- what is -- what

20     is that?                                                       09:53:31

21             A.   Facebook's data use policy -- which has

22     also been referred to as our privacy policy -- it

23     tells people what it is that we collect and how

24     their information can be used and -- this

25     high-level response there.                                     09:53:45

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1             Q.   And with respect -- to back up a little        09:53:52

2      bit.    I apologize -- on the SRR, you had indicated

3      that it reflected the terms of service for using

4      Facebook.

5                  And so would that be terms of service for      09:54:02

6      the Facebook user, I assume?

7             A.   Yes.   If you sign up for Facebook, you

8      agree that you have read the data use policy and

9      you agree to the terms of service.

10            Q.   Now, I assume you are also familiar with       09:54:26

11     Facebook's platform policy; is that correct?

12            A.   Yes.

13            Q.   What is that?

14            A.   It's no longer referred to as the

15     Facebook platform policy.       It's -- we have platform   09:54:39

16     terms and developer policies.        And those are the

17     terms and policies that govern third -- developers'

18     use of our platform technologies.

19            Q.   And when did that name change occur -- or

20     when did that change occur?                                09:54:57

21                 MR. BLUME:    Objection.     Form.

22                 THE DEPONENT:     It was in -- we announced

23     the change in mid 2020, and the terms went into

24     effect in -- August 31st of that same year.

25            Q.   (By Mr. Ko)     So up until the middle of      09:55:19

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1      2020, Facebook had something called a platform                          09:55:21

2      policy; is that correct?

3              A.      Yes.   We had the Facebook platform

4      policies.

5                      Sitting here today, I know that there's                 09:55:30

6      been another name, like developer policies.                  But

7      they are the same documents in terms of what I

8      described the document to be earlier.

9                      MR. BLUME:    And, Mr. Ko, my -- I'm still

10     here.        My apologies.    I just mistakenly unplugged               09:55:45

11     everybody.        So I'm sitting around -- I'm right

12     here, but I just -- I'm getting back on online.                    No

13     need to wait, or you can, if you like.

14                     MR. KO:   Got it.   Thank you.     Appreciate

15     that.                                                                   09:56:00

16                     It was a like voice of God because I

17     didn't see your face.

18             Q.      (By Mr. Ko)    Now, with respect to the

19     platform policy, can you describe at a high level,

20     just as you did with respect to the SRR and the --                      09:56:11

21     the data use policy, what Facebook's platform

22     policy attempted to do?

23             A.      Facebook's platform terms and developer

24     policies are our agreement with developers, with

25     respect to how they will use the platform.                  And         09:56:30

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1      there's a number of -- it's -- it's the rules with        09:56:36

2      respect to using the technology, to the extent the

3      developer chooses to use it.      It's not always

4      relevant.

5           Q.     And that policy and contract is between       09:56:51

6      Facebook and the -- the third-party developer,

7      correct?

8           A.     Yes.   The developers -- when they create

9      and register as a developer on our platform, they

10     agree to adhere to the platform terms and -- and          09:57:04

11     developer policies.

12          Q.     And was the Facebook user -- or was a

13     Facebook user -- a party to that policy or

14     contract?

15          A.     To the extent the Facebook user, who has      09:57:21

16     agreed to our terms of service chooses to register

17     as a developer, then yes.

18          Q.     So only if the user was a developer would

19     that policy apply, correct?

20          A.     What do you mean by "apply"?                  09:57:41

21          Q.     Well, you -- you answered the question --

22     well, let me ask it this way.

23                 As a general matter, the Facebook

24     platform policy governed the relationship between a

25     Facebook developer and Facebook, correct?                 09:57:55

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1              A.   That is our agreement with developers who     09:57:59

2      use our platform, yes.

3              Q.   And it wasn't a contract that governed

4      Facebook's relationship with its users because

5      those were reflected in the SRRs and DUPs, correct?        09:58:12

6              A.   To the extent a user is also a developer,

7      they agree to the platform terms and developer

8      policies, in connection with their use of the

9      platform.

10             Q.   Outside of that carve-out, Facebook           09:58:37

11     users' interactions with the Facebook platform and

12     on Facebook were governed by the SRRs and DUPs,

13     correct?

14                  MR. BLUME:    Objection.     Form.

15                  THE DEPONENT:     If a user does not use --   09:58:57

16     does not develop apps on our platform, then they're

17     only subject to the terms that are relevant to

18     them.

19             Q.   (By Mr. Ko)     And those terms would

20     be the -- reflected in the SRRs and DUPs, correct?         09:59:13

21             A.   If they don't use any of our other

22     products, because there's other terms of -- there's

23     other terms of use, depending on what you choose,

24     like depending on your relationship with us.

25                  But if -- if you just go and just sign up     09:59:30

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1      for Facebook, all you want to do is use Facebook,           09:59:32

2      then the terms of service and our data use policy

3      would be the two primary documents that you agree

4      that you have read and will adhere to.

5              Q.   Thank you.    Thank you.                       09:59:48

6                   And -- and it's fair to say that the vast

7      majority of Facebook users would fall under that

8      umbrella, correct?

9                   MR. BLUME:    Objection.     Form.

10                  THE DEPONENT:     Sitting here today, I -- I   10:00:03

11     don't -- I'm not -- I don't know the answer to

12     that.

13             Q.   (By Mr. Ko)     Do you have a general

14     understanding of how many users were also

15     developers on the Facebook platform, relative to            10:00:17

16     users that did not develop on the Facebook

17     platform?

18             A.   That is not a data point that I know of

19     today.

20             Q.   And separate and apart from a specific or      10:00:38

21     precise data point, do you have any understanding

22     of the total number of users in the relevant time

23     period that used Facebook but did not also develop

24     on the platform, such that they were subject to the

25     platform policy and subsequent iterations of that           10:01:01

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1      platform policy?                                                 10:01:04

2                   MR. BLUME:     Object -- objection.

3                   And just to be clear, what topic are we

4      talking about, Mr. Ko?

5                   MR. KO:   All of them.                              10:01:12

6                   MR. BLUME:     That's beyond the scope.

7      Objection.

8                   MR. KO:   You can answer, unless Mr. Blume

9      decides to instruct you not to answer.

10                  MR. BLUME:     If you know, you can answer.         10:01:23

11                  THE DEPONENT:     I've already told Mr. Ko

12     that I don't know.        I can continue to repeat

13     myself.

14                  I'm not prepared to speak to that.           It's

15     not on the topic.                                                10:01:33

16          Q.      (By Mr. Ko)     That's fine.

17                  And I was just trying to get -- to be

18     fair, I -- I was just trying to get a general

19     understanding.

20                  I -- I heard your response as saying that           10:01:40

21     you didn't have a specific data point.           And so I

22     was just curious whether or not you were aware,

23     because you seem to understand that there was a

24     distinction between users who develop and users who

25     do not.   And so the -- the natural follow-up                    10:01:53

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1      question was whether or not you knew the population            10:01:55

2      of the former relative to the latter.

3                  And I hear your response to say that you

4      don't know, and you don't have any idea; is that

5      correct?                                                       10:02:04

6           A.     I did --

7                  MR. BLUME:       Objection.

8                  THE DEPONENT:       -- not prepare to speak to

9      that today.

10          Q.     (By Mr. Ko)       I want to show you --            10:02:14

11     because you had indicated before that there were --

12     and it's also somewhat confusing to me -- and there

13     are a lot of policies to walk through, so I want to

14     make sure that we are on the same page with respect

15     to these policies.                                             10:02:30

16                 I'm going to share my screen.           And this

17     is not an exhibit, but this is just my

18     understanding of these relevant policies.

19                 Do you see this in front of you,

20     Ms. Hendrix?                                                   10:02:51

21                 MR. BLUME:       Is -- is this a produced

22     document?

23                 MR. KO:    No.     Like I said, this is

24     something that I created.

25          Q.     (By Mr. Ko)       Do you see this in front of      10:03:02

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1      you, Ms. Hendrix?                                         10:03:03

2           A.    Yes, I can see what you're displaying on

3      the screen.

4           Q.    Thank you.

5                 And it's not -- again, I -- this is just       10:03:14

6      to help orient ourselves and to help me understand

7      what you are here to testify about.

8                 So with respect to the statement of

9      rights and responsibilities, or the SRR, as you

10     described earlier, there were various names that          10:03:29

11     were associated with the SRR; is that fair to say?

12          A.    I'm only aware of two; terms of service

13     and statement of rights and responsibilities.

14          Q.    Okay.    That's helpful.

15                So the terms of service -- I believe the       10:03:46

16     terms of service is what this is called now,

17     correct?

18                MR. BLUME:    Objection.     Form.

19                THE DEPONENT:     Yes, that's my

20     understanding.                                            10:04:02

21          Q.    (By Mr. Ko)     And it's my understanding --

22          A.    And I'm going to ask you --

23          Q.    Go ahead.

24          A.    There's a lot of -- there's a lot

25     documents and materials.      And so, like, you -- I      10:04:11

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1      may need to refer back to -- to them because               10:04:13

2      there's a lot of information that I had prepared.

3                But go ahead.

4           Q.   Yeah.     I -- I understand.     There's --

5      there's a lot -- there's a lot to unpack in these          10:04:23

6      topics, I -- I agree.

7                So this is -- I'm not trying to put you

8      on the spot.   I'm trying to -- hopefully, you'll

9      see I'm trying -- I'm trying to help us all,

10     because there are so many names flying around that         10:04:35

11     I want to make sure you and I are on the same page

12     with respect to these things.

13               So as you indicated, the SRR was renamed

14     to the terms of service; is that correct?

15          A.   Yes, I believe so.                               10:04:58

16          Q.   And do you have any understanding of when

17     the SRR was renamed to the terms of service?

18          A.   I'd have to look at the documents.

19          Q.   Does it refresh your recollection at all,

20     when I put here that in 2018 -- and precisely              10:05:17

21     April 19th, 2018 -- the SRR was renamed to the

22     terms of service?

23          A.   I'd rather not rely on your document that

24     I've never seen until just now.       Like I want to see

25     the actual documents and the dates that are on             10:05:33

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1      them.                                                         10:05:35

2                      So I'm sorry, but -- like we can get

3      the -- the terms and policies up and I can go

4      through each of the respective name change and the

5      dates, if that's how you want to use the time                 10:05:43

6      today.        But I'm not going to rely on your document.

7              Q.      Sure.   That's fair enough.

8                      So I'm going to delete that for you

9      because I'm not trying to present that this is the

10     Bible or that this is a canon that we have to all             10:05:56

11     follow.

12                     I was trying to be helpful to both of us.

13     But you -- you acknowledge that the SRR was at some

14     point changed to the terms of service, correct?

15             A.      Yes.                                          10:06:08

16             Q.      Okay.   And you don't have a recollection

17     of when it actually changed names, right?

18             A.      I would need to refresh.      I know that I

19     know.        I know that I need to go to the documents.

20     And I'm distracted by seeing you guys typing and              10:06:26

21     like changing the text at -- live as we're sitting

22     here.

23             Q.      Yeah.   Well, the -- I -- I'm -- I

24     apologize for distracting you.

25                     But I'm trying to figure out from you, as     10:06:40

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1      the corporate designee, who you acknowledged before            10:06:43

2      that you are here to testify as to these policies.

3      I'm curious whether or not you know when it was

4      renamed from the SRR to the terms of service.

5                  And your testimony is that you don't               10:06:57

6      know, so I'm just putting a question right here for

7      now.

8                  MR. BLUME:    Actually, objection.          That

9      wasn't her testimony.

10                 Her testimony was she wanted to see the            10:07:04

11     document, and she'd be able to do that, as opposed

12     to a memory test.

13                 MR. KO:   Fair enough.

14            Q.   (By Mr. Ko)    Without looking at the

15     documents, you don't know when the name changed                10:07:12

16     from SRR to terms of service; is that correct?

17            A.   I know that I know.      I know that I don't

18     remember without referring to the dates.

19            Q.   Got it.

20                 And then you said that you are only aware          10:07:28

21     of two names that this user terms of service had

22     over the relevant time period.

23                 So the -- here -- and I'm happy to get

24     rid of it -- but it was my understanding that at

25     some point before the SRR, it was identified as                10:07:45

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1      terms of use.                                                        10:07:50

2                  Does that sound familiar to you at all?

3           A.     I'd like to ask my counsel if I can have

4      access to all of these documents.        And, again,

5      you're changing the text right here live in front                    10:07:58

6      of me.    And I think that is highly inappropriate.

7      I'm not a lawyer for the company, but I don't like

8      what you're doing.      So I would like my --

9           Q.     Well, this --

10          A.     I would like to see the documents before                 10:08:10

11     you keep having me watch you change the text.                 Like

12     this is -- this seems highly inappropriate.

13          Q.     Okay.    Well, I -- I -- it's not.          It's no

14     different than if I had you on the stand and I

15     was -- I was creating or writing down on the screen                  10:08:24

16     things that were reflective -- what I thought were

17     reflective of your testimony.

18                 But I understand that you are

19     uncomfortable with it, and I don't want to make you

20     uncomfortable.      So I just -- I'm just trying to get              10:08:37

21     to understand what -- how these various policies

22     were called over the relevant time period.              And

23     that was all that was an attempt to do.

24                 So let me start -- let me start over.

25                 You -- it's your testimony that you're                   10:08:51

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1      aware of a contract that applied to Facebook users             10:08:52

2      and that this contract had two different names, and

3      they were the statement of rights and

4      responsibilities and the terms of service; is that

5      correct?                                                       10:09:08

6              A.   That's my recollection, is that we start

7      with the term of service.        It becomes the statement

8      of rights and responsibilities and then has

9      subsequently been renamed.           That's my

10     understanding.                                                 10:09:22

11                  I would love the benefit of reviewing

12     these documents insofar as timing, but that's my

13     understanding.

14             Q.   So for purposes of today, when I refer to

15     the SRRs, or the terms of service, they will be                10:09:39

16     synonymous.

17                  And that's consistent with your

18     understanding of these contracts and policies; is

19     that fair?

20                  MR. BLUME:    Objection.      Asked and           10:09:54

21     answered.

22                  THE DEPONENT:     Yes.     We already agreed to

23     that.

24             Q.   (By Mr. Ko)     Okay.     Now, with respect to

25     the data use policy, you had indicated that there              10:10:05

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1      were different names for that.                                10:10:08

2                 And some of the names I've seen in the

3      documents, it referred to as -- or simply the data

4      policy; is that consistent with your understanding?

5                 MR. BLUME:    Objection.     Form.                 10:10:29

6                 THE DEPONENT:     I know we had privacy

7      policy data, use policy.      We could have had a title

8      data policy.

9                 I would need to refer to the terms, all

10     of which I am confident we've produced to you and             10:10:41

11     that are publicly available.        So, again, like

12     you -- you have this information.

13          Q.    (By Mr. Ko)     Right.

14                And I'm not asking about whether or not

15     we have it.    I'm -- I'm asking about -- for                 10:10:54

16     purposes of this deposition -- again, this is

17     not -- I'm not trying to put you on the spot.           I'm

18     trying to understand what we are all talking about

19     here so we can speak the same language, because

20     there's a lot of names and acronyms flying around.            10:11:05

21                With respect to Facebook's data use

22     policy, you have indicated that it -- you have

23     heard of the data use policy, also referred to as

24     the data policy and the privacy policy; is that

25     correct?                                                      10:11:21

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1           A.      I didn't say that.      I said it was                10:11:23

2      possible.     I'd need to refresh the titles.             But I

3      think --

4           Q.      So --

5           A.      -- I -- I know that it was privacy                   10:11:31

6      policy.     I'm certain it's also data use policy.

7      Whether it has, at some point in time, been called

8      data policy, I've reviewed all of those, like

9      different versions.        But I just don't remember,

10     sitting here today.                                               10:11:42

11          Q.      So for purposes of this deposition today,

12     in our conversation, when I refer to the data use

13     policy, that would be synonymous with at least the

14     privacy policy and potentially the data policy; is

15     that fair?                                                        10:12:02

16          A.      Yes.

17          Q.      And with respect to the platform policy,

18     you had indicated that it was also changed to the

19     platform teams and developer teams -- development

20     teams policy in mid 2020.                                         10:12:19

21                  Do you recall that?

22          A.      I didn't say --

23                  MR. BLUME:     Objection.

24                  THE DEPONENT:     -- either of those things.

25          Q.      (By Mr. Ko)     Okay.   I apologize for              10:12:27

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1      putting words in your mouth.                              10:12:28

2                What is the relationship between the

3      platform teams and development teams policy and the

4      Facebook platform policy?

5                MR. BLUME:     Objection.    Form.              10:12:39

6                THE DEPONENT:     Those aren't things.

7                MR. KO:     I'm sorry.   I didn't get that

8      over your counsel's objection.

9                MR. BLUME:     Just repeat your answer.

10               THE DEPONENT:     Those aren't things.          10:12:51

11          Q.   (By Mr. Ko)     When you say "those," what

12     are you referring to?

13          A.   You said platform teams, developer teams.

14     I've never said those words today until just now.

15          Q.   Okay.     Earlier today, when you had said      10:13:03

16     that there was change to the platform policy in

17     mid 2020, what were you referring to?

18          A.   In mid 2020, but more importantly,

19     August 31st, 2020, the platform terms and developer

20     policies, which is what is -- what is live today.         10:13:29

21     So developers agree as of, and effective

22     August 31st, 2020, they agree to adhere to the

23     platform terms and the developer policies.

24          Q.   And today is there a thing that exists

25     called the Facebook platform policy?                      10:13:53

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1              A.   That term is no longer in effect.          It is   10:14:03

2      the platform terms and developer policies.

3              Q.   So the platform terms and the developer

4      policy have -- well, they -- they -- as you said,

5      they govern the relationship between Facebook and               10:14:22

6      its developers, correct?

7              A.   Yes.

8              Q.   And so is it fair, for purposes of this

9      deposition is that -- when I refer to the platform

10     policy, I'm also referring to the platform terms                10:14:35

11     and the development policy, or would you prefer

12     that I keep those things distinct?

13             A.   If you refer to the platform policies, I

14     will understand you to be meaning the platform

15     terms and developer policies.                                   10:14:51

16             Q.   That were enacted in August 31st of 2020,

17     correct?

18             A.   Yes.

19                  MR. BLUME:   Objection to that --

20     objection to how that relates to your earlier                   10:15:03

21     qualification that your questions cover a time

22     frame dating back to 2007.

23                  So as long as you're clear -- you're

24     clear -- temporal clarity in your questions, that's

25     fine.                                                           10:15:17

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1           Q.   (By Mr. Ko)    Schedule B -- turning back       10:15:20

2      to schedule B of the notice at Exhibit 330, the

3      schedule asks for a CV of the person Facebook

4      designates to testify on its behalf.

5                Do you see that in paragraph 2?                 10:15:41

6           A.   I do.

7           Q.   Do you have a CV to offer in response to

8      this request?

9           A.   Not on -- not on me right now.

10          Q.   You have a copy of your CV, I assume?           10:15:57

11          A.   I -- I have a résumé on my machine at

12     home, yeah.

13               MR. KO:   Counsel Blume, consistent with

14     our request on topic 1, we would ask that you

15     provide us with a copy of Ms. Hendrix's CV.               10:16:13

16               MR. BLUME:    Noted.

17          Q.   (By Mr. Ko)    What is your current

18     position at Facebook?

19          A.   I'm a director of privacy and data

20     policy.                                                   10:16:29

21          Q.   What are your general roles and -- or

22     what is your -- what are your general

23     responsibilities in connection with that role?

24          A.   My team is accountable for the

25     development and management of all terms and               10:16:41

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1      policies governing third-party data collection and             10:16:44

2      use, as well as the education, and supporting the

3      enforcement of the platform terms and developer

4      policies.

5           Q.      How long have you been in that --                 10:16:57

6                   MR. BLUME:    And, Mr. Ko, this -- sorry.

7      Just --

8                   MR. KO:   Go ahead.

9                   MR. BLUME:    We've gone about an hour.      It

10     sounds like you're in a little bit of a transition             10:17:04

11     period.     If you finish -- if this -- come to a

12     break shortly, we can take one.

13                  MR. KO:   Sure.

14          Q.      (By Mr. Ko)    How long have you been in

15     that role?                                                     10:17:17

16          A.      I -- what do you mean?

17          Q.      How long have you been the director of

18     the team accountable for the develop- -- the

19     developers and the management of all terms and

20     policies governing third-party data collection and             10:17:38

21     use, as well as the education and supporting --

22     supporting of the enforcement of the platform terms

23     and developer policies?

24          A.      I've always -- I've always been involved

25     in that work.     When I was promoted to director, I           10:17:57

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1      believe it was sometime in 2019.                            10:18:02

2              Q.   And when you say that you have always

3      been involved in that work, I assume you to -- to

4      mean that you have been involved in this type of

5      work ever since you joined Facebook in, I believe,          10:18:15

6      2008?

7              A.   Yes, I've always been involved in that

8      type of work since I joined the company.

9              Q.   And is this -- is this called the

10     platform policy team at Facebook or is there some           10:18:32

11     other name that you refer to your team as?

12             A.   My team is referred to as the data policy

13     management and enforcement team.

14             Q.   Were there any prior iterations of that

15     team name?                                                  10:18:49

16                  MR. BLUME:    Objection.     Form.

17                  THE DEPONENT:     That -- ever since the

18     team has been created, that has been our name.

19             Q.   (By Mr. Ko)     So since you joined Facebook

20     in 2008, you have always been part of the data              10:19:08

21     policy management and enforcement team?

22                  MR. BLUME:    Objection.     Form.

23                  THE DEPONENT:     No.

24             Q.   (By Mr. Ko)     When you joined Facebook,

25     what team were you a part of?                               10:19:21

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1           A.     I joined the developer operations team.        10:19:26

2           Q.     How long were you part of the developer

3      operations team?

4           A.     I moved out of the developer operations

5      team onto a team called global policy management.          10:19:46

6      I believe that occurred in around 2010, but I'd

7      need to refer to documents to be certain.            But

8      around that time.

9           Q.     And after you became part of the global

10     policy management team, were there any other teams         10:20:07

11     that you were involved in or associated with,

12     before you became part of the data policy

13     management and enforcement team?

14                 MR. BLUME:    Objection.     Compound.

15                 THE DEPONENT:     Could you repeat your        10:20:22

16     question?

17          Q.     (By Mr. Ko)     Yeah.

18                 I'm just trying to get an understanding

19     of the teams that you were involved when -- in

20     between your current role and the global policy            10:20:31

21     management team.

22                 Can you describe or identify what those

23     teams were?

24          A.     Developer operations is the name of the

25     team when I joined it.       They changed the name to      10:20:49

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1      platform operations.      And now it's back to            10:20:52

2      developer operations, or at least that's how I

3      refer to that team.      And that -- and that's it, in

4      terms of the teams.

5           Q.    And so the global policy management team,      10:21:05

6      was that in connection with or under the same

7      umbrella as either of the developer operations or

8      platform operations teams?

9           A.    Global policy management is a different

10     team than developer operations, also referred to          10:21:19

11     previously as platform operations.

12          Q.    So is it fair to say the sum total of

13     the -- the teams that you were involved with are --

14     would be the developer operations team, the

15     platform operations team and the global policy            10:21:39

16     management team?

17                MR. BLUME:     Objection.    Form.

18                THE DEPONENT:     Did you leave out the team

19     that I'm on today?

20          Q.    (By Mr. Ko)     You said that you were part    10:21:56

21     of the data policy management enforcement team,

22     correct?

23          A.    That's the team that I manage today.

24          Q.    Is that related to, in any way, with the

25     developer operations team?                                10:22:06

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1                      MR. BLUME:     Objection.     Form.                    10:22:08

2                      THE DEPONENT:      It's not the same team.

3              Q.      (By Mr. Ko)     So -- thank you for that

4      clarification.

5                      It sounds like there are four teams that               10:22:18

6      you've been a part of throughout your career at

7      Facebook; the data policy management enforcement

8      team, the developer operations team, the platform

9      operations team and the global policy management

10     team; is that correct?                                                 10:22:30

11                     MR. BLUME:     Objection.

12                     THE DEPONENT:      I think it's more correct

13     to say I've been on --

14                     (Simultaneously speaking.)

15                     MR. KO:   What's the objection, Mr. Blume?             10:22:35

16                     MR. BLUME:     Are you talking about team

17     name or the -- the makeup of the teams?                Because

18     the personnel of those teams may have changed, the

19     names may not have.           But my guess is over the time

20     there have been a lot of different members of the                      10:22:47

21     team.        It's like, you know -- I wish we were still

22     in the '69 Mets, but we're not, unfortunately.

23                     MR. KO:   Right.     Thank you for that.         I'm

24     glad I asked because I -- I apologize if there's

25     any confusion.        I'm just talking about the team                  10:23:02

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1      names.                                                            10:23:05

2           Q.      (By Mr. Ko)     I just want to understand

3      the sum total of all the teams that you've ever

4      been a part of, Ms. Hendrix, and the name by which

5      those teams were associated with.                                 10:23:12

6                   So can you describe to the Court all the

7      team names that you have ever been involved with at

8      Facebook?

9           A.      I've been a part of three organizations.

10     The first -- the name was developer operations.              It   10:23:34

11     became platform operations.        I don't know if it --

12     I don't remember if it became DevOps before I

13     switched over to global policy management.

14                  And then the third team is the team I'm

15     on today.     The privacy and data policy is the                  10:23:51

16     ultimate org, but my team is referred to as the

17     data policy management and enforcement team.

18                  MR. KO:   Okay.    Great.     Thank you.

19                  And if you'd like to take the break, as

20     your counsel requested, Ms. Hendrix, I'm happy to                 10:24:07

21     do so.

22                  THE DEPONENT:     Sure.

23                  THE VIDEOGRAPHER:     Okay.     We're off the

24     record.     It's 10:24 a.m.

25                  (Recess taken.)                                      10:24:17

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1                   THE VIDEOGRAPHER:      Okay.    We're back on       10:43:22

2      the record.     It's 10:43 a.m.

3           Q.      (By Mr. Ko)    Welcome back from the break,

4      Ms. Hendrix.

5                   By the way, you are in Palo Alto for this           10:43:33

6      deposition, correct?

7           A.      Yes, I believe so.       We're the border of

8      Los Altos so I'm just not confident.            But I'm

9      pretty confident we're in Palo Alto.

10          Q.      And where are you at, specifically?           Are   10:43:46

11     you at an office?      Are you in Facebook's office?

12     Are you in Gibson Dunn's offices?

13          A.      I'm in the Gibson Dunn law office.

14                  MR. BLUME:    Can't you tell by our fancy

15     artwork?                                                         10:43:58

16                  MR. KO:   Sorry.     You -- I minimized your

17     video.     So I couldn't -- couldn't tell how

18     beautiful --

19                  MR. BLUME:    I'm offended by that.

20                  MR. KO:   -- and modern that artwork is.            10:44:04

21                  (Discussion off the stenographic record.)

22          Q.      (By Mr. Ko)    And along with, I -- don't

23     know if that was a reference to another deposition

24     I took, but the -- along with your counsel,

25     Mr. Blume, there are other attorneys at Gibson Dunn              10:44:21

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1      present with you, I assume?                                       10:44:26

2              A.      Yes, at -- at the outset of this, we said

3      who they were.

4                      MR. BLUME:     Yeah.       With -- with -- with

5      me in -- with me in the room is --                                10:44:39

6                      MR. KO:     Go ahead.

7                      MR. BLUME:     I can show you, if you want.

8                      Now I lost my video.

9                      Yeah.     So with me is -- is -- who is

10     here.        Prachi -- Prachi is here.          Ian is here and   10:44:52

11     Kelly.

12                     MR. KO:     "Ian" being Ian Chen, an

13     employee of Facebook, correct?

14                     MR. BLUME:     Ian Chen, yes.

15                     MR. KO:     Okay.     Anybody else in the room    10:45:07

16     with you?

17                     THE DEPONENT:        No.

18                     MR. BLUME:     No.     Here, just so you can

19     see.     There is everybody.

20                     MR. KO:     I -- I -- yeah.       I appreciate    10:45:16

21     that.

22             Q.      (By Mr. Ko)     I want to ask some basic

23     questions about Facebook's organizational

24     structure.        This is related to topic 1.

25                     First, does Facebook have an                      10:45:26

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1      organizational structure?                                        10:45:27

2              A.   Yes, Facebook has an organizational

3      structure.

4              Q.   And I assume they have had an

5      organizational structure since January 1 of 2007,                10:45:41

6      correct?

7              A.   Yes.

8              Q.   If I wanted to know what Facebook's

9      organizational structure looked like, where would I

10     look?                                                            10:45:55

11             A.   You would go to what -- I believe it's

12     called like the org -- there's an org chart.              Like

13     you can look up a person and see what -- who they

14     report in to.

15             Q.   And this org chart that, I assume, has              10:46:17

16     existed ever since January 1 of 2007, correct?

17             A.   Yes.   We've always been able to look up

18     as far as -- as -- to the best of my knowledge, we

19     can look each other up and see what team --

20             Q.   And when you --                                     10:46:42

21             A.   -- they're on.

22             Q.   And -- and when you say you can look each

23     other up, I assume you're talking about some sort

24     of internal tool that a Facebook employee could

25     access to do that?                                               10:46:52

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1              A.   Yes.   We have an internal company wiki            10:46:54

2      where you can type in a search bar someone's name,

3      such as myself.        And you can see who reports in to

4      me and who I report in to.

5              Q.   And is that true with respect to every             10:47:09

6      employee at Facebook; in other words, if you could

7      look up any employee at Facebook and find out who

8      that person reports to and what persons report to

9      her or him, to the extent those things are

10     applicable?                                                     10:47:26

11             A.   For them.     And yes.

12             Q.   And other than this internal tool that

13     one could access -- or excuse me -- the -- the

14     internal wiki, are there any other documents that

15     you could point me or the Court to that reflect                 10:47:41

16     Facebook's organizational structure?

17                  MR. BLUME:     Pre IPO or post IPO?

18                  MR. KO:     I would like to start with the

19     entire time period first.

20                  MR. BLUME:     Well -- okay.     They -- they      10:47:59

21     just -- they didn't have public filings before they

22     became a public company.        That's all I'm saying.

23                  MR. KO:     Well, let's just -- stop.        You

24     can object to my questions and then leave it at

25     that.                                                           10:48:08

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1                MR. BLUME:    Okay.                                10:48:09

2                THE DEPONENT:     I don't believe there's

3      been other documents like -- like what I just

4      referred to.

5           Q.   (By Mr. Ko)     Okay.   So other than the --       10:48:21

6      this internal wiki, is there any other documents or

7      information you could point me or the Court to, to

8      show what Facebook's organizational structure

9      looked like?

10               MR. BLUME:    Objection.                           10:48:40

11               THE DEPONENT:     Not that I'm aware of.

12          Q.   (By Mr. Ko)     And when you said before

13     that you could go to this org chart, I just want to

14     make sure I understand.

15               The -- the org chart you were talking              10:49:06

16     about is synonymous with this internal wiki tool

17     and page, correct?

18          A.   No, not synonymous.      Like there's a

19     company wiki, which is internal to Facebook

20     employees, and you can look up people by name.         And   10:49:24

21     then you can click on see org, or something to that

22     effect, and then the page will display the person

23     in the way that I described.

24          Q.   And is that company wiki distinct from

25     the org chart that you had referred to before?               10:49:47

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1           A.     Think of the internal wiki as the name of     10:49:55

2      the place where you can go and see internal

3      documents and find people.      So it's -- it's not the

4      same thing.    But that's where you go to find -- to

5      look people up.                                           10:50:16

6           Q.     Yeah.   And I -- and I wasn't asking

7      whether or not it was -- anything.

8                  I had asked whether or not the company

9      wiki was distinct from the org chart that you had

10     referred to before.                                       10:50:30

11          A.     I don't know what you mean.

12          Q.     In response to a question that I had

13     asked of whether or not -- this was the question --

14     question, if I wanted to know if Facebook -- what

15     Facebook's organizational -- organizational               10:50:47

16     structure looked like, where would I look?

17     Answer --

18                 MR. BLUME:    Objection.

19          Q.     (By Mr. Ko)    -- "You would go to what I

20     believe -- it's called like org -- there's an org         10:50:55

21     chart.    Like you can look up a person and see

22     what -- who they report in to."

23                 So I'm just asking a simple question,

24     based on that question and answer exchange.

25                 When you said "org chart," what were you      10:51:11

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1      referring to?       Were you referring to the company         10:51:13

2      wiki or something else?

3              A.   The company wiki is what I go to, to find

4      out who a person reports in to.         And the word "org"

5      is there, and you click see org, or something to              10:51:31

6      that effect, and then you'll see who reports in to

7      them to the extent they are a manager and who they

8      report in to.       And you do that within the company

9      wiki.

10             Q.   Thank you.                                       10:51:54

11                  And other than this -- well, you had also

12     talked about this internal wiki containing internal

13     documents.

14                  Do you recall that?

15             A.   Yes.                                             10:52:15

16             Q.   What internal documents are you referring

17     to?

18             A.   So it could be a -- a host of things.       So

19     a team might create their own internal wiki page.

20     It's basically a place where you can -- you can               10:52:37

21     create a page that's -- that you -- like the

22     company wiki is -- is -- can be used for -- like a

23     place where teams can share information with each

24     other.

25                  And it can be, I believe, locked down to         10:52:56

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1      just certain people, or it can be a publicly                  10:52:59

2      visible -- not to the public, but internal

3      employees could all be able to see the content.          It

4      just depends.

5              Q.   And would these internal documents               10:53:16

6      reflect a particular group's organizational

7      structure?

8              A.   I'm not aware of any like ability to type

9      in the word developer operations, for example,

10     and -- and see the chart.       Like don't think of the       10:53:34

11     chart that way.       It's literally you look up a human

12     by name, and then you can see what team they're on,

13     and then you can see who reports in to them.

14                  But I am not aware -- aware of anything

15     else.                                                         10:53:53

16             Q.   I see.    That's helpful.

17                  So it's employee- or individual-based; in

18     other words, like you said, you -- you type in

19     Allison Hendrix, and you can see every person that

20     Allison Hendrix reports to and every person that              10:54:07

21     reports to you, correct?

22             A.   Yes.

23             Q.   And you can also see what -- while you

24     can't type in DevOps or developer operations, by

25     typing in Allison Hendrix you can see what group or           10:54:21

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1      team you're a part of, as well as the groups or           10:54:25

2      teams that report to you and -- and that you report

3      to; is that fair?

4           A.     Yes.   You can -- you can see the

5      reporting line.     I believe the -- using my team as     10:54:39

6      an example, the data policy management and

7      enforcement team, I -- I believe it would be up to

8      the teams to -- if it's -- because that's a team

9      name within the broader team, so I think you have

10     the ability to edit and get more granular with            10:54:58

11     respect to the specific name, if you're on it.

12                 But otherwise, like if you looked me up,

13     it might say that I'm on the privacy and data

14     policy because I am on.     But I'm on a sub-team

15     within that team.     And I -- and I think that the --    10:55:12

16     I think that although people might have the ability

17     to add that, I don't -- it's -- I don't -- I -- I'm

18     not sure.

19          Q.     And when you say that "people might have

20     the ability to add that," are you referring to            10:55:31

21     adding that as part of the search for,

22     hypothetically, Allison Hendrix, or are you saying

23     that that's something that IT, or someone else at

24     Facebook, would have to revise in order for that

25     sub-team or more granular level of -- of                  10:55:46

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1      information needed to be discovered?                         10:55:49

2           A.      You can look people up by individual

3      names.     And then when you find me, there

4      are editable sections like about me.         So I have the

5      ability to go to myself in the team wiki and I can,          10:56:04

6      if I choose to, like edit certain sections of my

7      profile.

8           Q.      Got it.   Understood.

9                   Now, it's fair to say that there are

10     groups or departments at Facebook, correct?                  10:56:23

11          A.      Yes.

12          Q.      And you indicated you are part of DevOps

13     or developer operations, correct?

14          A.      I -- I joined the company.      And when I

15     joined, I joined the developer operations team.              10:56:45

16          Q.      And there are, of course, individuals and

17     employees within your team, correct?

18          A.      You cut out.   Could you say that again?

19          Q.      Sure.

20                  There -- there are, of course,                  10:57:01

21     individuals and employees within each team,

22     correct?

23          A.      There are employees within each team and

24     they are individuals, yes.

25          Q.      I want to show you a list of teams that         10:57:20

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1      I'm aware of, and -- and I want to ask you some                10:57:23

2      questions based upon that.

3                 You'll be pleased to know that this is

4      PDF, and I can't type anything into here.         So

5      hopefully that won't be distracting to you.                    10:57:41

6                 But here is a list that I'm aware of that

7      reflects the various teams at Facebook.         And let me

8      read them to you and into the record.        And, again,

9      this is just designed to help us facilitate this

10     Q and A.                                                       10:58:03

11                But the groups/departments that I'm aware

12     of are as follows:     management, legal, policy,

13     communications, platform operations, development

14     operations, advertising, security, privacy, human

15     resources, growth, sales and marketing, academic               10:58:22

16     research, engineering, and user research.

17                Do these all look like departments at

18     Facebook to you?

19          A.    So like sales and marketing are not on

20     the same team.     Like -- and -- and this doesn't             10:58:49

21     seem -- like -- like, you know, we have an HR team.

22     We have a legal team.     There's many sub-teams

23     within teams.    We have product teams.      Multiple

24     product teams.     Multiple comms teams within comms.

25     We have platform -- we have marketing teams.           We do   10:59:15

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1      have partnerships teams.                                  10:59:21

2                 I don't see -- you have -- like we

3      have -- we have a research team.       But there's also

4      other researchers embedded in team.

5                 So like the way that you're structuring        10:59:35

6      this is a bit inconsistent with how we're

7      structured.   And we refer to each other more as

8      organizations like -- than departments, but -- or

9      at least I do.

10          Q.    Yeah.    It's super helpful.                   10:59:53

11                So from -- from this point forward, I

12     will do my best to refer to various the Facebook

13     teams as organizations, first of all.        I will not

14     refer to them as departments and groups.

15                And what I'm hearing you say with respect      11:00:06

16     to this list is that it's incomplete; is that

17     correct?

18          A.    Yes.    It appears to -- it appears to be

19     incomplete.   Like there's public policy teams.

20          Q.    And then I heard you -- I -- I just want       11:00:34

21     to make sure I -- I get from you -- because you are

22     the Facebook designee on Facebook's organizational

23     structure -- I want to make sure I am not missing a

24     important or major or -- or any team, for that

25     matter, any organization that -- that you can think       11:00:52

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1      of that is not listed here, I -- I want you to tell           11:00:57

2      the Court what organizations they are.

3              A.      Well, you don't have the Facebook

4      culinary team.        And you don't have like -- and I

5      don't know what you mean by privacy.           Like you       11:01:15

6      don't have the privacy and data policy org, you

7      just have the word privacy.

8                      There's a privacy team that our co-chief

9      privacy officer, Michel Protti, runs.           The other

10     co-chief privacy officer is Erin Egan.           That's who   11:01:31

11     I roll up in to.

12                     So it's very difficult for me to do this

13     live and be able to tell the Court accurately if

14     I've, you know -- there's a choice in competition

15     team.        And these are teams within teams as well.        11:01:51

16     And so I just -- I'm not quite sure, sitting here

17     now, that I can express competence.           But had I,

18     you know, the opportunity, I could better,

19     you know -- I just need to review some documents.

20             Q.      Well, you -- you did review documents in      11:02:16

21     connection with the deposition and you are

22     Facebook's corporate designee as to the

23     organizational structure.

24                     So in light of that -- and this is --

25     this -- you're right.        This isn't meant to be a         11:02:26

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1      memory test.     So I'm just simply asking you and           11:02:28

2      you -- it seems like you rattled off several groups

3      that aren't listed here.     I -- I acknowledge that

4      this list isn't complete.     And so I need you to

5      help me complete it.                                         11:02:38

6                So can you identify the group -- the

7      organizations at Facebook -- not the

8      sub-organizations -- but the organizations at

9      Facebook that are missing from this list?

10          A.   There's the finance and -- team.             The   11:02:55

11     accounting team.     The investor relations team.

12     There's the data -- there's -- there are data

13     science teams.     There are teams that work on our

14     data centers.     Security teams.

15               Well, you have that there.                         11:03:32

16          Q.   Well, there's -- there's a security --

17     there's a security listed here.

18               Super helpful.     Finance.    Accounting.

19     Investor relations.     Data science.

20               Earlier when you say -- said Facebook              11:03:49

21     culinary, did I hear that correctly?

22          A.   Yes.

23          Q.   Okay.     I know you guys give away a lot of

24     free food so that -- that probably is a big team.

25          A.   There's a facilities team.        IT teams.        11:04:04

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1           Q.    Okay.    And I want to go back to -- one of       11:04:10

2      your first responses and reactions to this list.

3                 You had talked about multiple product

4      teams, right?

5           A.    Yes.                                              11:04:27

6           Q.    And obviously there's -- there are a lot

7      of product managers at Facebook working on a

8      variety of different products, correct?

9           A.    Yes.

10                MR. BLUME:    Objection.     Beyond the scope.    11:04:38

11          Q.    (By Mr. Ko)     Do -- do the product

12     managers -- do the product managers roll into a

13     team on this list or would they have a separate

14     organizational -- or would they have a separate

15     organization for themselves?                                 11:04:54

16                MR. BLUME:    Objection.     Beyond the scope.

17                THE DEPONENT:     So you need to appreciate

18     that Meta has a family of apps and services.            So

19     there -- for example, using legal, there's product

20     counsel WhatsApp.     There's product counselors for         11:05:14

21     Facebook, for Instagram, et cetera.         So these teams

22     support different apps and services that we

23     provide.

24                So using the legal team, all of those

25     different people are on our legal team.          Then --     11:05:33

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1      I'm just trying to go from memory here, you know.         11:05:48

2      I -- this -- this is one of those ones where it

3      might have been nicer for you to be typing.

4      Because I don't remember everything I've rattled

5      off.                                                      11:06:02

6                  But I -- I believe that I've given you

7      all the names of teams that are relevant to the

8      topics that I'm -- I'm -- I'm prepared to cover.

9      So I don't think I've omitted any teams that are

10     not a part of -- like the -- like -- like I               11:06:18

11     definitely think that I've given you all the names

12     of the teams that are relevant to the topics.

13            Q.   (By Mr. Ko)     Thank you.    That's very

14     helpful.

15                 And see, my typing was not intended to be     11:06:35

16     nefarious whatsoever.       I'm trying to help us in

17     this testimony.

18                 So maybe I'll try typing a little bit --

19                 (Simultaneously speaking.)

20                 THE DEPONENT:     Well, Mr. Ko, just -- I     11:06:44

21     didn't know that -- I didn't know that the video

22     was capturing the screen.       That was what made

23     me feel uncomfortable, because I thought that I'm

24     the only one on video.       So that was what made me

25     uncomfortable, just so we're clear.                       11:06:52

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1                   So to the extent that you continue to              11:06:55

2      engage in these exercises, I'm totally comfortable

3      with you typing.        So I apologize for the -- my

4      confusion.

5                   MR. KO:     Okay.    Thank you for -- thank        11:07:04

6      you for that.       I appreciate that.

7           Q.      (By Mr. Ko)     One organization that you

8      had mentioned, too, that you -- that seems to be

9      missing here that's a pretty big one are the -- the

10     partnership teams, correct?                                     11:07:17

11                  Partnership organizations, correct?

12          A.      Yes.     And there's games teams, too.

13     Teams that support games within partnerships,

14     though, I believe and -- yes, that's right.

15          Q.      Great.                                             11:07:40

16                  So all -- all of this is to say that this

17     list here that I'm showing you and that I read into

18     the record before is definitely incomplete as to

19     the total number of organizations at Facebook,

20     right?                                                          11:07:55

21                  MR. BLUME:     Objection.      Beyond the scope.

22                  THE DEPONENT:       What you're displaying is

23     complete -- is incomplete.          I supplemented it with

24     my testimony.       I can't see what I said.         But I do

25     think we've captured primarily the high-level                   11:08:13

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1      organization structure of -- of Meta, yeah.                     11:08:18

2           Q.      (By Mr. Ko)        Great.    Thank you for that.

3                   Now, what organizations were responsible

4      for or otherwise worked on any aspect of developer

5      access to the Facebook platform?                                11:08:47

6           A.      This would be -- and, again, I'm assuming

7      this is for the entire period, relevant period?

8           Q.      Correct.

9           A.      Okay.     So --

10                  MR. BLUME:        Hang -- hang on one second.      11:09:05

11                  THE DEPONENT:        Okay.    Sorry.

12                  MR. BLUME:        I'm just -- I'm -- I'm just

13     looking at the -- at the notice.

14                  What topic is this?

15                  MR. KO:     Topic 1, Mr. Blume.                    11:09:13

16                  MR. BLUME:        Well, how is it related to

17     the --

18                  (Simultaneously speaking.)

19                  MR. KO:     Facebook's organizational

20     structure.                                                      11:09:20

21                  MR. BLUME:        As it relates -- as that

22     relates to 1a, b and c.           Which of a, b and c is it

23     relating to?

24                  MR. KO:     Well, it's really referring to

25     all -- I'll -- I'll try to be helpful and tell you              11:09:28

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1      that it's 1b, in particular.                              11:09:31

2                 MR. BLUME:    Okay.   Thank you.

3                 THE DEPONENT:     And can I be reminded of

4      what 1b is?

5                 I don't have the document in front of me.      11:09:41

6                 MR. KO:   It's pretty long, but let --

7      it's pretty long, but let me paraphrase to you what

8      I --

9                 MR. BLUME:    Can I show --

10                MR. KO:   Yeah.                                11:09:47

11                MR. BLUME:    Can I show her --

12                MR. KO:   If it's helpful -- yeah, you --

13     you can show it to her.

14                But while you show it to her, really

15     the -- the processes for drafting the various             11:09:54

16     policies that were in place with respect to both

17     users and developers.

18                THE DEPONENT:     Going back to the prior

19     question, I did forget about the strategic response

20     team.   And so now what teams would be working on         11:10:16

21     what I just read in b.

22                At Facebook we are a team of teams and

23     you -- we large- -- largely involve nearly all

24     parts of the org, you know, not the culinary team

25     for an example on -- on these kind of topics.             11:10:36

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1                      But it would be legal and privacy org and     11:10:39

2      privacy and data policy org, public policy, comms,

3      marketing, product, eng.         I think I said comms.

4      Partnerships can be involved.

5              Q.      (By Mr. Ko)   How about the platform          11:11:05

6      and -- platform and development -- developer

7      operations teams?

8              A.      Developer operations would be involved as

9      well.        It all depends on the nature and scope of

10     the specific topic within the topics on -- listed             11:11:21

11     in 2b.

12             Q.      Got it.

13                     Several -- several organizations at

14     Facebook were responsible for -- otherwise worked

15     on aspects of developer access to the Facebook                11:11:36

16     platform; is that fair to say?

17             A.      Yes.   I mean, going back to the earlier

18     example, it really needs to be granular.             So for

19     example, developer operations wouldn't work closely

20     on an update to the SRR.                                      11:11:59

21             Q.      Well -- and -- and that's -- that's a

22     good segue into my next question, which was --

23     which is, which depart- -- which organizations at

24     Facebook were responsible for drafting and

25     enforcing the policies applicable to use of the               11:12:18

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1      Facebook platform by developers?                            11:12:22

2           A.      Drafting and enforcing are two different

3      things.     So in regards to drafting, like the

4      statement of rights and responsibilities, that is

5      largely -- that is legal driven.        But with input      11:12:36

6      from, again, multiple policy orgs; the comms team,

7      marketing teams.

8                   And then in regards to the enforcement

9      that, again, is my team.     Legal.     Developer

10     operations.     External datums use.     And there's an     11:13:03

11     eCrime team.

12                  I forgot to mention the -- I believe it's

13     referred to now as the content policy team.             I

14     forgot to mention that earlier.        That was rebranded

15     from the global policy management team that I               11:13:26

16     referred to earlier.     So same team, different name.

17                  Many teams get pulled in for both

18     drafting.     And then in -- drafting of terms and

19     policies.     And then depending on the enforcement

20     aspect of it, we collaborate on enforcement                 11:13:51

21     approach with multiple teams as well.

22          Q.      And I appreciate you distinguishing the

23     difference between drafting and enforcing.             So

24     let's unpack that, and let's just focus on the

25     drafting to start with.                                     11:14:13

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1                   You've testified as to who was part of              11:14:15

2      the drafting of the SRRs.        Can you also describe to

3      the Court what organizations were responsible for

4      drafting the data use policies?

5           A.      It would be the same response with                  11:14:37

6      respect to the drafting of the SRR for the data --

7      for the data use policy, the same teams would be

8      pulled in.

9           Q.      How about with respect to the -- the

10     platform policies --                                             11:14:53

11          A.      Same response.

12          Q.      -- who -- okay.

13                  And with respect to the drafting of the

14     SRRs, DUPs and platform policies, who would you

15     say -- of the organizations that you have                        11:15:09

16     described, who would you say had primary

17     responsibility for drafting these policies?

18                  MR. BLUME:   Objection.      Time frame.

19                  THE DEPONENT:     Legal has the primary

20     responsibility of drafting all three of those.             But   11:15:29

21     then there is a period of time where -- where the

22     platform policies are managed by myself.            The team

23     I'm on, on the global policy management team.             But

24     as I said earlier, we don't do things in a vacuum.

25     But I was the person who drove the development and               11:15:53

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1      updates to the platform policies.                          11:15:57

2                And now -- oops -- I -- I think that's --

3      I think that's all I have -- I'm so sorry.

4           Q.   (By Mr. Ko)     And when you say that there

5      were updates made to the platform policy, in               11:16:14

6      particular, what are you referring to?

7           A.   Well, there's been multiple versions of

8      what you and I earlier agreed to.       We're just going

9      to call them platform policies.       But now, present

10     day, it's platform terms and developer policies.           11:16:38

11     But there's multiple changes over the years based

12     on a number of factors.

13          Q.   So the global policy management team for

14     which you are currently -- or were involved in,

15     they were responsible for and had primary                  11:16:53

16     responsibility with respect to the drafting of

17     these platform policies and updates thereto; is

18     that fair to say?

19               MR. BLUME:    Objection.

20               THE DEPONENT:     It all depends on what         11:17:14

21     time period.    But from -- so in the context of the

22     platform terms and developer policies that we

23     launched, that was very -- like co-driven with

24     legal and -- and -- and my team working pretty much

25     side by side.    But, again, with input and feedback       11:17:38

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1      from all of the respective teams that I outlined                 11:17:41

2      before.

3             Q.   (By Mr. Ko)     Great.

4                  And -- and with respect to the SRRs and

5      DUPs, and all iterations thereto, what other                     11:17:52

6      organizations, other than legal, have primary

7      responsibility for drafting and revising and

8      updating those respective policies?

9                  MR. BLUME:    Object- -- objection.          Form.

10                 THE DEPONENT:     Legal has always, and              11:18:17

11     continues today, to be the manager of those of

12     and -- and policy --

13            Q.   (By Mr. Ko)     Are there any other --

14            A.   -- with significant input from other

15     teams, but they're the -- they're -- they hold the               11:18:31

16     pen.

17            Q.   And from the teams that you had described

18     before, and organizations, are there any that you

19     can identify that had primary responsibility or

20     co-responsibility with the drafting of these,                    11:18:50

21     similar to how the global management team had

22     co-responsibility with legal as to the platform

23     policies?

24                 MR. BLUME:    Objection.     Form.

25                 THE DEPONENT:     I just realized I forgot           11:19:03

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1      to reference the content strategy team.                    11:19:06

2                  So having corrected myself there now, I

3      apologize, Mr. Ko.       Could you repeat your question.

4           Q.     (By Mr. Ko)     Sure.

5                  And so this -- this team that you had          11:19:20

6      recalled, this content strategy team, they were --

7      or had primary responsibility along with the global

8      management team to help update the platform

9      policies with legal; is that correct?

10                 MR. BLUME:     Objection.                      11:19:38

11                 THE DEPONENT:     I -- I am only comfortable

12     saying that the legal team has the primary

13     responsibility for the terms and service, also

14     known as the SRR.     And the data use policy, also

15     referred to as the privacy policy.         With the next   11:19:50

16     largest contributor being the -- Erin Egan's

17     privacy and data policy team.

18                 But, again, many people have eyes on

19     proposed revisions.       But those would be the two

20     teams.    Legal being primarily accountable, but           11:20:08

21     working most closely with Erin Egan's org over the

22     years.    But, again, everyone has a chance to review

23     and provide feedback and input.

24          Q.     (By Mr. Ko)     And with respect to the

25     privacy and data policy team that Erin Egan was in         11:20:29

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1      charge of, at least for some period of time, are          11:20:34

2      you saying that they were the next largest

3      contributor to legal with respect to just the SRRs

4      and data use policy, or are you saying with respect

5      to all the policies that we've been talking about,        11:20:52

6      including the Facebook platform policy?

7           A.    So Erin Egan's team, of which I'm now on,

8      primarily would play a role in the data use policy

9      updates.   Again, legal holding the pen, but -- but

10     Erin Egan's org, the privacy and data policy team,        11:21:18

11     would be providing input and feedback.        And

12     seeking, you know, feedback on -- on data policy

13     updates.   And the research team has been involved

14     as well.

15          Q.    How about with respect to the SRRs,            11:21:45

16     who -- who would -- who would you say -- or what

17     organization would you say is the next largest

18     contributor to the SRRs, outside of legal?

19          A.    I would say that both Monika Bickert's

20     content policy, global policy management team, they       11:22:05

21     and Joel Kaplan's org, which Erin reports in to

22     Joel, that they would be the primary people.

23                But legal largely drives terms -- the

24     terms of service updates.     But they do seek input,

25     again, because nothing here is done in a vacuum.          11:22:32

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1              Q.   What was the organization that                         11:22:39

2      Joel Kaplan was part of?

3              A.   Well, Joel is still at the company.          He

4      has -- his teams -- so Erin reports in to Joel.                So

5      Joel is public policy and privacy and data policy                   11:22:59

6      orgs.

7                   Trying to think who else.        I might have

8      to refresh my memory.

9                   But primarily, Joel leads the team that

10     manage our public policy privacy and data policy                    11:23:19

11     teams.

12             Q.   So was Monika's content global team and

13     Joel Kaplan's public policy and privacy team that

14     were the next largest contributors, other than

15     legal, to the SRRs?                                                 11:23:39

16             A.   Monika reports in to Joel --

17             Q.   Did I get --

18             A.   -- her team.

19                  THE COURT REPORTER:      I'm sorry.     In to

20     who?                                                                11:23:42

21                  THE DEPONENT:     Monika Bickert reports in

22     to Joel Kaplan.

23             Q.   (By Mr. Ko)     Okay.   So other than

24     legal -- I just want to make sure I'm crystal clear

25     on this.                                                            11:24:05

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1                 Other than legal, the next largest               11:24:05

2      contributor to the SRRs is the public policy and

3      privacy organization; is that accurate?

4           A.    I think it's more accurate to say, other

5      than legal, Joel Kaplan's org teams that I just             11:24:15

6      outlined are the -- are given a chance to preview

7      and provide feedback, along with other teams.         But

8      they -- the teams that report in to Joel would have

9      an opportunity to review and provide input on

10     updates.                                                    11:24:36

11          Q.    And Joel's team and organization selected

12     public policy, privacy and data C [phonetic] teams,

13     correct?

14          A.    And the content policy team that has also

15     been and sometimes is still currently referred to           11:24:53

16     as the global policy management team.

17                So of those orgs, primarily, it would be

18     Erin and Monika's teams.    And I wouldn't say that

19     one had more input over the other.      They both have

20     an opportunity to provide input.      But legal largely     11:25:08

21     drives updates to the terms of service.

22          Q.    Facebook has, as you indicated before, a

23     finance team or organization, correct?

24          A.    Yes.   There's a finance team at Facebook.

25          Q.    And they also have an account -- Facebook        11:25:35

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1      also has an accounting organization, correct?               11:25:37

2             A.    Yes, the finance and -- there's finance

3      and accounting teams.

4             Q.    And did the Facebook finance and or --

5      and accounting organizations exist prior to                 11:25:49

6      Facebook's IPO in 2012?

7                   MR. BLUME:     Objection.

8                   THE DEPONENT:     So we -- we definitely had

9      finance and accounting teams, yes, prior to the

10     IPO.                                                        11:26:12

11            Q.    (By Mr. Ko)     Fair to say that Facebook

12     had a finance and accounting team for the entire

13     time period that it was in existence or has been in

14     existence?

15            A.    We're just talking about during the            11:26:31

16     relevant period, right.        You're not talking about

17     when Facebook was first created.

18            Q.    Fair enough.     Yes.

19                  From January 1st, 2007 to present, has it

20     always been the case that Facebook has had a                11:26:43

21     finance and accounting team?

22                  MR. BLUME:     Objection.    Compound.

23                  THE DEPONENT:     It is fair to say that --

24     to that there's always been -- to -- to the extent

25     it became -- becomes relevant a team that -- that           11:26:57

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1      works on finance and accounting.                            11:27:01

2           Q.     (By Mr. Ko)     Approximately how many

3      individuals have been on the finance team over the

4      relevant time period?

5                  MR. BLUME:    In -- in total?                   11:27:19

6           Q.     (By Mr. Ko)     Do you understand the

7      question?

8           A.     Yes.   But I -- I don't know the -- the --

9      I -- I don't know the answer to -- for -- from 2007

10     to 2022.    That number obviously has changed and           11:27:33

11     grown, but I don't know the specifics, sitting here

12     today.

13          Q.     Can you give the Court a general

14     understanding of the number of employees that were

15     in the finance team throughout the relevant time            11:27:49

16     period?

17                 And not in total.        But just an estimate

18     as to year over year, about how many individuals

19     were on that team.

20                 MR. BLUME:    Objection.      Form.             11:28:04

21                 THE DEPONENT:     I --

22                 MR. BLUME:    Don't guess if you --

23                 THE DEPONENT:     Yeah, I can't.      I -- I

24     don't know.

25          Q.     (By Mr. Ko)     Ms. Hendrix, in -- in           11:28:12

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1      topic 1, one of the aspects of topic 1 that you               11:28:13

2      have agreed to testify as to are the employees in

3      each department as they relate to some of the

4      sub-topics in topic 1.

5                  So let me try it again.                           11:28:28

6                  Do you have any understanding of the

7      number of employees in the finance team over the

8      relevant time period?

9                  MR. BLUME:    Objection.      Beyond the scope.

10                 THE DEPONENT:     No, I --                        11:28:43

11          Q.     (By Mr. Ko)     I was just --

12          A.     I don't know.     I know that the finance

13     and accounting teams are accountable for valuations

14     of the company.    But I don't know -- and I know I

15     could provide you with some names of those                    11:28:52

16     senior-most accountable people.          Dave Wehner being

17     you know, the obvious, chief privacy officer --

18     or chief privacy -- chief finance officer.

19                 But I don't -- I can't give you numbers

20     of how many employees have come and gone from 2007            11:29:07

21     to 2022.    But I'm prepared to speak on what those

22     teams do.

23          Q.     Do you have a general understanding of

24     how many employees are currently in -- on the

25     finance team under Dave Wehner?                               11:29:24

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1                MR. BLUME:     Objection.    Beyond the scope.   11:29:28

2                MR. KO:   Let me just make sure and

3      respond to that objection on the record.

4                The topic is clear in asking for the

5      employees in each department.      And so one could        11:29:36

6      easily and logically conclude that topic would

7      relate to the amount and number of employees in

8      that department.

9                MR. BLUME:     And as -- sorry.

10               MR. KO:   So --                                  11:29:49

11               MR. BLUME:     As the -- as the number and

12     amount of those employees relate to "The

13     calculation of revenues, gross profits, net

14     profits, goodwill, impairments and assets

15     recognized by Facebook related to Users' Data or           11:29:57

16     Information, including but not limited to

17     Facebook's public reporting," there are many in the

18     finance organization that have nothing to do with

19     user data and information.

20               And so requesting the numbers of those           11:30:11

21     people is beyond the scope of, 1 sub-topic a.

22               MR. KO:   So I had a question -- let me

23     just ask the question.

24          Q.   (By Mr. Ko)     Again, do you have an

25     understanding of how many employees are currently          11:30:26

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1      under the finance team -- on the finance team under        11:30:30

2      Dave -- which is Wehner?

3                MR. BLUME:    Objection.     Same objection.

4                THE DEPONENT:     Sitting here right now, I

5      know that I could get that information, but I --           11:30:46

6      I -- in terms of how many people report in to him.

7      But I didn't interpret the topic to require me to

8      show up with numbers, but more to be prepared to

9      speak to those sub-topics.

10          Q.   (By Mr. Ko)     And so I just wanted to make     11:30:59

11     sure the record is clear.

12               Do you have an understanding as to how

13     many employees were on either the finance or

14     accounting teams at any point in time during the

15     relevant time period?                                      11:31:18

16               MR. BLUME:    Objection.     Beyond the scope.

17               THE DEPONENT:     I could find out how many

18     are on the teams today.     But I don't know the

19     numbers from January 1, 2007, up until present.

20          Q.   (By Mr. Ko)     That's helpful.                  11:31:40

21               So -- so you could -- if you -- if you

22     wanted to, one could obviously find out that

23     information right?

24               That's not hard to get, correct?

25          A.   I -- I think it might take some time             11:31:52

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1      because you have to click on -- you know, look up                11:31:54

2      Dave Wehner's name and then see who reports in to

3      him and keep clicking to find -- you know, all the

4      way down the chain.       But I didn't do that.

5             Q.   Yeah.   And I'm not asking you what you              11:32:09

6      did.    You've made that clear in how you've

7      interpreted this.

8                  I'm just -- I'm just simply asking you,

9      if one wanted to find out how many individuals were

10     on the finance and accounting organizations, or any              11:32:20

11     organization for that matter, throughout the

12     relevant time period, that is information one could

13     obtain, correct?

14                 MR. BLUME:     Objection.       Beyond the scope.

15                 THE DEPONENT:        I don't know if we've           11:32:38

16     retained any type of records as the teams have

17     grown and changed over the years.             So I -- I don't

18     know if we could produce that.

19            Q.   (By Mr. Ko)     But produce it presently at

20     least, correct?                                                  11:32:57

21                 MR. BLUME:     Objection.       Beyond the scope.

22                 THE DEPONENT:        I could --

23                 MR. BLUME:     No.

24                 THE DEPONENT:        Okay.   I won't.     I won't.

25                 MR. BLUME:     It's --                               11:33:08

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1           Q.      (By Mr. Ko)    So you -- you didn't get an      11:33:08

2      instruction that you --

3                   (Simultaneously speaking.)

4                   MR. BLUME:    You're -- you're asking

5      about --                                                     11:33:11

6                   MR. KO:   -- weren't allowed to answer the

7      question.     I have a question --

8                   MR. BLUME:    You're asking if Ms. --

9                   MR. KO:   You can object --

10                  MR. BLUME:    -- Ms. Hendrix --                 11:33:23

11                  MR. KO:   The only way you can object.

12     That's it.

13                  THE COURT REPORTER:     Hold on.     Hold on.

14     One at a time, please.

15                  MR. BLUME:    Objection.                        11:33:24

16          Q.      (By Mr. Ko)    Remember how earlier I said

17     unless Mr. Blume clearly instructs you not to

18     answer the question, I would request that you

19     answer my question nonetheless.         That's the way

20     this -- this goes.                                           11:33:33

21                  So you could produce the information as

22     to how many employees were part of a particular

23     Facebook organization, and you could find that out

24     presently if you wanted to, right?

25                  MR. BLUME:    Okay.   Different ques- --        11:33:55

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1      that's a different question.                                  11:33:55

2                   No objection to that question.

3                   THE DEPONENT:     Your question doesn't make

4      sense to me.     You said "were" and then "present."

5      So are you talking past.        Are you talking present.      11:34:06

6      I think you need to be a little more clear.

7           Q.      (By Mr. Ko)     Fair enough.     Sorry for the

8      confusion.     I agree.

9                   To the extent you wanted to find out the

10     number of employees within a particular                       11:34:21

11     organization at Facebook, you could find that out,

12     correct?

13          A.      I have the ability to go to Dave Wehner's

14     Facebook wiki profile, click on that org button,

15     and do tons of other clicks, because I'll see who             11:34:45

16     reports in to him and then who reports in to them

17     and so on and so on and so on.          And then ultimately

18     have a number.     So that -- that is a number that --

19     that I could find out.

20          Q.      And that would be true for any                   11:35:02

21     organization at Facebook, correct?

22                  MR. BLUME:    Objection.     Calls for

23     speculation.

24                  THE DEPONENT:     It is technically possible

25     to find a human and count the amount of humans that           11:35:13

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1      report in to that human.                                           11:35:19

2              Q.      (By Mr. Ko)   Turn to topic 1a of the

3      notice.

4                      Do you see the items listed there?

5              A.      May I -- may my -- Mr. -- may Rob pass me          11:35:31

6      this.        Okay.

7              Q.      Yeah, absolutely.

8                      And -- and just so -- for your benefit,

9      I -- I would ask that you just have the -- the

10     notice handy throughout this deposition.             You can       11:35:41

11     have that in front of you, because obviously

12     we're -- we're referring to it a lot, so...

13             A.      I mean, it's been handy.     I just don't --

14     I'm trying to follow the rules.           So to the extent

15     you refer to it, I -- I will -- it's right here.               I   11:35:53

16     just didn't know if I was allowed to -- to ask for

17     it.

18                     Okay.   I see 1a, yes.

19             Q.      Do you see the items listed there?

20             A.      Yes.                                               11:36:12

21             Q.      What employees or organizations at

22     Facebook were responsible for the items listed in

23     1a?

24             A.      Finance and accounting are the teams

25     accountable for valuations for the company.                        11:36:29

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1           Q.      In addition to valuations, are they also        11:36:33

2      responsible for the calculation -- calculation of

3      revenues, gross profits, net profits, goodwill,

4      impairments and assess recognized by Facebook

5      relating to its users?                                       11:36:44

6                   MR. BLUME:    I'm sorry.    Related to users'

7      data and information, not the users.

8           Q.      (By Mr. Ko)    Sure.   You can answer it

9      that way.

10          A.      Well, reporting of revenue is handled by        11:37:03

11     a cross-functional team, which includes finance and

12     legal and investor relations and corporate

13     communications.

14                  So for the reporting aspect, those are

15     the teams.     But just for valuations, which I -- I'm       11:37:16

16     just using that generally to talk about the

17     calculation of these things.        If you prefer I don't

18     do so, I can hammer off each word.

19                  But all -- all of the calculation of --

20     of -- of revenues is done by finance and                     11:37:32

21     accounting.     The reporting is done by those

22     additional teams I named.

23          Q.      Thank you.    That's helpful.

24                  And, yes, we can refer to these items as

25     valuation.     Thank you for that clarification.             11:37:47

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1                So this other cross-functional team,             11:37:51

2      what -- what was the specific cross-functional team

3      that did the reporting of the revenues?

4           A.   Well, it's finance, legal, investor

5      relations and corporate communications.         But just   11:38:03

6      going to 1a, there's no monetization, like no user

7      data monetization calculation.        I don't know if I

8      should make that clear.

9                But just the team that like calculates

10     our revenues is finance and accounting.         But        11:38:17

11     there's nothing pertaining to -- of user data

12     that's tied to that.

13          Q.   And when you say that there's no

14     monetization calculation or user data monetization

15     calculation within this topic, what -- what did you        11:38:32

16     mean by that?

17          A.   We don't put a number on -- a price on --

18     on users' data.     98 percent of our revenues are

19     through ads.

20               MR. KO:     It's gotten even higher in           11:38:52

21     recent years.

22               MR. BLUME:     Objection.

23          Q.   (By Mr. Ko)     With respect to -- let's

24     unpack your statement about not putting a number on

25     a particular user.                                         11:39:07

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1                      Is it your testimony that Facebook               11:39:09

2      neither directly nor indirectly places a number on

3      Facebook users' data information?

4              A.      We --

5                      MR. BLUME:    Objection.     Form.               11:39:21

6                      THE DEPONENT:     We -- we have never done

7      that.        We don't -- we don't do that at all.

8              Q.      (By Mr. Ko)     So it's your testimony that

9      you do not place any indirect value or

10     quantification on a particular user's data                       11:39:36

11     information.

12                     Do I understand your testimony correctly?

13                     MR. BLUME:    Objection.     Form.

14                     THE DEPONENT:     I don't quite understand

15     what you mean.          But in -- in -- in regards to like       11:39:44

16     revenue, a person's data is not a factor in how

17     we -- in -- in how we make money.

18             Q.      (By Mr. Ko)     Well, don't you report --

19             A.      It's based on, again, 98 percent ads.

20             Q.      Don't Facebook's public -- publicly              11:40:04

21     available financial accounting, including their

22     10-Ks, report as a key metric of the company,

23     average revenue per user?

24                     MR. BLUME:    Objection.     Beyond the scope.

25     Not your topic.                                                  11:40:19

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1                   MR. KO:   Note for the record, I highly          11:40:22

2      disagree with that.

3                   But go ahead --

4                   MR. BLUME:    It's --

5                   MR. KO:   -- and answer that question.           11:40:25

6                   MR. BLUME:    It's -- it's covered by

7      topic 10, David, so -- the monetization.

8                   She's here to talk about the

9      organizational structure involved in the

10     calculation, not the calculation itself.             That's   11:40:34

11     topic 10.     So that's my objection.        And there's no

12     reason for her to speculate on that.

13                  MR. KO:   Noted.     I'll ask the question

14     again.

15          Q.      (By Mr. Ko)     Doesn't Facebook's publicly      11:40:50

16     available financial documents, including their

17     10-Ks report, as key metrics of the company,

18     average revenue per user?

19                  MR. BLUME:    Objection.      Instruct you not

20     to answer in the capacity of your 30(b)(6).                   11:41:01

21                  If you know, individually, you can

22     answer.     But not as a 30(b)(6) witness with regard

23     to this topic.

24                  THE DEPONENT:      I don't know.     I know we

25     calculate a revenue by Facebook user geography                11:41:11

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1      based on our estimate of the geography in which ad           11:41:14

2      impressions are delivered, virtual and digital

3      goods are purchased, or consumer hardware devices

4      are shipped.

5           Q.     (By Mr. Ko)     Average revenue per user an      11:41:26

6      important metric for purposes of --

7                  MR. BLUME:    Object.

8           Q.     (By Mr. Ko)     -- calculating revenues?

9                  MR. BLUME:    Objection.     Instruct you not

10     to answer in your role as a 30(b)(6) witness.                11:41:35

11     Beyond the scope.

12                 If you know in your personal capacity, I

13     guess you can answer in that capacity, although you

14     have, Ms. Hendrix, in your personal capacity coming

15     up, so...                                                    11:41:50

16          Q.     (By Mr. Ko)     So the record is clear --

17          A.     I don't remember his question.

18          Q.     -- is average revenue per user an

19     important metric for purposes of calculating

20     revenue?                                                     11:42:00

21                 MR. BLUME:    Objection.     Beyond the scope.

22                 Please don't answer in regard to your

23     30(b)(6) capacity.

24                 THE DEPONENT:     I've already said we don't

25     calculate revenue by users, like we -- we don't              11:42:12

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1      have that, so I -- I don't...                              11:42:16

2           Q.     (By Mr. Ko)     Is ARPU an acronym that

3      sounds familiar to you?

4           A.     No.

5           Q.     You've never heard of ARPU?                    11:42:31

6                  MR. BLUME:    Objection.     Her personally,

7      or her as a corporate representative?

8                  MR. KO:   Well, I'll ask both.        But,

9      you know, definitely in -- in -- in your corporate

10     capacity.                                                  11:42:44

11                 MR. BLUME:    And I -- it's -- it's beyond

12     the scope of her corporate designation in topic 1.

13     So I instruct you not to speculate or guess.

14                 THE DEPONENT:     I don't -- I don't know.

15          Q.     (By Mr. Ko)     So as I -- I just want to      11:42:56

16     make sure the record is clear.

17                 As a corporate designee of Facebook, who

18     consented to testifying on behalf of the

19     corporation, as to the organizational structure,

20     including the calculation of revenues, your answer         11:43:09

21     is that you don't know and have never heard of the

22     acronym ARPU; is that correct?

23                 MR. BLUME:    Objection to your

24     recharacterization of topic 1, it's the organi- --

25     organizational structure related to the calculation        11:43:22

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1      of revenue.     Not terms involved in the calculation       11:43:25

2      of revenue.     Beyond the scope.

3                  You have a witness to topic 10 that is

4      upcoming.     You are free to ask those questions.

5                  So I'd instruct you not to answer to the        11:43:39

6      extent it's beyond the scope of topic 1.

7                  MR. KO:     Yes-or-no question, Ms. Hendrix.

8                  MR. BLUME:     Instruct you not to answer --

9                  MR. KO:     As a corporate designee --

10                 You can stop with these speaking                11:43:49

11     objections.     Your objection has been noted.

12                 MR. BLUME:     I'm -- I'm instructing her

13     not to -- I'm instructing her not to answer.

14     That's my -- that's my objection.

15                 MR. KO:     Even to say --                      11:43:57

16                 (Simultaneously speaking.)

17                 SPECIAL MASTER GARRIE:       Duly noted for

18     the record.     Please move forward.

19                 Objection is noted for the record, Mr. --

20     Counsel Ko, please ask the question again.                  11:44:05

21                 MR. KO:     Please ask the question again?

22                 SPECIAL MASTER GARRIE:       Did she answer

23     the question?

24                 MR. KO:     No, she did not.     That's why I

25     keep asking it.       So that's why I'm a little            11:44:20

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1      confused.                                                    11:44:23

2                  SPECIAL MASTER GARRIE:       Okay.    So we've

3      noted the objection.

4                  Ms. Hendrix, could you please answer the

5      question, given the advice you received from your            11:44:26

6      counsel.

7                  MR. BLUME:    If you know in your personal

8      capacity, you can answer.

9                  THE DEPONENT:     I don't know that acronym.

10          Q.     (By Mr. Ko)     Have you heard of the            11:44:36

11     acronym MAU?

12          A.     Yes.

13          Q.     What does that refer to?

14          A.     Monthly active users.

15          Q.     Have you heard of the acronym DAU?               11:44:48

16          A.     Yes.

17          Q.     What does that refer to?

18          A.     Daily active users.

19          Q.     You've never heard of ARPU or average

20     revenue per user; is that correct?                           11:45:04

21                 MR. BLUME:    Objection.     Asked and

22     answered in her personal capacity.

23                 THE DEPONENT:     It's still correct that I

24     don't know that acronym.

25          Q.     (By Mr. Ko)     Now, turning back to the         11:45:30

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1      SRRs and DUPs, are those -- is it fair to say that              11:45:32

2      the SRRs and DUPs are how Facebook discloses to

3      users how Facebook uses the data information

4      Facebook collects about them?

5             A.    So you're referring to them as -- in the           11:45:56

6      plural.     So there's only an SRR and a DUP.           So I

7      don't know what else you're referring to when you

8      say SRRs and DUPs.

9             Q.    Okay.   I was referring to them plurally

10     because -- that's fair.      And let's back up a little         11:46:12

11     bit.

12                  There were various iterations of both the

13     SRR and the DUP, correct?

14            A.    Yes.

15            Q.    And so when I'm referring to them in the           11:46:24

16     plural, I'm talking about all the various versions

17     and iterations of the SRR and the DUP.

18                  So, hopefully, with that clarification,

19     my question could potentially be more clear.              I'm

20     happy to try and rephrase it, but let me try again.             11:46:42

21                  Would you agree with me that the SRRs and

22     the DUPs govern how Facebook uses the data and

23     information Facebook collects from and about

24     Facebook users?

25            A.    So you are breaking up, so I haven't               11:47:05

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1      heard all of your words.        And could someone go on              11:47:07

2      mute?

3                   MR. BLUME:    There was -- there was -- I

4      think there was typing.        Someone was typing.        It

5      was -- it blocked you out.                                           11:47:15

6                   Could you ask that again, David.

7              Q.   (By Mr. Ko)     Do you agree with me that

8      the SRRs and the DUPs govern how Facebook uses the

9      data and information Facebook collects from and

10     about Facebook users?                                                11:47:35

11                  MR. BLUME:    Objection.     Form.

12                  THE DEPONENT:     The -- I agree that the

13     SRR is the terms of -- the agreement with people

14     who use our service.       And that the data use policy

15     is the document which outlines the different -- not                  11:47:50

16     the different -- that the data use policy is the

17     primary document that outlines to people what we

18     collect and how we will use the information, and

19     how -- (indiscernible) it is.

20                  So the DUP being the primary document in                11:48:07

21     terms of use of -- of information.          But there's a

22     whole host of educational materials out there.                 But

23     those -- the DUP is the primary source.

24             Q.   (By Mr. Ko)     Okay.   Are any of these

25     educational materials, policies or contracts that                    11:48:23

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1      Facebook asks the user to consent to?                           11:48:27

2                  MR. BLUME:    Objection.     Form.

3                  THE DEPONENT:     When a user signs up,

4      they're -- they're agreeing that they've read the

5      data use policy and that they are going to adhere               11:48:45

6      to the terms of service --

7                  THE COURT REPORTER:      Hold on.     Hold on.

8      There's some background noise coming --

9                  MR. KO:   I've been getting it, too.         I --

10     I don't know if there's someone over the microphone             11:49:12

11     on your end, Ms. Hendrix.       I don't know if it's --

12     something is on top of it.

13                 MR. KO:   No, there's only two.        One here

14     and one there, and they haven't moved.

15                 THE COURT REPORTER:      So I just need you         11:49:12

16     to repeat that answer, please.

17                 THE DEPONENT:     I don't remember the

18     question.

19          Q.     (By Mr. Ko)     Are any of these educational

20     materials, policies or contracts that Facebook --               11:49:16

21     Facebook asks the user to consent to?

22                 MR. BLUME:    Objection.     Form.

23                 THE DEPONENT:     They are materials

24     intended to -- to educate people, but they are

25     not -- for example, we don't agree to the help                  11:49:28

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1      center.                                                   11:49:33

2             Q.   (By Mr. Ko)     Let me ask it a different

3      way.    And, again, this is just to orient ourselves

4      for purposes of this discussion.

5                  But is it fair to say that the SRR and        11:49:45

6      the DUP are the two primary policies or contracts

7      that govern how Facebook uses the data and

8      information Facebook collects from and about users?

9                  MR. BLUME:    Objection.

10                 THE DEPONENT:     With respect to the         11:50:05

11     Facebook product, yes, I -- those are the two

12     primary documents.

13            Q.   (By Mr. Ko)     And when I say "data and

14     information," the SRR contains a provision in it

15     that is referred to as "content information."             11:50:29

16                 Does that sound familiar?

17            A.   I'd need to look at whatever version

18     you're referring to.

19            Q.   That -- that's fair.

20                 But without referring to a particular         11:50:45

21     version, let me ask it this way, does the phrase

22     "content and information" sound familiar to you at

23     all?

24                 MR. BLUME:    Objection.     Form.

25                 THE DEPONENT:     Yes.   And I just want to   11:50:57

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1      flag that we had agreed at the outset that Facebook            11:50:59

2      and Meta would be interchangeable.        I just want to

3      flag that, you know, the terms of service, the SRR

4      is with -- with respect to Facebook.         But there's

5      Instagram terms of service, for example.          So I just    11:51:12

6      want to make sure that that point is clear.

7                And other, you know, terms for things

8      like Oculus and -- and, you know, WhatsApp.             So I

9      just used Facebook in that response just to mean

10     people who use the Facebook app.                               11:51:28

11               MR. BLUME:    And, David, we've been going

12     a little more than a hour, if you're coming up to a

13     break.

14               MR. KO:    Sure.    Thank you for that

15     explanation.                                                   11:51:40

16          Q.   (By Mr. Ko)     Let me ask the question I

17     was asking before.

18               Does the phrase "content and information"

19     sound familiar to you at all?

20               MR. BLUME:    Objection.                             11:51:47

21               THE DEPONENT:      Yes.

22          Q.   (By Mr. Ko)     What is your understanding

23     of content and information?

24               MR. BLUME:    Objection.      Form.

25               THE DEPONENT:      That's incredibly broad.          11:52:00

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1      Like what do you mean?                                    11:52:07

2           Q.    (By Mr. Ko)     I'm asking you what your

3      understanding -- what your understanding of

4      content -- you said you understood what content and

5      informa- -- content -- content information is,            11:52:12

6      correct?

7                 MR. BLUME:     Objection.

8                 THE DEPONENT:     Yes.   But you -- you

9      earlier said content and information as if it was a

10     header in the SRR.      One of the various versions,      11:52:21

11     many -- all of which I've reviewed.

12                Sitting here today, I'd need to look at

13     the terms of service to see if that is a header.

14     But now you've broadened us out, or so I'm

15     interpreting it.     And so now you're just asking me     11:52:37

16     generally like what the definition of content and

17     information mean to me.      So I am not sure where

18     you're heading with this.

19          Q.    (By Mr. Ko)     Let's go back to in the

20     context of the SRR.                                       11:52:51

21                Are you familiar with the phrase "content

22     and information" in the context of the SRR?

23          A.    I would need to -- to look -- I'm not --

24     I'm not just -- there's so much material, as I'm

25     sure you understand.                                      11:53:11

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1                      I -- I don't remember.       But I'm more than     11:53:12

2      happy to be presented with whatever you apparently

3      are seeing that I'm not.           So I can --

4              Q.      I'm not seeing anything --

5              A.      -- refresh my recollection.                        11:53:24

6              Q.      We can do that in a -- in a moment,

7      but -- but before we do that, I'm just establishing

8      some foundation and some things that you know or

9      you don't know, without having to go to the

10     document.                                                          11:53:37

11                     So is -- is it your testimony that you

12     don't know what content and information in the

13     context of the SRRs refers to?

14                     Simple yes-or-no question.

15                     MR. BLUME:    Objection.     Form.    And scope.   11:53:46

16                     THE DEPONENT:     It's not that I don't

17     know.        It's that I don't remember and need to

18     refresh.        I don't think the Court expects me to

19     remember every single word in every version of the

20     document.        I think that that is unfair.                      11:54:00

21             Q.      (By Mr. Ko)     Okay.   Well, your -- your

22     objection is duly noted.           But I think you're

23     probably assuming way too much in my question.               I'm

24     asking you a very simple and straightforward

25     yes-or-no question.                                                11:54:14

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1                 Does the term "content and information"        11:54:16

2      in the context of the SRR mean anything to you?

3                 MR. BLUME:     Objection.

4                 You can answer in your personal capacity,

5      if it means anything to you.                              11:54:30

6                 MR. KO:     Stop -- stop, Mr. Blume.

7                 MR. BLUME:     I'm giving her instruction.

8      You don't have to interrupt me.

9                 THE DEPONENT:     I know what content --

10     like, for example, the SRR requires you to comply         11:54:40

11     with our community standards.       And those are about

12     the types of content that you may or may not --

13     more so may not -- upload onto Facebook.

14                So content insofar as what type of

15     content you can post or content insofar as what           11:54:59

16     content we collect and what we will use with it in

17     the -- or how we can use that in the context of the

18     data use policy.

19                So, hopefully, that gave you a little bit

20     more color.   But if we're getting specific to like       11:55:15

21     is there a -- a heading content and information, I

22     don't remember.      I would need to take a look.

23                But, hopefully, that gives you more

24     clarity.   On how content can be used depends on the

25     context of the conversation or of the question of         11:55:31

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1      which you haven't provided any.                                 11:55:34

2                  MR. BLUME:    Ready for a break, David?

3                  MR. KO:   Almost.

4             Q.   (By Mr. Ko)    It absolutely does.          Thank

5      you.    Thank you, Ms. Hendrix, it absolutely does.             11:55:41

6      Let me just ask you a few follow-up questions.

7      This is -- it's exactly what I was just trying to

8      get -- get at.

9                  You -- you've responded that you

10     understood that content and information included                11:55:51

11     information that Facebook collects and -- and --

12     and what Facebook will use with it and how Facebook

13     can use that in the context of the data use policy.

14                 Do you recall -- do you recall that

15     answer a moment ago?                                            11:56:05

16            A.   I was just trying to give you examples of

17     what it could mean, if it all just depends on the

18     context of the location by which the word "content"

19     and/or "information" is.        So I don't even think my

20     response is helpful.                                            11:56:18

21            Q.   Well, it was helpful to me.

22                 So in -- in the context of the SRRs, is

23     it fair to say that content and information

24     includes the type of information that Facebook

25     collects about a user?                                          11:56:37

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1                   MR. BLUME:    Objection.     Form.               11:56:41

2                   THE DEPONENT:     I -- again, I -- I need to

3      see the section of the SRR that you're referring

4      to.     Like there -- the data use policy is the

5      primary document which has been referred to as the            11:57:00

6      privacy policy that -- that is there to tell you

7      what do you collect and how is the information

8      used.

9                   So in the actual SRR, I would need to --

10     you know, if you don't mind showing me, like the              11:57:13

11     sentence that you're seeing that's causing you to

12     ask me that question.        But it's just -- I'm not

13     able to go further and speculate unless -- unless I

14     knew what you were talking about.          And I frankly

15     don't.                                                        11:57:31

16             Q.   (By Mr. Ko)     In the data use policy, as

17     you described, it -- it governs the types of -- or

18     it governs how Facebook collects user information

19     and how it is used.

20                  Are there provisions in the data use             11:57:48

21     policy, as a general matter, that deal with content

22     and information, or -- or do you not know one way

23     or the other?

24                  MR. BLUME:    Objection.     Beyond the scope.

25     Form.                                                         11:58:01

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1                   THE DEPONENT:     The data use policy            11:58:02

2      absolutely discusses what information we collect

3      and how that information can be used.           It also

4      helps you learn how you can control your

5      information.                                                  11:58:15

6                   And -- and, yes, in the SRR, there are

7      disclosures to people about being careful about

8      what they share, for example, with their friends.

9      Because their friends could, you know, use that

10     information, so to be very careful.                           11:58:30

11                  So there -- there is -- that is

12     refreshing my memory of it, a section within the

13     SRR, to take you -- us back to where you were

14     going.

15                  MR. BLUME:   All right.       Let's -- we've     11:58:41

16     been going an hour and 20 minutes.

17                  MR. KO:   Thank you for that --

18                  MR. BLUME:   Let's take a break, please.

19                  THE DEPONENT:     I need a break.

20                  MR. KO:   Sure.    We can take a break.          11:58:47

21     Thank you.

22                  (Discussion off the stenographic record.)

23                  THE VIDEOGRAPHER:     Sure.     We are off the

24     record.   It's 11:58 a.m.

25                  (Recess taken.)                                  11:59:34

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1                   THE VIDEOGRAPHER:     We're back on the      12:15:07

2      record.     It's 12:15 p.m.

3             Q.    (By Mr. Ko)   Ms. Hendrix, welcome back

4      from the break.

5                   We were talking a moment ago about the       12:15:18

6      SRRs and the DUPs.      With respect to the former, the

7      SRRs, at -- at any point in time every Facebook

8      user in the United States is subject to the same

9      SRR, correct?

10            A.    Yes, that's correct.                         12:15:39

11            Q.    And at any point in time every Facebook

12     user in the United States is subject to the same

13     DUP or data use policy, correct?

14            A.    That's correct.

15            Q.    And these contracts and policies, as         12:15:54

16     we've discussed before, have been subject to

17     various changes over time.

18                  But put another way, there was only one

19     operative SRR at a time, correct?

20            A.    Yes.   There's just been the one agreement   12:16:15

21     with users who agree to use the service and not

22     two.

23            Q.    And there was only one operative DUP data

24     use policy at a time, correct?

25            A.    That's correct.     We have terms and        12:16:33

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1      privacy policy.    The term -- the terms and privacy      12:16:35

2      policy, the names having evolved, but just those

3      two.

4             Q.   So in -- in 2013, for example -- let's

5      pick a point in time -- the operative SRR at the          12:16:48

6      time was a contract that Facebook had with every

7      single Facebook user in the United States; is that

8      correct?

9             A.   Yes.

10            Q.   And same question with respect to the         12:17:02

11     DUP.

12                 In -- in 2013, to pick up a time --

13     illustrative time example -- there was only one

14     data use policy that was operative and applicable

15     to a user at that time for every user in the              12:17:18

16     United States, correct?

17            A.   Yes.

18            Q.   And this would be true for the entire

19     time period from January 1st, 2000 --

20     January 1st, 2007, to present -- correct? -- there        12:17:30

21     only one operative SRR and one operative DUP,

22     correct?

23            A.   Yes.

24            Q.   And there was never a time period in

25     which there was more than one SRR that would be           12:17:42

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1      applicable to a particular user, correct?                 12:17:47

2           A.    That's correct.

3           Q.    And similarly, there was never a time,

4      from January 1st, 2007, to present, when there was

5      more than one DUP applicable to a particular user,        12:18:01

6      correct?

7           A.    That's -- that's correct.

8                 What do you mean by "applicable"?

9           Q.    Only one contract or policy that governed

10     Facebook's relationship with users.                       12:18:25

11          A.    Okay.   So yes, I -- I don't need to

12     correct my prior responses.

13          Q.    Ms. Hendrix, are you familiar with the

14     settings that Facebook made available to its users?

15                MR. BLUME:     Objection.    Form.             12:18:48

16                THE DEPONENT:     What settings are you

17     referring to?

18          Q.    (By Mr. Ko)     Just to help -- fair enough.

19     I'm going to orient you to topic 3.

20                In topic 3, there's a description as to        12:18:59

21     the privacy and app settings.

22          A.    Okay.   Yes.    Thank you.

23          Q.    So are -- are you here today to testify

24     on behalf of Facebook as to the development and

25     revisions of those particular settings?                   12:19:23

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1           A.     Yes, how they've -- how they're developed         12:19:32

2      and the processes for developing them.

3           Q.     Are you specifically familiar with the

4      privacy settings?

5           A.     Yes.                                              12:19:46

6           Q.     And what are they?

7                  MR. BLUME:    Objection.     Form.

8                  THE DEPONENT:     Well, they -- the privacy

9      settings can be for your content that you're

10     uploading to Facebook.       So to the extent that we         12:19:59

11     provide you with the ability to have a privacy

12     setting attached to a given piece of content, then

13     there's those types of privacy settings.           And then

14     there's the application settings.

15          Q.     (By Mr. Ko)     So I assume then you're           12:20:19

16     familiar with -- with app settings or application

17     settings?

18          A.     Yes.

19          Q.     What is the distinction between privacy

20     settings and application settings?                            12:20:29

21          A.     Well, the privacy settings relate to and

22     are relevant to your app settings.         So you've got

23     your privacy settings and then a subset of those

24     settings are settings that you can apply to your

25     use of the Facebook platform applications.                    12:20:50

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1           Q.   So the two are related, correct?                12:20:56

2           A.   Yes, that's correct.

3           Q.   And as you said, the two are relevant to

4      each other, correct?

5           A.   Yes.                                            12:21:13

6           Q.   And let me try and -- and characterize

7      what I think -- and you're more than free -- and I

8      welcome edits to this characterization or revisions

9      to this characterization.

10               But in thinking about the user privacy          12:21:28

11     settings, it occurred to me that they -- they more

12     or -- or they reflect the control that Facebook

13     allowed users to try and restrict or limit what

14     information related to the user or their friends

15     were being shared; is that a fair characterization?       12:21:45

16          A.   The friend element of your description is

17     confusing because I can't control my friend's

18     privacy settings.

19          Q.   Well, for now, let's -- let's eliminate

20     the friend -- the user's friend from that.                12:22:07

21               So is it fair to say that the privacy

22     settings reflect the control that Facebook allowed

23     its users to try and restrict or limit when -- what

24     information related to the user was being shared.

25               Do you agree with that statement?               12:22:30

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1           A.     I would characterize it more as what               12:22:32

2      information the user could tell Facebook that they

3      wanted to be displayed.

4                  So for example, you might set your post

5      to publics or everyone, or you might set your post             12:22:46

6      to friends of friends, any custom network, or just

7      to only me.

8                  So there's -- there's a number of

9      settings.     It just depends on what the context is

10     of -- of what we're talking about.                             12:23:01

11          Q.     That's helpful.

12                 Let's go with how you characterize it

13     and, in particular, the aspect of your response

14     that said "displayed."

15                 So it's your testimony that the privacy            12:23:16

16     settings primarily governed how a Facebook user

17     could control what information was being displayed

18     on her or his Facebook profile; is that correct?

19                 MR. BLUME:   Objection.

20                 THE DEPONENT:     I would describe it as the       12:23:42

21     privacy settings to the extent there is a privacy

22     setting attached to the information.          So for

23     example, your name is permanently public.           Like you

24     don't hide your name.

25                 But to the extent there's a privacy                12:23:55

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1      setting and it -- then the user has the choice to         12:23:57

2      use that setting.    And depending what him, her or

3      them would like to do, they will set it as public

4      or to just their friends, or only to themselves,

5      for example.                                              12:24:17

6           Q.    (By Mr. Ko)   Or to a -- a custom

7      audience, right?

8           A.    Right.   If there's a custom network that

9      they've created, or something like that.

10          Q.    Would it be accurate to say the privacy        12:24:34

11     settings -- well, remember how earlier I had asked

12     about whether or not the privacy settings related

13     to what information a user would want to share or

14     restrict about themselves.    And -- and I want to

15     focus in on the -- the -- the share aspect of it.         12:24:52

16                Is there any part of the privacy settings

17     that reflect what information could be shared or

18     restricted by a particular user?

19          A.    What do you mean by "shared"?

20          Q.    Well, let me ask you, because you said --      12:25:11

21     in response to the -- the question that I had

22     asked, you had talked about what a user would

23     display.

24                In what context or what -- what do you

25     mean when you say display?                                12:25:24

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1           A.      I mean, let's say that I upload an album     12:25:26

2      of photos from an event I -- I went to and took

3      pictures and I want to upload them to my Facebook

4      profile.

5                   In the context of doing so, I'm presented    12:25:37

6      with the option to upload this as an only me album.

7      So only I'm allowed to be able on Facebook to see

8      my album or I can set it for everyone, the whole

9      public, someone who doesn't even use Facebook could

10     navigate.     Or I could set it to my friends or the      12:25:56

11     custom piece that I referred to.

12                  And then by using that setting,

13     programmatically it tells the Facebook product to

14     render or not render the content, depending on the

15     setting that I selected.                                  12:26:12

16          Q.      And the privacy settings would be

17     applicable to that process, correct?

18          A.      Right.   The product respects privacy.

19          Q.      And have you heard of the term "on

20     platform activity"?                                       12:26:27

21          A.      Yes.

22          Q.      Have you heard of the term "off platform

23     activity"?

24          A.      Yes.

25          Q.      What is your understanding of these two      12:26:37

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1      terms?                                                    12:26:40

2           A.   It depends on the context of the use of

3      the term "platform."

4           Q.   Can we agree that the platform is --

5      let's -- let's start with the context of the              12:26:53

6      Facebook platform.

7                Does that help or do you need more --

8           A.   Not quite.

9           Q.   -- or --

10          A.   Not quite.                                      12:27:03

11          Q.   So can you describe to me what the

12     different versions of the platform you're thinking

13     of, or the various versions of the -- of the

14     platform you're thinking of?

15          A.   Well, some people will refer to -- as the       12:27:14

16     Facebook app or website as the Facebook platform.

17     I, in my years working at the company, when I hear

18     the word "platform," I am biased in the sense that

19     I've always worked on our platform technology

20     for -- to mean the -- the -- the Facebook platform        12:27:33

21     that we -- that we launched in May of 2007.

22               So that's why it's important for us to be

23     on the same page with respect to the word

24     "platform."   Because there were -- if we're just

25     going now back to the set of technologies that            12:27:49

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1      allowed third parties, you know, to connect with          12:27:52

2      the Facebook app, that -- that's the platform as I

3      am speaking to, and those apps could be either on

4      Facebook or off of Facebook, depending on where the

5      developer wanted to host them.                            12:28:07

6           Q.   Okay.   Given -- given that distinction

7      between on and off platform, do the privacy

8      settings deal with both on and off platform

9      activity, as you described?

10          A.   So the privacy settings apply to the            12:28:27

11     settings that you're setting for the content you're

12     uploading to the Facebook service.     Then there's

13     also privacy settings related to apps.      And those

14     settings can be used with respect to the

15     information that you share with third-party               12:28:44

16     applications or -- or that otherwise make available

17     through the platform.

18          Q.   And so those -- that particular setting

19     or settings, those are the app settings, correct?

20          A.   App settings, yes.     There -- those would     12:29:04

21     apply to your use of the Facebook platform, as I

22     just described my -- my understanding -- like

23     the -- the platform technologies.

24          Q.   And with respect to both of these

25     settings, which as you described were related to          12:29:23

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1      each other, would it be fair to say that                        12:29:27

2      collectively these settings are the controls

3      Facebook enacted to try and give Facebook users

4      control of what information they could share on

5      Facebook?                                                       12:29:41

6                  MR. BLUME:    Objection.      Form.

7                  THE DEPONENT:     Yeah.     I -- I wouldn't say

8      try.    They always have given people control over

9      their content.

10            Q.   (By Mr. Ko)     Okay.     Collectively, is it       12:29:55

11     fair to say that these settings are the controls

12     Facebook enacted to give users control of what

13     information they could share on Facebook?

14            A.   Not quite, because -- well, I won't

15     explain my problem with your -- your question.                  12:30:12

16     I -- I don't understand it.

17            Q.   Okay.   Well, I'm trying to get to a point

18     where we can come to a common understanding.             So I

19     got -- I eliminated the portion that you were

20     uncomfortable with when I removed "try" from my                 12:30:24

21     question.

22                 So what are the other aspects of my

23     question that are unclear?

24            A.   Please restate.

25            Q.   Collectively, is fair to say that the               12:30:36

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1      privacy and app settings are the controls Facebook            12:30:39

2      enacted to give users control of what information

3      they could share on Facebook?

4              A.   No.

5              Q.   What -- what -- what are -- are there any        12:30:52

6      other settings that I'm missing here?

7              A.   The settings don't necessarily -- like

8      it's just -- I'm confused over your question.

9                   So like I could go and post hate speech

10     today, but I have agreed not to do that.          So that's   12:31:08

11     the SRR, not a privacy setting.

12             Q.   Okay.   Can you unpack that a little bit?

13             A.   No.

14             Q.   You can't.

15                  Because you just gave me an explanation,         12:31:24

16     so I -- I'm trying to figure out what you mean by

17     that.

18             A.   I'm -- I mean what I said.      And I even

19     gave an example.

20             Q.   Okay.   When you -- your -- you said the         12:31:35

21     settings don't control over a hate -- a hate speech

22     post that you would make.

23                  And -- and so why -- why is that?

24             A.   Privacy settings are for what you want to

25     be visible to people who use Facebook, you know.              12:31:59

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1      And then -- then there's app settings on -- on --         12:32:07

2      that -- you know, depending on the relevant period

3      would apply to what you want to enable to be shared

4      through the Facebook APIs.

5                So that's why your question -- and I used       12:32:23

6      the hate speech example -- none of those settings

7      with the exception of some of the ability for us to

8      prevent certain types of content from even being

9      uploaded, such as child exploitation kind of

10     content, wherever technically possible, we try to         12:32:40

11     prevent that content at the technical level, or get

12     it down ASAP.    But those settings don't control the

13     content that I am publishing.     They control who can

14     see it and where it can flow through the APIs.

15          Q.   Thank you.                                      12:33:06

16               So with respect to -- let's -- let's --

17     let's go to the app settings.

18               Is it fair to say that the app settings

19     governed the controls Facebook enacted to try

20     and -- well, to give Facebook users control of what       12:33:22

21     information could be shared on Facebook through

22     Facebook APIs?

23          A.   That question doesn't make sense.

24          Q.   You said that the way in which third

25     parties could access information about a -- about a       12:33:40

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1      Facebook user was through APIs, correct?                      12:33:43

2              A.      I did not say that.

3              Q.      Okay.   Well, let me ask it more directly.

4                      Facebook APIs were the way -- or

5      accessing a Facebook API or APIs was the way in               12:33:58

6      which a third-party app developer could access

7      information about a Facebook user, correct?

8                      MR. BLUME:   Objection.

9                      THE DEPONENT:   Just the way that you're

10     characterizing this is just not the way that                  12:34:19

11     technically it works.

12                     So for example, if I'm a developer of a

13     third-party applicant and I want to navigate to

14     John Smith's profile manually, I can go and see

15     that.        That's why I don't want to narrow.       The     12:34:32

16     developer community can actually -- although

17     they're human -- so they can go to my profile, or

18     any profile, and see what information is public.

19                     Certain information is always public and

20     then other information is not public.            But that's   12:34:47

21     because the user has chosen to set their settings

22     in a -- to only me, for example.

23                     So developers, of course, can get

24     information subject to the controls that we have in

25     place through the platform.           But that -- those --    12:35:04

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1      that -- the data will only be accessible through          12:35:08

2      the APIs to the extent that users didn't choose to

3      not make their data available, for example, by

4      opting out of the platform or by -- well, that --

5      we should end there.                                      12:35:25

6           Q.    (By Mr. Ko)   And I wasn't trying to be

7      exhaustive in my question.    And I apologize if I

8      wasn't clear -- unclear.

9                 One way in which a third-party app

10     developer accesses information on a particular user       12:35:36

11     is through an API through the Facebook platform, or

12     in connection with the Facebook platform, correct?

13          A.    If the user chooses to share that

14     information and make it accessible through the

15     platform, for example, by not opting out.                 12:35:54

16          Q.    Yes or no?

17          A.    I answered your question.

18          Q.    So if the user -- if the user chooses to

19     share the information and make it accessible

20     through the platform, one way in which a                  12:36:12

21     third-party developer could access information

22     about that particular user is through an API,

23     correct?

24          A.    And -- yes, subject to the fact that the

25     platform has changed and we're on the 13th-some           12:36:28

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1      version.    So it's -- it's -- how it -- how it works           12:36:30

2      depends also on when you're asking me.

3                  So like, you know, the -- the move from

4      version 1 to version 2, there's no longer friend

5      permissions available.     So it's all about -- so the          12:36:46

6      friend settings wouldn't apply, right.

7           Q.     When you said a moment ago, "if the user

8      chooses to share that information," through what

9      mechanism can that user decide to choose to share

10     that information?                                               12:37:04

11          A.     Well, they choose to create a Facebook

12     account.    Then they choose to decide what they want

13     to fill in and complete.     They choose what they

14     want to share.    They choose who they want to share

15     it with.    They choose whether they want to use the            12:37:19

16     platform application.    And historically, they've

17     chosen whether they want to allow their information

18     to be shared by their friends who install.

19                 There's just a series of choices.          It all

20     depends on the choices each individual user makes,              12:37:36

21     and then the Facebook product respects those

22     privacy settings.

23          Q.     Back to the information that they choose

24     to share.

25                 How do they decide that?                            12:37:48

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1              A.      I can't speak for the -- each individual        12:37:52

2      user.        I -- I can tell you how I choose to share

3      content.

4              Q.      I -- I -- I understand the confusion.

5                      Technically speaking, with respect to a         12:38:01

6      user's interaction on the Facebook platform, is

7      there a tool or a setting that they can select in

8      determining what to share with a third party?

9                      MR. BLUME:     And objection, to the extent

10     this relates to topic 6, and not the communication              12:38:22

11     but the technology.           I would instruct her not to

12     answer.        You have a witness on that coming.

13                     MR. KO:   It's not related to topic 6,

14     just for your edification.

15                     MR. BLUME:     All right.    Well, what topic   12:38:38

16     does it relate to then?

17                     MR. KO:   Topic 3, privacy and app

18     settings.

19                     MR. BLUME:     You asked about technology,

20     so that's what confused me.                                     12:38:45

21             Q.      (By Mr. Ko)     Ms. Hendrix, what were the

22     settings that a user could utilize to control the

23     information that they wanted to share?

24             A.      And with who and where?

25             Q.      Let's start with the third-party app            12:39:08

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1      developer.                                                 12:39:11

2              A.   And what is the relevant period?

3              Q.   I already instructed you that unless I

4      specify otherwise, I'm talking about the entire

5      time.                                                      12:39:23

6              A.   Well --

7                   MR. BLUME:   Objection.    Scope.

8                   THE DEPONENT:   From 2007 to 2022 today,

9      those settings have changed.

10                  So for example, there's not a setting for     12:39:35

11     you to specify which piece of information you're

12     comfortable -- that you've shared with your

13     friends, that's visible to your friends on

14     Facebook, that you're comfortable with them sharing

15     with third-party applications, so that those apps          12:39:50

16     can improve and socialize the user's experience.

17                  For example, in a birthday app, I might

18     say, sure, you can set -- you can -- I don't care

19     if my friends take my birthday to a third-party

20     app.     That setting is no longer in -- exists            12:40:00

21     because that's no longer technically possible

22     through the product.

23                  But I also might not be comfortable

24     sharing my photos, my private photos.         So I might

25     check to say, nope, you can share my birthday that         12:40:15

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1      I've set to private, but you can't share my photos          12:40:18

2      that I've set to private.

3              Q.      (By Mr. Ko)   Take a look at the notice

4      again, and on page 9 of the notice, there is a

5      reference to "Users' Privacy Settings."                     12:40:36

6                      Do you see that?   That would be

7      paragraph 22.

8              A.      I see what it says.

9              Q.      Do you agree that a "'Users' Privacy

10     Settings' means the audience selectors on the               12:40:59

11     Facebook app that purported to allow Facebook users

12     to control with whom their information was shared"?

13             A.      I agree that's -- that that is what it

14     says.        But in the context of audience selectors,

15     like what -- like -- does that mean to you, like            12:41:19

16     per object privacy, like what I'm sharing on

17     Facebook and then whether I'm allowing that content

18     to be shared off of Facebook.

19                     Generally, this -- the -- this could be

20     generalized into -- into like -- I mean, these, I           12:41:37

21     think, are your words.         But I hope I'm clear.

22                     Like every user has a choice with respect

23     to using the product.         And then to the extent we

24     offer privacy controls, they can choose whether to

25     use them.        Those controls include whether to use      12:41:54

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1      the Facebook platform or whether to, for example,         12:41:58

2      opt out.

3                 So yes -- I mean, at all times people are

4      controlling their information, to the extent they

5      choose to use Facebook.                                   12:42:12

6           Q.    How would you describe to the Court what

7      your understanding of users' privacy settings

8      consist of?

9           A.    I just described how it works and so

10     that's my response.                                       12:42:30

11                I mean, going back to the SRR, we tell

12     people, keep in mind that what you share and make

13     visible to your friends means that you are -- at

14     some point in time they could be doing something

15     with that information that you're not aware of,           12:42:42

16     that those disclosures have always been in place,

17     just to tell people to be careful about the content

18     that they upload and to be aware of the settings

19     that they're selecting.

20                That's why we have all of the different        12:42:55

21     educational resources on top of the data use policy

22     in the SRR that really, really help you understand

23     that these decisions you're making have potential

24     consequences, but that you ultimately control the

25     audience until you choose to share.                       12:43:14

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1                  And then if you chose to share it to          12:43:16

2      everyone, or choose to share it with your friends,

3      then technically those people could do something

4      that you don't desire them to do.

5                  But ultimately, the settings is the --        12:43:27

6      your decisions on the visibility of that content,

7      including whether you want to enable that content

8      to be used in the context of third-party

9      applications.

10          Q.     Great.                                        12:43:45

11                 And that -- and that would be both the

12     privacy and app settings that we're -- we've been

13     talking about, correct?

14          A.     Privacy and app settings are the specific

15     controls.    But then the SRR, the data use policy,       12:43:56

16     the help center, all of the privacy checkups and

17     all of those are also a -- a part of the overall

18     user experience so that people have that

19     understanding of the -- of how they choose to use

20     those settings.      So it -- they all interrelate.       12:44:12

21          Q.     What -- what organization or

22     organizations at Facebook were responsible for

23     developing the privacy and app settings?

24          A.     So this would go back to my earlier

25     point.                                                    12:44:32

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1                   It's a team of teams so you need                12:44:33

2      engineers to build.       You need product managers to

3      drive.     You need legal to advise.       You need policy

4      to advise.     You need comms to advise.        You need

5      platform marketing teams to advise.                          12:44:42

6                   You need to just ensure that all of these

7      relevant stakeholders are a part of the process and

8      that can -- they're not at the table all the time

9      always together, but they all are a part of -- and

10     part -- and the privacy program managers.            The     12:44:58

11     privacy review teams.        Like they're all a part of

12     the teams that understand what it is that we want

13     to build and how it's going to work and how we're

14     going to communicate that.        And so it's a team of

15     teams.                                                       12:45:14

16           Q.     I understand and would expect there to be

17     a lot of organizations and teams that were part of

18     it.

19                  So can you identify which teams had the

20     primary responsibility for developing the privacy            12:45:25

21     and app settings?

22                  MR. BLUME:    Objection.

23                  THE DEPONENT:     So the platform product

24     team would be more closely involved in the app

25     setting development.       And then because -- you know,     12:45:40

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1      setting aside -- let's say we didn't even have a                   12:45:44

2      Facebook platform as I've described it, you know,

3      the third-party applications -- if you just had

4      Facebook, you have product and engineering teams

5      that have nothing to do with third-party                           12:45:56

6      applications or the Facebook platform.

7                  So there's product teams, but these

8      product teams work on different products.             And

9      there's legal teams.      And within those legal teams,

10     they support and counsel different product teams.                  12:46:06

11                 Same with comms.        Same with policy.       Same

12     with marketing, for example.

13          Q.     (By Mr. Ko)     So what were the -- I'm

14     trying to get in -- in this instance, I am trying

15     to get a list -- a finite list, if you will, of the                12:46:28

16     organizations that were part of developing the

17     privacy settings.

18                 So I -- I had heard you to say that

19     legal, engineers, policy, privacy, marketing, those

20     were the teams that were responsible for developing                12:46:48

21     the settings, correct?

22                 MR. BLUME:    Objection.      Asked and

23     answered.

24                 THE DEPONENT:     No.     I mean, like we have

25     a privacy program team.       There's content                      12:47:00

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1      strategists.     Like it's -- like how you get             12:47:05

2      involved all depends on the nature and scope of

3      what is shipping and what is -- what is being

4      launched.

5                  So we launched a fundraiser API at one         12:47:14

6      point in time.      And so maybe the team that works on

7      social good, in helping people really, you know,

8      complement the mission of connecting people and

9      helping people.      For example, like using the -- the

10     API to help raise funds.                                   12:47:32

11          Q.     (By Mr. Ko)     Earlier today you were able

12     to identify organizations that had both -- that had

13     primarily responsibility or -- or were most

14     important to the process of drafting the SRRs and

15     the DUPs and the platform policies.                        12:47:55

16                 Do you recall that?

17          A.     I do.

18          Q.     I'm going to ask you that same type of

19     question with respect to the privacy settings and

20     the app settings.                                          12:48:06

21                 Can you identify which Facebook

22     organizations have the primary responsibility for

23     developing the privacy and app settings?

24                 MR. BLUME:    Objection.

25                 THE DEPONENT:     It would be the same teams   12:48:24

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1      that work on the -- the -- so we don't pull in an            12:48:26

2      engineer to help write the terms of service.           But

3      an engineer and product team member will need to be

4      very deeply involved in understanding how we're

5      describing how things work because they're the ones          12:48:40

6      who are ensuring us that what we say is consist --

7      in the data use policy, for example, is consist

8      with what they've built --

9                So it is just like nothing can be done in

10     a vacuum and it's -- I wouldn't say that there's             12:48:53

11     ever a finite list.     I always joke around that as

12     the person who's been responsible for developing

13     the Facebook platform policies since 2009, I will

14     accept a proposed policy change from a member of

15     the culinary team.                                           12:49:17

16               So we don't say you're not included just

17     because -- like there's no finite list.         There's

18     primary people and so that's the -- the way that we

19     work at this company.

20          Q.   (By Mr. Ko)     That's helpful.     And I          12:49:30

21     just -- I -- I want you to try and listen to my

22     question as closely as you can, because I was just

23     actually asking you a yes-or-no question.         And I

24     appreciated the explanation.

25               But it -- it sounds like the answer will           12:49:40

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1      be no.       But my -- my question was, can you identify         12:49:42

2      which Facebook organizations have the primary

3      responsibility for developing the privacy and app

4      settings.

5                     It sounds like your answer is no, you             12:49:55

6      cannot; is that fair?

7              A.     No, it is not fair.      So if you want me

8      to --

9                     (Simultaneously speaking.)

10             Q.     (By Mr. Ko)     So it's --                        12:50:00

11             A.     -- just say primary -- because you had

12     said finite.

13             Q.     (By Mr. Ko)     No, I didn't.     Let me -- let

14     ask again.

15                    Can you identify, yes or no, which                12:50:08

16     Facebook organizations have the primary

17     responsibility for developing the privacy and app

18     settings, yes or no?

19                    MR. BLUME:    Objection.

20                    THE DEPONENT:     What do you mean by             12:50:18

21     "developing"?

22             Q.     (By Mr. Ko)     Okay.   Do you have an

23     understanding of what the term "developing" means?

24                    MR. BLUME:    Objection.

25                    THE DEPONENT:     Well, yes.     But are you      12:50:31

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1      saying developing --                                         12:50:32

2           Q.      (By Mr. Ko)     What is -- what is that

3      understanding --

4           A.      -- actual product or -- could you please

5      not talk over me.                                            12:50:34

6                   MR. BLUME:    Hold on.     Let her -- let her

7      finish, please.

8                   THE DEPONENT:     Are you saying like

9      development insofar as actually building, writing

10     the code, or are you talking about developing as             12:50:44

11     insofar what is the content.          What is the text.

12     What is the control.       Why do we want the control

13     should we have the control.

14                  It all depends on what we're talking

15     about.     So we can't just box it into a --                 12:50:56

16          Q.      (By Mr. Ko)     Let's start with the latter.

17          A.      -- single piece.

18          Q.      Let's start with the latter.

19          A.      I don't remember what my latter was.

20          Q.      Your latter was developing insofar as the       12:51:06

21     content, what is the text.        What is the control.

22     Why do we want the control.        Should we have the

23     control.

24                  That's what I'm referring to.

25          A.      That would be our privacy XFN, which            12:51:18

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1      consists of that -- that product teams will go to             12:51:23

2      or that will pull teams in.         So that's legal.

3      Privacy program managers.         Policy product

4      counselors.

5                      And then naturally you need the product       12:51:35

6      teams because they have a vision for their product

7      and how they want it to be used and what they want

8      to build.        So it's very collaborative.

9              Q.      And with respect to the aspect of

10     development as it relates to engineers, can you               12:51:58

11     answer the question of what teams or organizations

12     at Facebook have the primary responsibility for

13     developing the privacy and app settings?

14                     MR. BLUME:   Objection.    Beyond the scope

15     for designated topics.                                        12:52:15

16                     THE DEPONENT:   It all depends.      So for

17     example, a research team member might conduct a

18     small study and a focus group to make sure people

19     understand these settings.         And they might conclude

20     that they could be improved upon or that we should            12:52:31

21     do things such as -- maybe I think Pratiti, when I

22     spoke with her, it was the research team -- which

23     like some researchers are embedded within their

24     product teams and then there's a research teams as

25     well.        But it was an individual research team that      12:52:49

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1      was the catalyst for the development of the privacy       12:52:51

2      checkup tool.

3                 So, again, it all just depends on who's

4      proposing it, going back to my annoying culinary

5      comment.                                                  12:53:01

6           Q.    (By Mr. Ko)     So there was a research team

7      that had its hand in the development of privacy and

8      app settings; is that accurate?

9                 MR. BLUME:     Objection.

10                THE DEPONENT:     It is accurate to say that   12:53:17

11     we rely on internal research employees to help us

12     ensure that we are -- that people understand our

13     terms and the products, including the settings.

14          Q.    (By Mr. Ko)     And so this research team,

15     as you indicated, conducted studies, correct?             12:53:34

16                MR. BLUME:     Objection.

17                THE DEPONENT:     So there are researchers

18     at Facebook and the -- where they -- and who they

19     report in to is different, the way that it -- that

20     that works, so...                                         12:53:49

21          Q.    (By Mr. Ko)     I'm -- I'm not asking about

22     who they report to.      I just simply asked, this

23     research team conducted studies; is that correct?

24                MR. BLUME:     If it doesn't involve

25     reporting lines, then beyond the scope.                   12:54:02

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1                MR. KO:     Mr. Blume, topic 3 asks for an      12:54:10

2      overview of the process for developing privacy or

3      app settings.

4                Okay.     Stop with those objections.

5           Q.   (By Mr. Ko)     So I'll ask you again,          12:54:19

6      Ms. Hendrix.

7                This research team conducted studdies; is

8      that correct?

9           A.   Well, I don't know which research team

10     you're talking about.     Like --                         12:54:27

11          Q.   I'm talking about --

12          A.   -- what I'm trying to tell you is that --

13               MR. BLUME:     Let her finish, please.

14               THE DEPONENT:     I'm trying to tell you

15     that, like the research -- researchers at our             12:54:34

16     company -- and I can -- I -- are -- some of them

17     are on like a team.     And then some are embedded

18     within their team.

19               So a product manager might say, hey, I

20     have an idea for updating an app setting or -- or a       12:54:48

21     privacy setting.     And so could you help me conduct

22     research into whether or not and how we could and

23     might develop this setting, if it's new, or ensure

24     that the setting is understood.

25               So that's speaking to -- or, you know,          12:55:09

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1      just different teams, like a -- a colleague could              12:55:14

2      have an experience and say, hey we might want to

3      improve or this, or something, you know.           Everybody

4      can have ideas.

5           Q.    (By Mr. Ko)      I'm looking at the                 12:55:26

6      transcript and at 12:52 you gave me an example, in

7      response to your confusion over the word

8      "development."

9                 You gave me an example of what certain

10     groups and teams did at Facebook.         And one example      12:55:40

11     you gave was that "a research team member might

12     conduct a small study and a focus group to make

13     sure people understand these settings that might

14     improve or be improved upon."

15                With respect to that example, and no                12:55:58

16     other example, are you talking about the

17     settings -- when you refer to the settings, you're

18     talking about the privacy and app settings,

19     correct?

20          A.    In my example, I was talking about the              12:56:13

21     privacy checkup tool.

22          Q.    Okay.    Good.

23                So in connection with the privacy checkup

24     tool, Facebook did research and conducted the

25     studies, correct?                                              12:56:29

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1                  MR. BLUME:    Objection.                           12:56:35

2                  THE DEPONENT:     I know that from my

3      conversation with Pratiti, that there was research

4      into -- well, now I'd -- I'd have to look at my

5      notes, if that's okay.                                         12:56:50

6           Q.     (By Mr. Ko)     Oh, yeah.     Please -- please

7      do so.

8                  Again this was a yes-or-no question.         You

9      gave an example and I'm just trying to clarify and

10     understand your response.                                      12:57:02

11          A.     I don't agree with you that it was a yes

12     or no, but that doesn't really matter.

13                 So I just want to see if I have that.

14                 MR. BLUME:    Can you ask the question

15     again, David, just so we're -- the record is clear.            12:57:32

16                 MR. KO:   Yeah.    But I want to wait until

17     she reviews what she needs to review so I don't

18     have to ask it again.

19                 MR. BLUME:    Fair enough.

20                 THE DEPONENT:     Okay.     I -- I think I         12:57:45

21     found the example -- I did find the example that I

22     was referring to.

23          Q.     (By Mr. Ko)     This is a yes-or-no

24     question.

25                 Do you understand that?                            12:57:53

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1           A.     I don't -- I don't remember your                         12:57:54

2      question.    This -- we need to be precise here, so

3      if you could repeat it.

4           Q.     I -- I am about to ask a yes-or-no

5      question.                                                            12:58:02

6                  Okay?

7           A.     You can think it is, and I can disagree

8      with you.    But go ahead.

9           Q.     Yes or no, when you were describing

10     research studies that Facebook did, were they in                     12:58:13

11     connection with Facebook's privacy or app settings?

12                 MR. BLUME:    Objection.

13                 THE DEPONENT:     It was related to.         But,

14     again, from my notes here, if helpful -- because

15     it's on the topic that I think you're asking, which                  12:58:30

16     is researchers will generally do a study to test

17     any change in a consent flow or a setting flow.                 So

18     yes, researchers -- researchers are involved.

19          Q.     (By Mr. Ko)     Yes, researchers are

20     involved to the extent -- well, researchers are                      12:58:47

21     involved and they conduct studies in connection

22     with the privacy and app settings, correct?

23                 MR. BLUME:    Objection to that example.

24                 THE DEPONENT:     They can be.     It all

25     depends on the nature and scope of the change.                       12:59:03

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1      They're -- I'm not testifying that they're involved             12:59:04

2      in every single settings change, or text or

3      wording.

4                 It's where appropriate.       And depending on

5      the catalyst for -- like because, again, product                12:59:12

6      team members will pull you in.      Researchers will

7      decide they want to conduct research on their own

8      initiative.

9                 But, yes, there are times when

10     researchers are pulled in to review app -- and                  12:59:23

11     conduct studies into app settings and privacy

12     settings, yes.

13          Q.    (By Mr. Ko)    And, Ms. Hendrix, this is

14     just, you know -- you don't have take my advice for

15     you to answer however you would like to -- to                   12:59:36

16     answer.

17                But this will go a lot faster if you just

18     answer the yes-or-no questions yes or no.         And

19     you're free to say no.     You can say no.

20                MR. BLUME:    She -- she --                          12:59:45

21                MR. KO:   And that was --

22                (Simultaneously speaking.)

23                MR. BLUME:    She -- she --

24                MR. KO:   Hold on.   Let me finish.         Let me

25     finish, Mr. Blume.                                              12:59:49

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1                   And if your answer is no, that's fine.              12:59:50

2      But I'm just making a suggestion to speed things up

3      for both of us.        Otherwise, we're going to be here

4      for a really long time.           I was hoping that this

5      wouldn't take long.        But if -- if you would like to        01:00:00

6      keep not answering yes-or-no questions --

7                   MR. BLUME:     Okay.

8                   MR. KO:     -- with yes or -- neither yes

9      nor no, then you're free to do that.              But I'm just

10     making a suggestion.                                             01:00:14

11                  And with that, at 1:00 o'clock, I

12     promised that -- you can --

13                  MR. BLUME:     And I'll make --

14                  MR. KO:     Yeah.     Go ahead.

15                  MR. BLUME:     Can I make a suggestion?             01:00:19

16                  The fact is, your questions are unclear

17     and vague.     And she's trying to clarify the record

18     to make it accurate.        It's not yes or no the way

19     you want.     She's made that clear.

20                  So I suggest -- my suggestion is, if your           01:00:29

21     questions become more precise, then perhaps yes or

22     no may be appropriate.           But the imprecision is

23     what's causing her to have to explain what happen

24     what -- what the answers are.

25                  MR. KO:     I don't know how to get more            01:00:41

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1      precise than using the answers that you provide,          01:00:42

2      Ms. Hendrix.      So -- but it is 1:00 o'clock and we

3      should break for lunch, as I promised we would.

4                 THE VIDEOGRAPHER:     Okay.    We're off the

5      record.   It's 1:00 o'clock p.m.                          01:00:54

6                 (Recess taken.)

7                 THE VIDEOGRAPHER:     All right, everybody.

8      We are back on the record.      It's 2:07 p.m.

9           Q.    (By Mr. Ko)     Ms. Hendrix, there was a

10     research organization or team at Facebook, correct?       02:07:14

11          A.    There are people -- team -- research

12     teams and researchers on -- embedded within

13     different product teams at Facebook.

14          Q.    And these research teams and the

15     researchers conducted studies, correct?                   02:07:32

16                MR. BLUME:     Objection.

17                THE DEPONENT:     Yes, the researchers

18     conduct studies.

19          Q.    (By Mr. Ko)     Are you familiar with the

20     term UX or user experience?                               02:07:48

21          A.    Yes.

22          Q.    These researcher -- research teams and

23     researchers conducted studies in connection with

24     either the UX teem or the user experience, in

25     general; is that fair to say?                             02:08:04

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1                 MR. BLUME:     I'm sorry.    What topic are we   02:08:07

2      on?

3                 MR. KO:     Topic 3b, Rob.

4            Q.   (By Mr. Ko)     More importantly, I'm

5      following up on questions and, more importantly,            02:08:25

6      answers, that Ms. Hendrix gave with respect to

7      research that was done at Facebook.

8                 So let me ask again, Ms. Hendrix, were

9      studies done in connection with the user experience

10     by these research teams and/or researchers?                 02:08:43

11                MR. BLUME:     Objection.

12                THE DEPONENT:     What do you mean by the

13     user experience?

14           Q.   (By Mr. Ko)     I asked you -- I asked you a

15     moment ago whether or not you're familiar with              02:08:56

16     UX -- the term UX or user experience, right?

17           A.   I am.     I just am not sure if you are

18     familiar with my understanding.

19           Q.   What is your understanding of the term UX

20     or user experience?                                         02:09:14

21           A.   So it's generally a term that we use to

22     describe a person and their experience interacting

23     with our services.

24           Q.   Were studied done by the research team or

25     researchers at Facebook in connection with a user           02:09:30

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1      or person's experience interacting with Facebook          02:09:36

2      services?

3                  MR. BLUME:    Objection.     Time frame.

4                  THE DEPONENT:     From the relevant period

5      to today, there are researchers that conduct              02:09:50

6      research into users' experiences using our

7      services.

8           Q.     (By Mr. Ko)     And in connection with that

9      research, is it fair to say that certain studies

10     were -- were done?                                        02:10:07

11          A.     Well, that's what I just said.

12          Q.     Okay.   And these studies, I believe, you

13     had referred to earlier this afternoon -- focus

14     groups.

15                 Do you remember that?                         02:10:21

16          A.     There are certain research conducted

17     where the teams will -- like depending on the

18     research, they might use a focus group.

19          Q.     So in some instances over the relevant

20     time period, there were studies done that -- by the       02:10:43

21     research team or researchers at Facebook, in which

22     they conducted or used, as you said, a focus group,

23     in connection with that study; is that fair to say?

24                 MR. BLUME:    Objection.     You just asked

25     that and she just answered that.                          02:11:03

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1           Q.    (By Mr. Ko)   You can answer.                  02:11:07

2           A.    Yes.

3           Q.    Is it also fair to say that studies were

4      done in connection with the user experience, as it

5      relates to privacy and app settings, that a user          02:11:18

6      could utilize?

7           A.    Yes.

8           Q.    Thank you.

9                 Before lunch, you had referred to, I

10     believe, the privacy checkup tool.                        02:11:40

11                Do you recall that?

12          A.    I do.

13          Q.    What is the privacy checkup tool?

14          A.    It is an educational resource type of

15     tool used to ensure that people are aware of and          02:11:56

16     remind them of their pri- -- like and -- and

17     encourage them to check the settings.       Because if

18     you joined Facebook in one year, you might get

19     older and want to change your settings.

20                So it's just the ability to check in with      02:12:18

21     people and remind them of the settings that they

22     have and give them an opportunity to make any

23     changes.   They always have that, but that's the --

24     the motivator.

25          Q.    And by "settings," I assume you're             02:12:31

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1      referring to the privacy and app settings, correct?            02:12:32

2              A.   Right.    The privacy and app settings.

3              Q.   Do you recall when the privacy checkup

4      tool was rolled out?

5              A.   I'll have to check my notes.          I think I   02:12:51

6      have that in my notes.

7              Q.   While you check your notes, let me see if

8      this date rings a bell to you.

9                   Is it 200- --

10             A.   It's May 2014.                                    02:13:02

11             Q.   Okay.    Great.

12                  So the privacy checkup tool was rolled

13     out by Facebook in May of 2014, correct?

14             A.   Yes.

15                  MR. BLUME:    Objection.       Asked and          02:13:17

16     answered.

17             Q.   (By Mr. Ko)       Was there any aspect of the

18     privacy checkup tool that disclosed to the user

19     what third-party app developers could see or obtain

20     about a user?                                                  02:13:32

21             A.   I know that it lets people know what apps

22     they have and is educating on them to see if they

23     want them to still uninstall those apps or keep the

24     apps.

25                  The specifics, I don't remember, sitting          02:13:50

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1      here right now.                                                 02:13:52

2           Q.      Do you recall any part of the privacy

3      checkup tool which related to any disclosure by

4      Facebook whatsoever about what third-party app

5      developers could obtain from a particular user?                 02:14:14

6                   MR. BLUME:    Objection.

7                   THE DEPONENT:     I am not sure how granular

8      it got.     But it's like at a up level, our practice

9      is to point people and -- to different settings,

10     pages and stuff within the context of these tools               02:14:44

11     that we have.

12                  But I don't remember specifically the

13     details for how it's evolved.

14          Q.      (By Mr. Ko)     And -- and is the privacy

15     checkup tool -- when you say that it -- it -- you               02:14:58

16     believe that it pointed users to different

17     settings, pages, is it your testimony that the

18     privacy checkup tool referred to and pointed to

19     users -- towards specifically the privacy and app

20     settings?                                                       02:15:17

21          A.      I said that I don't remember.         But I'd be

22     surprised if, in fact, it did not.          It told them

23     the scope of the information that they had shared

24     and the apps that -- that -- that they had

25     installed.                                                      02:15:32

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1                   But I don't remember specifically.             02:15:34

2      Again, I'd be incredibly shocked, given the way

3      that we have all these links to the different

4      places people can go to learn more, if it did not.

5      But that's all that I can remember, sitting here            02:15:48

6      today.

7           Q.      Do you recall whether or not there was a

8      reference in the privacy checkup tool to the SRRs?

9                   MR. BLUME:    Objection.

10                  THE DEPONENT:     I don't recall.              02:16:03

11          Q.      (By Mr. Ko)     Do you recall whether or not

12     there was a link or reference in the privacy

13     checkup tool to the DUPs?

14                  MR. BLUME:    Objection.

15                  THE DEPONENT:     I don't recall.              02:16:17

16          Q.      (By Mr. Ko)     With regard to the

17     privacy --

18          A.      But there's links all over.

19          Q.      With respect to the privacy checkup tool

20     that was enacted and rolled out at Facebook in              02:16:29

21     May of 2014, is that tool still available today?

22          A.      Yes.

23          Q.      And it had -- that tool has been, I

24     assume, available to all Facebook users from

25     May of 2014 to present, correct?                            02:16:43

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1              A.      I don't know that to be true.       I imagine   02:16:50

2      it would have been rolled out in -- in waves, but

3      I'm not sure.

4              Q.      Well, what do you mean when it was

5      "rolled out in waves"?                                          02:17:02

6              A.      Consistent with other practices, we don't

7      just turn all users live.         There's times where you

8      will maintain the current experience and then ship

9      any user experience changes we want to make, and

10     then additional testing of how those changes that               02:17:26

11     we decided to make are -- are being utilized and

12     received.

13                     So the -- the research doesn't begin and

14     end at the initial launch.         The -- the teams would

15     be monitoring the user experience to see if we                  02:17:41

16     should roll out more broadly, or before rolling out

17     more broadly make any adjustments based on the

18     initial wave.        Some things are rolled out all at

19     once.        But some things are rolled out in waves for,

20     like, localization purposes.                                    02:18:00

21             Q.      And with respect to the -- the teams that

22     would be monitoring the user experience, what --

23     what teams would those be?

24                     MR. BLUME:   Objection.

25                     THE DEPONENT:   Likely, the -- largely,         02:18:23

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1      the product and eng and potentially research teams.             02:18:28

2      It all depends on what change we're making would

3      factor in who would be paying most attention.             But

4      largely, it would be the product, and where

5      applicable, research-related teams.                             02:18:53

6           Q.      (By Mr. Ko)     When you said that it was

7      consistent with other practices at Facebook to roll

8      certain products or programs out in waves, could

9      you characterize for the Court to what extent it

10     was the general practice of Facebook to roll                    02:19:16

11     certain programs out, relative to, as you said,

12     rolling things out all at once?

13                  MR. BLUME:    Objection.

14                  THE DEPONENT:     What is the scope of your

15     question?                                                       02:19:40

16          Q.      (By Mr. Ko)     I'm just trying to get an

17     understanding and unpack your response.

18                  When I asked about the privacy -- privacy

19     checkup tool being rolled out in May of 2014, you

20     said that it was likely that it was rolled out in               02:19:50

21     waves, correct?

22          A.      I -- it -- I -- I mean to say, it could

23     have been.     It could have also been rolled out all

24     at once.

25          Q.      So then since you don't know exactly what          02:20:02

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1      happened with respect to the privacy checkup tool,              02:20:05

2      but you did say it was consistent with other

3      practices at Facebook to roll things out in waves,

4      correct?

5           A.      So we announced the fact of the privacy            02:20:16

6      checkup in May.     It starts rolling out in August.

7      So just to be clearer on that point.           I'm sorry.

8                   I don't know if it was rolled out

9      specifically in waves.

10          Q.      And I -- let's set aside you've made it            02:20:35

11     clear you don't recall specifically what happened

12     with respect to the privacy checkup tool.            I am now

13     focusing on the portion of your response in which

14     you said that it was consistent with other

15     practices to roll things out in waves.                          02:20:46

16                  Do you recall that testimony; yes or no?

17          A.      Yes, I recall having said that.

18          Q.      And you also said and provided testimony

19     that sometimes Facebook rolled things out all at

20     once, correct?                                                  02:21:05

21                  MR. BLUME:    Same objection.

22                  THE DEPONENT:     Correct.

23          Q.      (By Mr. Ko)     Can you give me an

24     understanding of -- if you know.          It's fine if you

25     don't.     If you know -- to what extent it was the             02:21:19

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1      general practice of Facebook to roll things out in            02:21:22

2      waves or whether it was the general practice of

3      Facebook to roll things out all at once?

4                   MR. BLUME:    Objection.     Form.

5                   THE DEPONENT:     It all depends on what is      02:21:31

6      being launched.     If it's like a text change, it

7      will have to be translated for the fact that it's a

8      global company.     So we need to make sure that the

9      language is the right language and that can take

10     some time.                                                    02:21:46

11                  We also need to test features.         We want

12     the experience to be uniform across the global user

13     experience.     But we also need to know whether what

14     we've decided to test because we -- we don't always

15     want to proceed with something.          So we'll test in a   02:21:58

16     given region, see how it's performing, and decide

17     whether to open it up more broadly.

18          Q.      (By Mr. Ko)     So it's fair to say then

19     that there wasn't one general practice with respect

20     to rolling certain programs out.                              02:22:20

21                  I hear you to say that sometimes it was

22     rolled out in waves and sometimes it was rolled out

23     at once.     It just depends; is -- is that correct?

24                  In other words, there was no predominant

25     practice as -- as to those two methods in rolling             02:22:34

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1      out a certain product, correct?                                   02:22:37

2              A.      So to take us a step back, the teams that

3      are involved in the development or revisions to

4      features, functionalities, terms, documents, they

5      will collaborate on the launch plan.              We have to go   02:22:50

6      to market plans.        And everyone will align on what

7      is the right approach for the given thing that is

8      being updated and tested, for example.

9                      So it's -- there's a process by which we

10     make those decisions.                                             02:23:11

11             Q.      Was there a predominant practice as to

12     how Facebook rolled certain programs out?

13                     MR. BLUME:     Objection.    Form.

14                     THE DEPONENT:     It all depends, like I

15     said.        So I've described the way that we approach           02:23:26

16     it.     It's the process of the teams that are all

17     involved in, you know, the announcements of the

18     launch.

19                     Using privacy checkup as an example,

20     there will have been the teams that I referred to                 02:23:38

21     earlier, that will align on the -- the content of

22     that announcement.           And those similar teams will

23     align on the timing for launching those things.              So

24     it all just again depends on which team is

25     launching what thing.                                             02:23:55

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1           Q.      (By Mr. Ko)   So based on your response,        02:23:57

2      is it fair to say, and would you agree with me,

3      that there was not a predominant practice as to how

4      Facebook rolled certain programs out?

5           A.      No.                                             02:24:08

6           Q.      Okay.   Well, which is it?     Because you're

7      saying that -- you claim that it all depends,

8      right?

9                   In certain circumstances there -- there

10     are situations in which Facebook rolled things out           02:24:18

11     in waves, and in certain circumstances there are

12     situations in which Facebook rolled things out all

13     at once.

14                  Did I understand your testimony

15     correctly?                                                   02:24:31

16          A.      I believe that's what I said.       But like,

17     for example, using the SRR and the data use policy,

18     you know, that's not an example of a wave that we

19     would do.     It -- it just all depends.

20          Q.      Are you familiar --                             02:24:53

21          A.      But there's always a process.

22          Q.      Are you familiar with privacy shortcuts?

23          A.      Yes, I am.

24          Q.      What is -- what is privacy shortcuts?

25          A.      So that was launched in December of 2012,       02:25:14

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1      and it complements the privacy tour that users --         02:25:16

2      new users go through in their new -- in the user

3      signup flow and it -- it's right -- it's -- it's

4      next to the home button.    But it's just an ability

5      to complement that privacy tour and provide you           02:25:39

6      with more information on the privacy settings.

7           Q.   I'm sorry.   And -- and you said "tour" as

8      in T-O-U-R?

9           A.   Yes.   We have a privacy tour for new

10     users.                                                    02:25:56

11          Q.   In connection with the privacy tour, and

12     specifically with respect to the privacy shortcuts,

13     do you recall whether or not there was any

14     reference or disclosure to the SRR?

15          A.   I don't remember, sitting here right now.       02:26:22

16          Q.   Do you recall whether or not there was

17     any reference or disclosure in the privacy

18     shortcuts that referred the user to the DUP?

19          A.   I don't remember.

20          Q.   Are the privacy shortcuts -- so you said        02:26:48

21     that they were rolled out by Facebook in

22     December of 2012, right?

23          A.   Yes, I said that.

24          Q.   Are they still in existence today?

25          A.   Yes.   I -- I -- yes, they are.                 02:27:04

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1                MR. KO:     Believe it or not, I have an          02:27:13

2      exhibit for you.

3                We're going to put on the platform a copy

4      of what will be marked as Exhibit 331.

5                (Exhibit 331 was marked for                       02:27:21

6      identification by the court reporter and is

7      attached hereto.)

8                MR. KO:     Just give it a moment.      And

9      while it magically arrives in your platform, the --

10     I'll note for the record that tab J is                      02:27:40

11     Bates-stamped FB-CA-MDL-00005751.

12          Q.   (By Mr. Ko)     Let me know when you have a

13     copy of that.

14          A.   I have it.

15          Q.   Okay.     Does this document look familiar        02:28:19

16     at all to you, Ms. Hendrix?

17          A.   Yeah, I -- I think I've seen this before.

18     Not -- I -- yes, it looks familiar.

19          Q.   And by the way, just for your benefit,

20     you can see portions of this exhibit that is --             02:28:56

21     that is being screen-shared as well.        But it sounds

22     like you're -- or it looks like you have a good

23     handle on looking at the document directly.            So

24     whatever you choose.

25               So there's a reference in this                    02:29:12

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1      document -- and I'm looking at the second page --                 02:29:14

2      to privacy shortcuts.

3                      Do you see that?

4              A.      I am there.

5              Q.      And is it fair to say, given the                  02:29:30

6      description -- and -- and take a moment to read it,

7      if you need to -- but is it fair to say that the

8      privacy shortcuts were designed to help users get

9      quicker access to accessing their privacy settings

10     and controls?                                                     02:29:46

11             A.      What did you say?   I'm so sorry.         I was

12     reading.

13             Q.      Is it fair to say that the privacy

14     shortcuts were designed to help users get quicker

15     access to seeing their privacy settings and                       02:29:59

16     controls?

17             A.      I don't know if quick -- maybe quicker is

18     fair.        It's just making -- it's just having that

19     shortcut right next to the home button.            So it

20     makes it like prominent everywhere they go.                       02:30:19

21             Q.      Let's do it that way because, you know,

22     to me, a shortcut would mean quicker.           But let's

23     just use your example as a shortcut.

24                     So is it fair to say that the privacy

25     shortcuts were designed to help users access a                    02:30:37

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1      shortcut to see their privacy settings and                02:30:44

2      controls?

3           A.     I'm -- I'm just struggling to -- so I

4      don't know if -- so some of their controls, I

5      guess.                                                    02:31:14

6           Q.     Yeah, some of the controls, I -- I

7      believe.

8                  Well, if you look at Exhibit 331, there's

9      a reference to this post made by Sam Lessin, who I

10     assume you know.     But Sam Lessin describes in this     02:31:27

11     post under "Privacy Shortcuts" that there is a way

12     in which to access key settings from the privacy

13     shortcut, correct?

14          A.     Where does he say that?

15          Q.     I'm looking at the third sentence that        02:31:50

16     begins "Now."

17          A.     So, yes, it says "Now, for key settings,

18     you just go to the toolbar to help manage 'Who can

19     see my stuff?    Who can contact me,'" et cetera.

20          Q.     And so the privacy shortcuts were             02:32:10

21     designed to help users access key settings from the

22     privacy shortcut toolbar, correct?

23          A.     It's designed to improve a person's

24     access to their privacy settings and controls.

25          Q.     And do you have any understanding --          02:32:42

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1      and -- and when Mr. Lessin describes in this post            02:32:44

2      that there are certain key settings that a user can

3      access, do you have an understanding of what key

4      settings those are?

5           A.      It would be the settings around who can         02:33:10

6      see my stuff, who can contact me, and how do I stop

7      someone from bothering me.

8           Q.      And there's an example of that down

9      below.    I know it's a little fuzzy.

10                  But -- but do you see that example, which       02:33:24

11     I believe is a snapshot of the actual privacy

12     shortcut tool and the three things you just

13     described?

14          A.      Yes, I see this.

15          Q.      So according to this post, those were           02:33:35

16     the -- the key settings that a user could access

17     from the privacy shortcut tool, correct?

18                  MR. BLUME:    Objection.    Asked and

19     answered.

20                  THE DEPONENT:    Well, they could access        02:33:44

21     them from many other places.        This was just like an

22     improvement to the -- it -- it was a shortcut, if

23     you will.

24                  Uh-oh.    What's happening?

25                  MR. KO:    Nothing has happened for me.     I   02:34:01

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1      don't know if something has happened for you.                 02:34:03

2                THE DEPONENT:     We have a menu that just

3      popped up on our screen.

4                MR. BLUME:    You can keep going.

5                THE DEPONENT:     Yeah.   You can keep going.       02:34:11

6                Thank you.

7           Q.   (By Mr. Ko)     Now, you -- you say that it

8      was an improvement.

9                What do you mean by that?

10          A.   Well, it was a shortcut.       So it's -- like      02:34:26

11     users had the ability to access their controls via

12     multiple interfaces, but this puts the privacy

13     shortcut on essentially every page on their

14     Facebook experience.

15               So it just -- it's an improvement in the            02:34:43

16     sense that it's right there instead of having to

17     navigate to the settings in another method.            This

18     is just -- that's what I mean.      It's an

19     improvement.

20          Q.   Because before the user had to navigate             02:34:58

21     through a separate set of pages to access this set

22     of controls, correct?

23          A.   I -- you said "pages," but --

24          Q.   Let me ask it this way.

25               The post says, at the first sentence                02:35:19

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1      underneath "Privacy Shortcuts, Up until now, if you       02:35:23

2      wanted to change your privacy and timeline controls

3      on Facebook, you would need to stop what you're

4      doing and navigate through a separate set of

5      pages."                                                   02:35:36

6           A.   Okay.     Yes, it says that.

7           Q.   "Today we're announcing new shortcuts you

8      can easily get to.     Now, for key settings, you just

9      go to the toolbar to help manage 'Who can see my

10     stuff?' 'Who can contact me?' and 'How do I stop          02:35:50

11     someone from bothering me?'     You can also access

12     Help Center content from these shortcuts."

13               Did I read that correctly?

14          A.   Yes.

15          Q.   So the privacy shortcuts were -- and            02:36:09

16     correct me if I'm wrong -- is it fair to say that

17     the privacy shortcuts were designed to improve the

18     way in which users could access key privacy

19     settings; is that fair to say?

20          A.   I mean, I did use the word "improve," but       02:36:28

21     it also complements the existing resources that

22     they already had.

23          Q.   So yes or no, you can -- you can answer

24     no, if you'd like.     That's totally fine.

25               Yes or no, is it fair to say that the           02:36:46

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1      privacy shortcuts were designed to improve the way             02:36:48

2      in which users could access key privacy settings?

3                   MR. BLUME:    Objection.

4                   THE DEPONENT:      I mean, I feel like we

5      just -- like I -- I -- I do view it as an                      02:37:13

6      improvement to what was already -- it wasn't a

7      change in the -- in the controls that they had.

8      But it was just intended to be a -- a shortcut on

9      the Facebook site to help people further navigate

10     to the controls that they had.                                 02:37:38

11             Q.   (By Mr. Ko)     Would that be a "yes" in

12     response to my question?

13                  MR. BLUME:    Objection.       You're -- you're

14     characterizing it and she's explaining.

15                  MR. KO:   Right.     So I --                      02:37:47

16                  MR. BLUME:    This is why it's taking so

17     long.

18             Q.   (By Mr. Ko)     Yes or no, is it fair to say

19     that the privacy shortcuts were designed to improve

20     the way in which users could access key privacy                02:37:54

21     settings?

22                  MR. BLUME:    Objection.       She said she saw

23     it as an improvement.        Asked and answered.

24                  THE DEPONENT:      I view it as an

25     improvement to --                                              02:38:10

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1           Q.   (By Mr. Ko)     Thank you.                      02:38:12

2           A.   But not as an improvement to the -- to

3      the controls themselves.     But now you can actually

4      get there with that on every page that shows up on

5      the interface.                                            02:38:21

6           Q.   Are there any studies or research done in

7      connection with this change?

8                MR. BLUME:    Objection.

9                THE DEPONENT:     I don't remember.

10          Q.   (By Mr. Ko)     One of the settings that you    02:38:43

11     can access on this drop-down in the privacy

12     shortcuts is a -- at the very top of the privacy

13     shortcuts, a reference to "'Who can see my stuff?'"

14               Do you see that?

15          A.   Yes.                                            02:39:01

16          Q.   Do you know whether or not the drop-down

17     revealed -- well, first of all, there was a

18     drop-down based on that specific button, correct?

19               MR. BLUME:    Objection.     It's getting so

20     far beyond topic 3 that --                                02:39:16

21               MR. KO:    That's incredible that you say

22     that, Mr. Blume.    But your objection is noted.

23               MR. BLUME:    Thank you.     Incredible.

24               It has nothing to do with users' privacy

25     or app settings.    This is a technological change.       02:39:30

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1      So it goes beyond topic 3.        It's incredible.        02:39:33

2             Q.    (By Mr. Ko)    Just so the record is

3      clear -- and I want to make sure that -- so

4      Ms. Hendrix, you are here to testify as to the

5      process for developing privacy or app settings, or        02:39:47

6      other controls made available to users to prevent

7      or limit their data or information from being

8      accessed by third parties.

9                   MR. BLUME:    And -- and --

10                  MR. KO:   Hold on.    I'm asking --          02:39:57

11                  MR. BLUME:    -- and this technology is

12     none of that, David.

13                  Well, no, it goes -- it's a legal

14     question.     This technology doesn't go to any of

15     those points, David.       You have to understand it to   02:40:03

16     ask.     But it doesn't -- what you just described is

17     not what we're talking about.        So it's way beyond

18     what you just described as the topic.

19                  MR. KO:   You can make an objection.

20                  MR. BLUME:    It's beyond the scope.         02:40:21

21                  MR. KO:   Do you have an objection?

22                  MR. BLUME:    It's -- it's beyond the

23     scope.

24            Q.    (By Mr. Ko)    Ms. -- Ms. Hendrix, you are

25     here to testify to the process -- let me ask again.       02:40:27

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1                   Ms. Hendrix, consistent with topic 3, you      02:40:34

2      are here to testify as to the processes of

3      developing privacy or app settings, or other

4      controls, made available to users to prevent or

5      limit their data or information from being accessed         02:40:48

6      by third parties; is that correct?

7           A.      Yes.   But the privacy shortcuts is not a

8      control, and it's not an app or a privacy settings.

9                   MR. BLUME:    Exactly.

10          Q.      (By Mr. Ko)     Great.   Well, this is very    02:41:06

11     helpful because my next question was, you have

12     referred throughout this day about educational --

13     certain educational materials that you believe were

14     made available to users to help them control the

15     information that they make available.                       02:41:19

16                  Do you recall that testimony?

17                  MR. BLUME:    Objection.     That's not her

18     testimony.

19                  THE DEPONENT:     I -- I refer to the

20     educa- -- the educational resources are just                02:41:33

21     additional information and attempts to have people

22     understand the controls that we provide.

23          Q.      (By Mr. Ko)     And I believe one example --

24     this is how the privacy checkup tool came about --

25     the privacy checkup tool was one such example of --         02:41:51

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1      of the educational resources Facebook provided,              02:41:54

2      correct?

3           A.      Right.   It's an educational resource that

4      tells people, you know, what their current settings

5      are and educates them on the fact that if they want          02:42:04

6      to change their settings, their controls, that they

7      can do so.

8           Q.      Would you characterize these privacy

9      shortcuts to be under the same umbrella as -- or

10     under the same umbrella of educational resources             02:42:18

11     that you put the privacy checkup tool under?

12          A.      These are -- those are different things.

13     But it's all designed to just further explain the

14     controls and -- and the settings that we have

15     built.                                                       02:42:36

16                  Like there's multiple ways that if a user

17     wants to understand, they can go to the controls

18     themselves and see what they've set.         But these are

19     additional measures that we continue to evolve and

20     undertake in order to further educate and remind             02:42:50

21     people about decisions that they've made.          Some

22     people have set up their Facebook accounts 18-plus

23     years ago.

24                  So I wouldn't call them controls versus

25     educational resources reminding them of controls.            02:43:07

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1           Q.     And I was very much asking about               02:43:10

2      educational resources only.

3                  One example of an educational resource

4      you gave was the privacy checkup tool, and my

5      question is whether or not you believe the privacy         02:43:20

6      shortcut tool is also an educational resource?

7           A.     It is a -- it is a feature within the

8      Facebook experience that if you click on it, you

9      can -- and then go to that toolbar and get access

10     to those things that you already read, so I -- I           02:43:58

11     will spare us -- and just helps point you to the

12     decisions that you've made or, for example, the

13     last sentence, the help center, so that you can --

14     if you have more questions, you can go to the help

15     center as well.                                            02:44:17

16          Q.     So is the privacy shortcuts tool, yes or

17     no, an example of an educational resource that you

18     were describing earlier today?

19                 MR. BLUME:    Objection.     Asked and

20     answered.                                                  02:44:34

21                 THE DEPONENT:     It is a shortcut to

22     resources that are available.

23          Q.     (By Mr. Ko)     So do you view it as part of

24     the -- so you -- you were the one who testified as

25     to educational resources, correct?                         02:44:47

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1                   MR. BLUME:    Objection.     Asked and        02:44:53

2      answered.

3                   THE DEPONENT:     I -- I did say -- say

4      that.

5              Q.   (By Mr. Ko)     So I have a very simple       02:44:58

6      question.

7                   Do you believe -- when you're talking

8      about educational resources, is the privacy

9      shortcut tool part of the educational resources you

10     had in mind, or is it not a part of the educational        02:45:11

11     resources that you had testified to earlier?

12             A.   I view it as being a part of that in the

13     sense that it provides a shortcut to the actual

14     resources.

15                  So it would be under the umbrella of what     02:45:28

16     are the features and functionalities that we offer

17     to help further educate and/or remind people of the

18     actual settings and controls that we have in place.

19             Q.   Thank you.    You we can put -- we can move

20     on from this exhibit.                                      02:45:49

21                  Now, in connection with the materials

22     that you reviewed in preparation for this

23     deposition, did you review any pleadings in

24     connection with this case?

25             A.   What is a pleading?                           02:46:14

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1              Q.   Are you familiar with the allegations in          02:46:16

2      this case related to friend sharing or the sharing

3      of friend data?

4              A.   Yes.

5                   (Simultaneously speaking.)                        02:46:23

6              Q.   (By Mr. Ko)    What is your

7      understanding --

8              A.   So did you mean like the complaint?          Is

9      that a pleading?

10             Q.   We've moved on from that.       It's okay.        02:46:32

11                  What is your understanding of these

12     allegations that you are familiar with?

13                  MR. BLUME:    What -- how -- how is that a

14     question relevant to a corporate representative?

15             Q.   (By Mr. Ko)    In your capacity as a              02:46:50

16     corporate designee, on behalf of Facebook, are you

17     aware of the claims in this case that relate to

18     friend sharing?

19                  MR. BLUME:    She -- asked and answered.

20     You already asked that question.         You're wasting        02:46:58

21     time.

22                  MR. KO:   You're wasting time by injecting

23     speaking objections into the record.

24                  MR. BLUME:    David, you're asking the same

25     question twice in a row even.                                  02:47:11

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1                   MR. KO:   I did not.    There was -- let --   02:47:12

2      the record speaks for itself.

3                   MR. BLUME:    Yes, it does.

4                   MR. KO:   There were two different

5      subtleties in that question.                               02:47:15

6                   So anyways, please just object and that's

7      all.

8              Q.   (By Mr. Ko)    In your capacity as a

9      corporate designee, on behalf of Facebook, are you

10     aware of the claims in this case related to friend         02:47:24

11     sharing?

12             A.   I am here to talk about the topics and --

13     and part of that I have researched friend sharing

14     and -- and reminded myself on things that I didn't

15     know.                                                      02:47:41

16                  Did I zoom in on your actual complaints?

17     I didn't think that was my job.         But I did do my

18     research into the topics.

19             Q.   You're making a lot of assumptions about

20     the questions I'm asking.                                  02:47:55

21                  I'm simply asking you whether or not you

22     are aware, yes or no.       I'm not asking you whether

23     or not you researched.       I'm not asking whether or

24     not you did a granular deep dive into all the

25     allegations.     I'm not asking you if you know all        02:48:07

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1      the ins-and-outs about the allegations.                     02:48:08

2                 I'm simply asking you, are you aware of

3      the allegations in this case related to friend

4      sharing?

5                 MR. BLUME:    David, you asked it 14:46:18       02:48:18

6      (indiscernible) in this case --

7                 MR. KO:   I can't hear a thing you said

8      because your microphone is so muffled.

9                 MR. BLUME:    She -- she said -- in

10     14:46:18, she -- you said "Are you familiar with            02:48:27

11     the allegations in this case related to friend

12     sharing or the sharing of friend data?"          She said

13     "Yes."

14                So it is exactly the same question and

15     it's just wasting time.      It's been asked and            02:48:39

16     answered about 30 seconds ago.

17          Q.    (By Mr. Ko)     And I am asking you, in your

18     capacity as a corporate designee, on behalf of

19     Facebook -- to make sure I address any of the

20     objections that you need to make, Mr. Blume -- are          02:48:54

21     you aware of these claims in your capacity as a

22     corporate designee on behalf of Facebook?

23                MR. BLUME:    Same objection.

24                THE DEPONENT:     I'm here to prepare to

25     speak to the topics.     And if you want to get into        02:49:08

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1      them, I'm more than happy to speak to them.                 02:49:11

2                 I know that I've seen and had a chance to

3      review the complaint.      I don't remember, sitting

4      here right now, your precise -- all of the details.

5      I'm just generally aware that it involves --                02:49:22

6                 SPECIAL MASTER GARRIE:        The answer is

7      like -- can you just like -- the question he's

8      asking is just yes or no, or you don't know.

9                 THE DEPONENT:      I feel like I'm getting

10     bought into --                                              02:49:34

11                MR. BLUME:    She -- she --

12                THE DEPONENT:      He --

13                MR. BLUME:    She said yes --

14                SPECIAL MASTER GARRIE:        I don't -- I

15     understand.                                                 02:49:39

16                MR. KO:   She's making so many assumptions

17     about --

18                SPECIAL MASTER GARRIE:        Please listen to

19     me.

20                THE COURT REPORTER:        Hold on --            02:49:39

21                SPECIAL MASTER GARRIE:        If you don't --

22     please stop.

23                MR. KO:   Sorry.     Go ahead.

24                SPECIAL MASTER GARRIE:        Please read the

25     question back, Mr. Ko.                                      02:49:43

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1                   Either you answer yes, no, or "I cannot               02:49:44

2      answer that question in a yes-or-no fashion."                And

3      let's move forward.

4                   MR. KO:    Thank you,

5      Special Master Garrie.                                             02:49:53

6                   THE DEPONENT:       Thank you.

7                   SPECIAL MASTER GARRIE:         So please read

8      the question again, Counsel Ko, and then move

9      forward once we get --

10          Q.      (By Mr. Ko)     In your capacity -- in your           02:50:01

11     capacity as a corporate designee, on behalf of

12     Facebook, are you aware of the claims related to

13     friend sharing in this case?

14                  MR. BLUME:    Objection.

15                  THE DEPONENT:       I don't remember the              02:50:17

16     specific claims.       I'm aware -- sorry.        Sorry,

17     Garrie [sic].     I know I said -- I need to...

18                  MR. KO:    Great.     Thank you.     That was

19     very helpful.

20                  MR. BLUME:    Twice.                                  02:50:34

21          Q.      (By Mr. Ko)     Do you know -- with respect

22     to friend sharing, what is your understanding of

23     that term?

24          A.      I don't remember if it's defined in any

25     of this.     But I can speak, if you'd like me to                  02:51:12

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1      generally, about friend sharing, the topic.                 02:51:15

2           Q.      Yes.   That's what I am asking.

3      I'm not -- I'm not asking you about a specific

4      definition.

5                   I'm just simply asking whether or not you      02:51:26

6      understand what the concept of friend sharing

7      refers to?

8           A.      So the concept of friend sharing is you

9      create a Facebook account.        You choose to friend

10     people, so you -- you create friend connections.            02:51:41

11     And those friends, you choose whether to share

12     information with them and that's -- just for

13     purposes of time, I'll stop there.

14          Q.      For some portion of the relevant time

15     period, Facebook permitted third-party app                  02:52:09

16     developers to access friend information; is that

17     correct?

18                  MR. BLUME:    Object -- objection.

19                  THE DEPONENT:     You're trying to get me to

20     do yes or no so I need you to actually ask the              02:52:29

21     question again.

22                  MR. BLUME:    Ask an open-ended question.

23     He's --

24          Q.      (By Mr. Ko)     Is it accurate to say that

25     for any portion of the relevant time period,                02:52:40

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1      Facebook permitted third-party app developers to                02:52:43

2      access friend information?

3                      MR. BLUME:    Objection.

4                      THE DEPONENT:     I wouldn't state it that

5      way.                                                            02:52:58

6              Q.      (By Mr. Ko)     How would you state it?

7              A.      During the relevant time period, for

8      certain portions of it, Facebook enabled people to

9      enable their friends to share certain information

10     with third-party apps.                                          02:53:10

11             Q.      So for some portions of the relevant time

12     period, Facebook enabled people to enable their

13     friends to share certain information with

14     third-party apps, correct?

15                     MR. BLUME:    Objection.     Asked and          02:53:27

16     answered.        You just read her answer.

17                     Is that what you said?

18                     THE DEPONENT:     I think that's what I

19     said.        I -- I don't know.     If that's what I said,

20     correct.        Otherwise, let's just go with what I            02:53:40

21     said.

22             Q.      (By Mr. Ko)     All right.    And I'm reading

23     verbatim from your answer, to make you feel better.

24                     And are you aware at all of what periods

25     of time within that relevant time period                        02:53:53

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1      Facebook -- Facebook enabled people to enable their       02:53:56

2      friends to share certain information with

3      third-party apps?

4           A.   That would be up until I -- I'm not

5      actually -- I don't remember the precise date when        02:54:17

6      it -- of when we got everyone off of v1.       So

7      I'm not -- I'm not sure of the precise date.

8           Q.   And when you're referring to v1, I assume

9      you're -- you're meaning Graph version 1 -- 1.0,

10     right?                                                    02:54:38

11          A.   That's right.

12               Anyone that developed an app after

13     April of 2014, did not have the ability to ask

14     people to share their friends information to the

15     extent their friends enabled them to do so through        02:54:51

16     their privacy app and app settings.

17          Q.   And this Graph version 1 was also

18     referred to as Graph API version 1.

19               Does that sound familiar?

20          A.   Yes.                                            02:55:09

21          Q.   And it was replaced, as you say, in

22     April of 2014, with Graph version 2 or Graph API

23     version 2; is that correct?

24          A.   I wouldn't say replaced, no.

25          Q.   How would you say it?                           02:55:30

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1            A.     We up- -- we created another version of         02:55:32

2      the Graph -- Graph API.       So it's not accurate to

3      say replaced, because version 1 and 2 were live for

4      a while at the same time.

5            Q.     And -- and how long -- because obviously        02:55:46

6      it takes time to roll things -- things out,

7      obviously it takes time to notify app developers.

8                   How long was it the case that version 1.0

9      was still in existence?

10           A.     I just testified moments ago that I don't       02:56:01

11     remember the precise date when that version was no

12     longer reported.       But I do know that

13     April 14th, 2014, anything -- any app created

14     thereafter could not have been built on v1, only

15     v2.                                                          02:56:17

16           Q.     With respect to v2, your testimony is

17     that app developers on v2 could no longer access

18     certain information about a user's friend; is that

19     fair to say?

20                  MR. BLUME:    Objection.     That was not her   02:56:45

21     testimony.

22                  MR. KO:    You can object.

23                  MR. BLUME:    Mischaracterizing her

24     testimony.

25                  MR. KO:    Thank you.                           02:56:55

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1           Q.   (By Mr. Ko)   Can you answer the question,           02:57:05

2      Ms. Hendrix?

3           A.   I didn't understand what you asked me.

4           Q.   You said in connection with Graph v. --

5      Graph v2, an app developer did not have the ability            02:57:16

6      to ask people to share their friends' information.

7                Do I understand your testimony correctly?

8           A.   To be very precise, they could still ask

9      for the inapp friend list, but no friend

10     permissions that were available in the v1.           They --   02:57:37

11     there was no friend permissions in v2.      You could

12     only ask for my inapp friend list.

13          Q.   Other than the inapp friend list, in

14     connection with Graph v2, there were no other

15     friend permissions allowed, correct?                           02:57:59

16          A.   Those were -- they were -- yes.       They

17     were deprecated.

18          Q.   Now, this change with respect to v2, as

19     it applied to app developers and their ability to

20     access certain friend permissions, was that change             02:58:26

21     reflected in Facebook's platform policies with

22     third-party app developers?

23          A.   What do you mean?

24          Q.   This was a change, correct?

25               You would agree with me on that, a change            02:58:50

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1      in the way it reflected --                                        02:58:52

2              A.     It was --

3              Q.     Go ahead.

4              A.     It was a product change.

5              Q.     In connection with that product change,            02:58:59

6      was that reflected in any policy -- platform policy

7      or --

8                     MR. BLUME:     Objection.

9                     THE DEPONENT:     I don't understand what

10     you mean.                                                         02:59:12

11             Q.     (By Mr. Ko)     Was there a change in any

12     policy that reflected the fact that app developers

13     could no longer request friend permissions in

14     Graph v.2?

15             A.     That's not a yes-or-no question.             I'm   02:59:39

16     sorry.       Like if you ask it open-ended, like did you

17     make changes to the Facebook platform policies in

18     connection with the change from v1 to v2, I can

19     answer that.          And the answer yes.    But your

20     question doesn't make sense to me.                                02:59:52

21             Q.     Let's start that way.

22                    So you made changes to the Facebook

23     platform policy in connection with the change from

24     v1 to v.2, correct?

25             A.     Yes.                                               03:00:04

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1           Q.     And I imagine that those changes were, in     03:00:06

2      fact, made in the platform policy, the -- the --

3           A.     I -- I just --

4           Q.     -- policy governing -- let me just finish

5      my question.                                              03:00:15

6           A.     I just said that.

7                  MR. BLUME:    Asked and answered.

8                  MR. KO:    A large part of this is making

9      sure that is the record is clear.

10                 MR. BLUME:    It's just wasting time,         03:00:22

11     David.

12          Q.     (By Mr. Ko)     In connection with changes

13     made to the Facebook platform policy, there were --

14     well, I -- I -- let me ask this -- let me ask it

15     this way.                                                 03:00:41

16                 In connection with the change from v1 to

17     v2, there were certain changes made to the

18     platform -- Facebook platform policy, correct?

19          A.     Correct.

20          Q.     And was the change regarding third-party      03:00:53

21     access to certain friend permissions reflected in

22     any of those changes in the Facebook platform

23     policy?

24                 MR. BLUME:    Objection.     Form.

25                 THE DEPONENT:     No.   We don't detail the   03:01:12

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1      products and how they work in the -- in the                    03:01:14

2      agreement with developers.

3              Q.      (By Mr. Ko)     Would you agree with me that

4      this was a big change for Facebook and its app

5      developers?                                                    03:01:27

6                      MR. BLUME:    Objection.

7                      THE DEPONENT:     What do you mean by "it"?

8                      MR. KO:   "It" referring to third-party

9      app developers access to and lack thereof of

10     certain friend permissions.                                    03:01:42

11                     MR. BLUME:    Objection.

12                     THE DEPONENT:     I agree it was a

13     significant way that the Facebook platform worked.

14             Q.      (By Mr. Ko)     And this was a -- a big deal

15     for the app developers, too, right?                            03:02:00

16                     MR. BLUME:    Objection.     It's beyond the

17     scope.        Speculation.

18                     THE DEPONENT:     I am not going to -- yeah,

19     I -- I can't speculate for whether it was a big

20     deal.        I mean, at the time, we had like 43, 40-some      03:02:15

21     million apps.        So I -- like each of these apps on

22     the platform will have experienced different

23     hurdles, some of which that didn't need friend

24     permissions.

25                     Obviously, that's not significant to           03:02:27

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1      them.        But others would have to go in and configure       03:02:29

2      their apps and make changes and -- to adjust to

3      the -- the new way that the platform worked in v2.

4              Q.      (By Mr. Ko)    With respect to the

5      43 million or 40-some million apps that you -- you              03:02:43

6      referred to a moment ago, is that the number of

7      apps that have existed throughout the relevant time

8      period, or are you referring to some specific point

9      in time?

10             A.      I'm referring to a specific period of           03:03:03

11     time as a data point.          I'm familiar with -- of --

12     in 2013, roughly, we had about 40-some -- in the

13     lower 40 million apps on the platform.

14             Q.      And do you know how many apps are on the

15     platform today?                                                 03:03:23

16                     MR. BLUME:    Objection.    Beyond the scope.

17                     What topic is that?

18                     MR. KO:   Enforcement, Mr. Blume.

19                     MR. BLUME:    Okay.   What topic is that?

20             Q.      (By Mr. Ko)    So you found it necessary        03:03:42

21     and -- and relevant to understand how many apps

22     were on the Facebook platform as of 2013, and you

23     reported that that number is about 40 to

24     43 million, correct?

25                     MR. BLUME:    Objection.                        03:03:53

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1                THE DEPONENT:     Not for this case, no.         03:03:55

2           Q.   (By Mr. Ko)     Got it.

3                Do you have an understanding of how many

4      apps were on the Facebook platform at any time

5      other than 2013, sitting here today?                       03:04:05

6                MR. BLUME:    Objection.     Beyond the scope.

7                THE DEPONENT:     I know that I have

8      reviewed and been provided with information

9      throughout, for different reasons, some of which

10     have nothing to do with litigation, that I've had          03:04:17

11     numbers presented to me.

12               I know I can find how many are on the

13     platform today.    I don't know, sitting here today,

14     if I can tell you more than just that one example

15     that I remember.                                           03:04:30

16          Q.   (By Mr. Ko)     Was there any policy --

17     platform policy, or otherwise, that reflected the

18     fact that third-party app developers could no

19     longer access certain friend permissions in

20     connection with Graph v2?                                  03:04:50

21               MR. BLUME:    Objection.

22               THE DEPONENT:     For like the fourth

23     time -- and I apologize I'm -- because I'm getting

24     tired and grumpy -- but like I've already told you,

25     I did make a policy change -- personally developed         03:04:59

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1      along with all of the other teams that work on and         03:05:01

2      develop the policies -- we did make a policy change

3      in connection with the Facebook platform change

4      from v1 to v2.

5           Q.     (By Mr. Ko)     And in connection with that    03:05:16

6      policy change, was there anything -- was there any

7      language that related to or otherwise covered the

8      fact that third-party app developers were no longer

9      accessing friend data or friend permissions?

10                 MR. BLUME:    Objection.     Asked and         03:05:35

11     answered.

12                 THE DEPONENT:     Not in the specific

13     Facebook platform policy document, right.            But

14     elsewhere you could go -- like let's say you wanted

15     to go to the friend permissions page on the                03:05:44

16     developer documentation site.

17                 You might see a v1 to v2 header on the

18     top explaining the fact that we had announced the

19     change and linking to the announcement.

20                 But, again, I'm -- I'm -- I am trying not      03:05:56

21     to -- I should stop trying to help you with your

22     questions is what I'm giving myself feedback on.

23     But there you go.

24          Q.     (By Mr. Ko)     So after this change was

25     made with respect to third-party app developer             03:06:13

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1      access over friend permissions and friend data, you              03:06:18

2      don't dispute that third parties continued to

3      access this --

4                   MR. BLUME:     Objection.

5           Q.      (By Mr. Ko)     -- information, correct?            03:06:31

6                   MR. BLUME:     Objection to the

7      characterization.        It's inconsistent with her

8      testimony.

9                   THE DEPONENT:     I -- I dispute what you

10     just said.                                                       03:06:37

11          Q.      (By Mr. Ko)     Okay.   So you deny -- or

12     is -- is it your testimony that after

13     April of 2014, third-party app developers no longer

14     obtained information about a user's friend?

15                  MR. BLUME:     Objection.    What -- how is         03:06:57

16     this monitoring the version of contractual times?

17                  Ask her about the contracting terms.          But

18     other than, it's beyond the scope.          And I'll

19     instruct her not to answer.

20                  MR. KO:     Can you please stop with the            03:07:08

21     speaking objections.

22                  MR. BLUME:     I'm -- I'm giving her

23     instruction, David.        She has to understand my

24     instruction.     Okay?

25                  My instruction is beyond --                         03:07:15

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1                  (Simultaneously speaking.)                          03:07:15

2                  MR. KO:   Correct.    And then you can

3      object to form --

4                  MR. BLUME:    Beyond -- it's -- don't -- if

5      you interrupt me, she can't take down what I'm                  03:07:16

6      saying.

7                  My instruction is it's beyond the scope.

8      And I would instruct her not to answer.

9                  MR. KO:   Special Master Garrie, there is

10     a clear and unambiguous rule in the                             03:07:28

11     Northern District of California that counsel

12     defending a deposition are not permitted to lodge

13     speaking objections on the record.

14                 If Mr. Blume --

15                 MR. BLUME:    Unless it's an instruction --         03:07:39

16                 MR. KO:   -- has a problem --

17                 MR. BLUME:    Unless it's an instruction to

18     the witness.

19                 SPECIAL MASTER GARRIE:       Well, wait.     Just

20     because I'm not -- wait.       Time-out.                        03:07:45

21                 (Simultaneously speaking.)

22                 MR. KO:   Not -- not to answer.

23                 MS. WEAVER:    Time-out.     Just because I'm

24     not talking doesn't mean that it's an invitation to

25     speak.    This means I'm thinking of what I'm going             03:07:51

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1      to say.                                                      03:07:54

2                  I believe, Counsel Blume, you're

3      instructing her not answer because it's beyond the

4      scope.

5                  Is that not your instruction?                    03:08:07

6                  MR. BLUME:    That is what I was

7      articulating, yes.

8                  SPECIAL MASTER GARRIE:      Okay.    Can you

9      lean in so I can hear the objections better, just

10     for my own edification.                                      03:08:16

11                 MR. BLUME:    Yeah, my -- yeah, we

12     eliminated a microphone to try to stop the

13     feedback.    So yes.

14                 SPECIAL MASTER GARRIE:      Okay.    I'm

15     going to -- okay.      So that objection is fine.            03:08:25

16                 The objections going forward, please

17     finish the objection and just state the objection,

18     hearsay, whatever -- everybody here knows the

19     federal rules.     So state the objection.       And we'll

20     move it forward.                                             03:08:40

21                 If your instruction, though, is to

22     instruct the witness -- your witness not to answer

23     the question because it's beyond the scope, because

24     of attorney-client privilege, you're well within

25     your rights to make said instruction.                        03:08:49

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1                 I noted, Counsel Ko, for the record.            03:08:51

2      Please, Counsel Blume, on a going forward basis,

3      make sure that you continue with your objections

4      being concise and in compliance with federal rules

5      and we will continue forward.                              03:09:04

6                 Counsel Ko -- but I want to just say,

7      Counsel Blume, just instruct her not to answer.

8      The whole reason why isn't -- I instruct the

9      witness not to answer because it's beyond the scope

10     of the -- beyond -- beyond the scope.                      03:09:18

11                Okay?

12                MR. BLUME:    Understood.

13                MR. KO:    To make it clear --

14                MR. BLUME:    Is this a good time to take a

15     break.                                                     03:09:24

16                MR. KO:    To be clear -- yeah, why don't

17     we go off the record.

18                SPECIAL MASTER GARRIE:        One second,

19     Counsel Ko.   I'll welcome your comment in 30

20     seconds.                                                   03:09:31

21                MR. KO:    Okay.

22                SPECIAL MASTER GARRIE:        No, I finished,

23     Counsel Blume.     I just -- I have one more sentence

24     unrelated to -- I was going to suggest, if we're at

25     a breaking point, given that we take a break after         03:09:45

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1      I hear from Counsel Ko's point, and then                      03:09:50

2      Counsel Ko, I -- I welcome your point now.

3                   MR. KO:   So the -- the instruction not to

4      answer has to relate to a privilege.         It is

5      improper to instruct an answer -- or instruct a               03:10:03

6      witness not to answer on the grounds that it's

7      beyond the scope.

8                   Mr. Blume can lodge his objection for the

9      record and it's noted, but -- but the witness must

10     try and answer the question.         It's not privileged.     03:10:15

11     This is not privileged information.

12                  SPECIAL MASTER GARRIE:      Counsel Ko --

13                  MR. BLUME:   It is --

14                  SPECIAL MASTER GARRIE:      Wait.   Wait.

15     That's not a -- direct your arguments to me not to            03:10:21

16     each other, please.

17                  That doesn't -- noted, Counsel Ko.          It

18     doesn't mean that he's not entitled to state his

19     objection and state -- instructing his client not

20     to answer.     His client can say "I am not going to          03:10:36

21     answer a question at -- per the direction of

22     counsel."     And then you can then respond to

23     accordingly.     But we have to let the process play

24     out in the -- in that fashion and we will address

25     it accordingly.                                               03:10:50

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1                   Counsel Blume --                                  03:10:52

2                   MR. BLUME:    May I be heard?

3                   SPECIAL MASTER GARRIE:       -- what were you

4      going to say?

5                   MR. BLUME:    Yeah.   It's -- that --             03:10:54

6      that -- that doesn't apply in a 30(b)(6) setting

7      when the witness has been called per notice to

8      speak on behalf of the organization --

9                   SPECIAL MASTER GARRIE:       I haven't

10     ruled -- wait.     Time-out, Counsel Blume, I                  03:11:03

11     haven't --

12                  MR. BLUME:    Well, I'm responding to the

13     privilege.     That's not the standard --

14                  MS. WEAVER:    I understand.     I understand.

15     Counsel Blume, I intentionally didn't rule on that             03:11:10

16     and I didn't address it --

17                  MR. BLUME:    Oh, okay.

18                  SPECIAL MASTER GARRIE:       -- because it's

19     not here and now.

20                  MR. BLUME:    Fair enough.                        03:11:16

21                  SPECIAL MASTER GARRIE:       If your

22     instruction is as such, then -- and Counsel Ko

23     will -- how about this.       This what I suggest.

24                  I understand your point, Counsel Ko.        You

25     can reask the question when we return from a                   03:11:25

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1      five-minute break.     You can reask the question.             03:11:28

2                If Counsel Blume wants to instruct the

3      witness not to answer the question and Counsel --

4      and the witness wants to respond.        And then you

5      want to point out that that's not a valid objection            03:11:36

6      under the federal rules.     And then Counsel Blume

7      wanties to respond with regards to 30(b)(6) and

8      then I get to make a ruling, great.

9                But what we're going to do right now is

10     we're going to take a five-minute break and we'll              03:11:46

11     resume in five minutes.

12               And I note that and I appreciate,

13     Counsel Ko, your position.     And -- and

14     Counsel Blume as well.

15               Okay?                                                03:11:56

16               MR. BLUME:     Thank you, Your Honor.

17               SPECIAL MASTER GARRIE:        Thank you.     So we

18     will return in five minutes.      So I'm just looking

19     at the Zoom time clock.     Five minutes.     Whatever

20     time zone you're in.                                           03:12:05

21               THE VIDEOGRAPHER:     Okay.     And we're off

22     the record at 3:12 p.m.

23               (Recess taken.)

24               THE VIDEOGRAPHER:     Okay.     We're back on

25     the record.   It's 3:24 p.m.                                   03:24:30

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1                SPECIAL MASTER GARRIE:       I was giving some   03:24:34

2      thought to a -- our prior discourse, and I just

3      wanted to -- two important things.

4                One, let's make sure that every -- we're

5      not all in the same room and this is being done            03:24:42

6      virtually, so let's make sure that we're respectful

7      to let everybody get their words out, in part for

8      the -- so the court reporter doesn't have to go

9      back and listen to this whole thing, painstakingly,

10     to transcript it properly.                                 03:24:55

11               Next, same for the objections.         Let --

12     let them get said.     But keep them limited to the

13     federal -- just to the rules, right.

14               And -- and from there, I'll turn it -- I

15     believe to -- Counsel Blume, you mentioned that the        03:25:11

16     witness -- you're muted so I can exactly figure out

17     who's speaking on the Zoom.      So if you wanted to

18     say anything, Counsel Blume...

19               MR. BLUME:     Yes.   Yes.   The witness has a

20     clarification.                                             03:25:26

21               SPECIAL MASTER GARRIE:       Okay.

22               THE DEPONENT:     May -- may I go ahead?

23               SPECIAL MASTER GARRIE:       Yeah.

24               THE DEPONENT:     So I want to correct my

25     earlier testimony about the fact that there was a          03:25:34

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1      platform policy change in connection with the move           03:25:40

2      from the -- the launch of v2.

3                  Actually, we also, in April on the same

4      date, announced the update to login v4.         And so the

5      policy that I was referring to was tied to the v4            03:25:57

6      login product.    But it happened at the same time as

7      the announcement of the v2 version of the Graph

8      API.

9                  So I just wanted to make sure I corrected

10     myself because I was mistaken on how I communicated          03:26:12

11     that and realized it during the break.

12                 SPECIAL MASTER GARRIE:     Noted for the

13     record.

14                 With that said, Counsel Ko, I'm going

15     to -- thank you for the clarification.                       03:26:23

16                 And Counsel Ko, I'll turn it back over to

17     you.

18                 MR. KO:   Thank you,

19     Special Master Garrie.     And thank you, Ms. Hendrix,

20     for that clarification.                                      03:26:35

21            Q.   (By Mr. Ko)   So let me unpack that a

22     little bit to make sure I understand.

23                 With that clarification, are you

24     suggesting or indicating that there was not a

25     platform policy change in connection with the                03:26:47

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1      launch of v2?                                              03:26:50

2           A.     Not tied to the v1 to v2, that is

3      correct.

4           Q.     So when Facebook began the rollout of

5      Graph v. -- Graph v2, in April of 2014, there was          03:27:10

6      not a corresponding platform policy change that

7      reflected the launch of Graph v2; is that correct?

8           A.     There's a few inaccuracies in your

9      question in how we described the -- the v1 to v2.

10          Q.     Let me ask it this way.                        03:27:45

11                 In the transition from Graph v1 to v2,

12     that began in April of 2014, was there any

13     reference to any -- to any aspect of the platform

14     policy that reflected the move by Facebook to

15     Graph v2?                                                  03:28:11

16          A.     No.

17          Q.     Now, in connection with the deprecation

18     of -- by Facebook of allowing third parties to

19     access friends information, was that deprecation

20     reflected in any SRR in 2014, or otherwise?                03:28:42

21                 MR. BLUME:    Objection.     Form.

22                 THE DEPONENT:     Yes, as to otherwise,

23     because we're talking about 2007, all the way to

24     today.

25          Q.     (By Mr. Ko)     So the deprecation of friend   03:29:08

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1      sharing by Facebook was reflected in SRRs                   03:29:13

2      post-2014, I presume; is that your testimony?

3                   MR. BLUME:    Objection.

4                   THE DEPONENT:     No, that's not my

5      testimony.                                                  03:29:26

6              Q.   (By Mr. Ko)     Okay.   Was -- was there any

7      SRR, at any point in time over the relevant time

8      period, that reflected the deprecation of friend

9      data?

10             A.   Friend permissions.      And, yes, at some     03:29:48

11     point in time when it was appropriate, we did make

12     changes to the relevant terms and policies.

13             Q.   And when was that?

14             A.   I don't recall the precise date today,

15     but it would have been when v1 was no longer                03:30:11

16     relevant, because it would be improper to delete

17     those disclosures to people who were using apps

18     that were still using version 1 of the platform.

19             Q.   And while you don't recall the precise

20     date, do you have a general understanding of what           03:30:29

21     time period we're referring to?

22                  Is it -- I'm assume it's sometime after

23     2014, right?

24                  So is there a general time frame in which

25     you understand that these changes were made in the          03:30:39

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1      SRR?                                                       03:30:43

2             A.   It -- it would -- it would have been

3      after the May 2015 date.     But the precise timing

4      thereafter, I don't remember, sitting here today.

5             Q.   And what's the significance of May 2015?       03:31:08

6             A.   Well, developers -- when we announced

7      that we were deprecating friend permissions and

8      that's why -- sorry.     I'll stop.

9                  When we were deprecating friend

10     permissions, we gave them -- we announced that they        03:31:26

11     had a year -- subject to our breaking change policy

12     decision -- to give them a year to transition and

13     configure their apps and build them on v2.

14            Q.   And where -- when you say that "we

15     announced it," What do you mean by that?                   03:31:45

16            A.   We told -- we announced at F8, our

17     developer event -- to developers that we were

18     changing the way that the platform worked;

19     specifically, moving from v1 to v2.        And that they

20     had one year up to -- to -- to make those changes          03:32:07

21     to move from v1 over to v2.

22            Q.   That announcement at the F8 conference

23     that you're referring to, that -- that was made in

24     2014, correct?

25            A.   Yes.   And there were many other like          03:32:23

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1      public -- like newsrooms posts and things.             So I      03:32:25

2      shouldn't have limited my response to just the F8

3      developer event.     But that was one of -- of -- of

4      the announcements that I recalled.

5           Q.   And so when you're saying May 2015, are                03:32:42

6      you saying that as of May 2015, Facebook gave one

7      year to developers to conform to the new model, or

8      are you saying that by May 2015, all users were

9      expected to comply with the new depre- -- with the

10     deprecation of -- of friend data?                                03:33:01

11               MR. BLUME:     Objection.

12               THE DEPONENT:     The terms you've used

13     don't make sense.

14          Q.   (By Mr. Ko)     Okay.   You -- you testified

15     that that Facebook announced it would give                       03:33:11

16     developers one year to comply.

17               Do you recall that?

18          A.   It's not compliance.        So no, I don't

19     think I said the word "comply."        If I did, maybe --

20     maybe I'm getting tired.     But I -- I don't think I            03:33:28

21     would have said that.

22          Q.   Okay.     I believe -- that's fair.          I think

23     you said "changes."

24               You said you -- Facebook announced that

25     they would give developers one year to make the                  03:33:38

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1      changes to move from v1 over to v2.                             03:33:41

2                   When did they make that announcement?

3              A.   The announcement was made in

4      April of 2014.     So to the extent the developers

5      wanted to continue to use the platform and offer                03:33:57

6      their apps to people, they would need to make the

7      changes by a year from the date of the

8      announcement.

9              Q.   So when you're referring to May of 2015,

10     it was Facebook's intention that all developers                 03:34:11

11     would have made the changes to move from v1 over to

12     v2, correct?

13                  MR. BLUME:    Objection.     Form.

14                  THE DEPONENT:     The goal was to get the

15     developer community to move over.          The 90-day           03:34:33

16     breaking change policy is normally what we do.            But

17     we agreed and came up with an arbitrary date of one

18     year.

19             Q.   (By Mr. Ko)     And when you say that "We

20     agreed of an arbitrary date of one year," what                  03:34:49

21     departments or individuals were responsible for

22     that decision?

23                  MR. BLUME:    Objection.     Beyond the scope.

24                  THE DEPONENT:     The same group of teams

25     that I've referred to earlier today that work on                03:35:06

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1      platform products and policies.                               03:35:09

2              Q.   (By Mr. Ko)     Now, after May of 2015,

3      certain third parties continued to access friend

4      data, correct?

5                   MR. BLUME:    Objection.     Beyond the scope,   03:35:24

6      which -- unless you tell me what topic, I'm going

7      to instruct her not to answer.

8                   THE DEPONENT:     Yeah.    It's fundamentally

9      related, Rob, to topic 3, including topic 3c.

10                  MR. BLUME:    And --                             03:35:42

11             Q.   (By Mr. Ko)     Let me ask it this way,

12     Ms. Hendrix --

13                  (Simultaneously speaking.)

14                  MR. BLUME:    -- I'm happy to go off --

15             Q.   (By Mr. Ko)     -- are you --                    03:35:45

16                  MR. BLUME:    I'm happy to go off the

17     record -- so we don't waste time -- and talk about

18     it --

19                  MR. KO:   No --

20                  MR. BLUME:    -- but --                          03:35:45

21                  MR. KO:   No, I -- I want to make this --

22                  MR. BLUME:    -- the question -- yeah.

23     Well, let me finish.

24                  MR. KO:   I want to put this on --

25                  MR. BLUME:    And I'm happy to --                03:35:53

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1                  MR. KO:   Go ahead.                             03:35:53

2                  MR. BLUME:   Then we can go on the record.

3      And - hold on.    You -- you can -- hold -- I'm

4      asking --

5                  SPECIAL MASTER GARRIE:      Stop.    We're      03:35:54

6      still on the record.     You're still talking over

7      each other and the court reporter can't type

8      anything.

9                  So Counsel Blume, make your statement.

10     Counsel Ko, make your statement.                            03:36:02

11                 MR. BLUME:   So the question --

12                 SPECIAL MASTER GARRIE:      You objected --

13     what was your -- you objected, Counsel Blume,

14     saying beyond the scope.        Unless he can --

15                 MR. BLUME:   Yes.                               03:36:12

16                 SPECIAL MASTER GARRIE:      -- counsel can

17     provide you the indication of why -- what is within

18     the scope of what this witness has been submitted

19     to.

20                 Counsel Ko, did you respond?        I believe   03:36:22

21     you did.

22                 MR. BLUME:   He did.

23                 SPECIAL MASTER GARRIE:      Okay.    And

24     then --

25                 MR. KO:   Yeah, I identified topic 3 and        03:36:27

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1      3c, in particular.                                         03:36:29

2                SPECIAL MASTER GARRIE:      Okay.    And then,

3      Counsel Blume, did you respond to that?

4                MR. BLUME:    I did.   And I -- and -- and

5      my -- well, I didn't -- but my response was that as        03:36:37

6      it -- topic 3 is "An overview of processes of

7      developing Privacy or App Settings or other

8      controls made available to Users to prevent or

9      limit their Data from being accessed by Third

10     Parties," including dates and the data.                    03:36:55

11               So it's controls -- it's processes for

12     developing controls available to users.

13               And c is including "Facebook's monitoring

14     and enforcement of contractual terms with Third

15     Parties regarding their use of Users' Data or              03:37:07

16     Information, including enforcement of Policies

17     regulating access to such Data or Information

18     beyond the Use Case."

19               And the question was, certain third

20     parties continue to access friend data, which is           03:37:19

21     beyond the processes of developing apps privacy or

22     app settings made available to users.

23               SPECIAL MASTER GARRIE:      And Counsel Ko,

24     what was your response?

25               MR. KO:    My response is that Facebook's        03:37:44

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1      monitoring and enforcement of its contractual terms       03:37:47

2      with third parties regarding their use -- use of

3      users' data and -- or information, obviously

4      includes a user's -- information related to a

5      user's friends.    And also includes information          03:38:06

6      related to friend sharing, of which Ms. Hendrix has

7      clearly testified was deprecated in 2014, with a

8      one-year grace period.

9                  And so in order for us to understand how

10     Facebook actually monitored and enforced this             03:38:22

11     purported deprecation, I am certainly allowed to

12     ask this witness about that monitoring and

13     enforcement.

14                 And if -- I would note, if Ms. Hendrix is

15     not the appropriate witness and Mr. Blume has not         03:38:36

16     prepared Ms. Hendrix to testify as to these topics,

17     we would request that Facebook provide a witness

18     that can.

19                 MR. BLUME:   There -- and there is a

20     witness on third-party data and -- and -- in              03:38:51

21     topic 2.

22                 But Ms. Hendrix is here to speak about

23     processes or monitoring enforcement.        Not -- not

24     any specificity with regard to whether third

25     parties accessed friend data.      That's another topic   03:39:07

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1      noticed.                                                   03:39:11

2                   She's here to talk about the processes of

3      developing controls focused on monitoring

4      enforcement, not the actual acts of the third

5      parties in a specific date and time.                       03:39:21

6                   MR. KO:   Well, Mr. Blume, I'm so glad

7      that you referred to topic 2 --

8                   SPECIAL MASTER GARRIE:     Counsel Ko --

9      what was your response, Counsel Ko?

10                  MR. KO:   So I was saying, I'm -- I'm --      03:39:32

11     I'm glad that Mr. Blume referenced topic 2b and 2d,

12     which Ms. Hendrix testified to earlier as being

13     related to topic 3.

14                  (Simultaneously speaking.)

15                  MR. BLUME:   That's not what I said.          03:39:41

16                  MR. KO:   But 2d, in particular -- 2d, in

17     particular, asks and requests Facebook to provide a

18     witness to identify the category and the type of

19     data or information which Facebook sold, made

20     accessible or made available, including how -- as          03:39:57

21     2d indicates, "How Facebook ensured Third Parties'

22     use of such Data or Information was limited to the

23     Use Case."

24                  SPECIAL MASTER GARRIE:     Okay.    Is that

25     Ms. Hendrix or not?                                        03:40:09

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1                MR. BLUME:    It --                                 03:40:11

2                MR. KO:   Right.      That's what I want to

3      know.

4                MR. BLUME:    Yeah, it is -- it --

5                SPECIAL MASTER GARRIE:        No.    No.      One   03:40:15

6      second, Counsel.

7                MR. KO:   Well, who he is --

8                SPECIAL MASTER GARRIE:        I'm asking the

9      questions now.

10               So Counsel Blume --                                 03:40:17

11               MR. BLUME:    Yes.

12               SPECIAL MASTER GARRIE:        -- just for my

13     clarification, has she been submitted as a

14     witness -- 30(b)(6) witness on 2e?

15               MR. BLUME:    "How Facebook ensured Third           03:40:27

16     Parties" Use of such Data."

17               It's -- it's -- it is the policies and

18     procedures that allow Facebook to monitor third

19     parties' use of data.

20               The question was:       "Question:     Now, after   03:40:37

21     May of 2015, certain third parties continued to

22     access friend data."

23               That doesn't go to Facebook's policies or

24     procedures or processes that were developed in

25     order to monitor third parties over -- between 2007           03:40:51

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1      and -- and present.     It goes to what were the               03:40:54

2      actions of third parties in May of 2015.

3                That is beyond the scope of 2d.           It is

4      beyond the scope of topic 3.      If they wanted to ask

5      or create a topic that said identify all                       03:41:04

6      third-party applications that continue to access

7      friend data or use friend data at any time, they

8      could have.   It's not how they worded their topics.

9                Ms. -- Ms. -- Ms. Hendrix is a -- is --

10     is on -- focuses on policies, procedures.           She's      03:41:19

11     been doing it her whole career.       And she's happy to

12     talk about what those policies and procedures are

13     for monitoring the -- the -- the acts and -- and

14     accesses of -- of third party.      And how Facebook

15     ensured that -- that the use of data was limited to            03:41:36

16     the use case; that is, the agreements of the

17     developers.   Policies and procedures not --

18               SPECIAL MASTER GARRIE:        I got it.      I got

19     it.

20               MR. BLUME:     -- actual --                          03:41:47

21               SPECIAL MASTER GARRIE:        I got it.      I

22     got -- I understand Facebook's position.

23               Counsel Ko?

24               MR. KO:     I have two responses,

25     Special Master Garrie.                                         03:41:58

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1                  One, it is bit divorced from reality if       03:41:58

2      one can only testify as to the policies and

3      procedures and not the facts for which those

4      policies and procedures can be applied.

5                  So my question with respect to whether or     03:42:10

6      not third parties continued to access information

7      about a friend or a user's friend, obviously

8      relates to the policies -- the ultimate policies

9      and procedures that Facebook applied.

10                 Such that Ms. Hendrix, as Mr. Blume is        03:42:26

11     indicating, has spent her life enforcing certain

12     policies and procedures that relate to the

13     monitoring and enforcement of user information.

14                 Secondly, and a more practical point, is

15     as follows:    Ms. Hendrix is the one that described,     03:42:42

16     in response to one of my questions, her knowledge

17     of friend deprecation.     And so I am perfectly

18     entitled to explore her knowledge of friend

19     deprecation, which is exactly what I'm doing.

20                 And she seems to be fully aware of            03:43:00

21     several aspects of friend deprecation, which

22     obviously is a key claim in this case.        And so of

23     course --

24                 SPECIAL MASTER GARRIE:     I got it.

25                 MR. KO:   -- I'm able to ask her questions    03:43:11

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1      about that.                                                  03:43:12

2                  SPECIAL MASTER GARRIE:     Okay.    Okay.   So

3      just so I understand, Counsel Blume, did you

4      instruct her not to answer?

5                  Just -- I can scroll back up to see              03:43:21

6      what --

7                  MR. BLUME:   Yes.   I'm not -- I'm not --

8      they will have Ms. Hendrix in her personal capacity

9      and he's free to ask her what she knows.

10                 But as a corporate representative,               03:43:34

11     she's un- -- she is prepared to talk about topics

12     relating to the processes and procedures, not with

13     regard to the actions of specific third parties.

14                 SPECIAL MASTER GARRIE:     And I -- I

15     understand --                                                03:43:46

16                 (Simultaneously speaking.)

17                 MR. BLUME:   Other than that -- let's put

18     it this way --

19                 SPECIAL MASTER GARRIE:     And I

20     understand --                                                03:43:46

21                 MR. BLUME:   So, yes, I'm instructing --

22     I'm instructing her, at this point, not to answer

23     that question.    She's not prepared to speak to it

24     today.    And it's not because it's not covered by

25     her topics.                                                  03:43:57

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1                   Maybe if I can add one thing,                      03:43:58

2      Special Master Garrie, that may be helpful.

3                   The -- the -- under compulsion, Facebook

4      provided a ton of material, as you know, on ADI,

5      which was a review of this very question which now              03:44:41

6      they have.     That is not a topic.     And that --

7      because that -- and that was focused on in review

8      of whether or not -- the very question that --

9      that -- that Mr. Ko asked, which is did third

10     parties continue to access friend data after the                03:44:58

11     deprecation and accountability.        So it's just not

12     one of the -- the topics --

13                  MS. WEAVER:   Can I ask one question?

14                  SPECIAL MASTER GARRIE:     Well, no, no, no.

15     One -- one defendant and one take.        I apologize,          03:45:11

16     Counsel.     We were -- unless -- was that the

17     witness -- I can't see people who are muted.

18                  But one take, one defendant.      I,

19     apologize, Counsel Weaver, that's the standard

20     here.                                                           03:45:19

21                  So I don't believe she's prepared --

22     the -- the witness is prepared to answer your

23     question, Counsel Ko, at this point, in capacity as

24     a 30(b)(6) witness on behalf of the company.            She's

25     here, so --                                                     03:45:43

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1                  MR. KO:   And I --                               03:45:44

2                  SPECIAL MASTER GARRIE:     And I -- I

3      understand your position and -- and I note it.         And

4      I understand it.

5                  We haven't heard if she will answer or           03:45:50

6      not.   So before we advance further down the path,

7      Ms. Hendrix, I -- I have to -- if I look like I'm

8      looking away, it's because I have two monitors and

9      I'm just trying to read the prior testimony on that

10     to see if you actually -- what your answer was.              03:46:11

11                 Directing her not to answer -- okay.

12     Before --

13                 MR. KO:   The question was at 3:35,

14     Special Master Garrie.

15                 "After May of 2015 certain third parties         03:46:36

16     continued to access friend data, correct?"

17                 SPECIAL MASTER GARRIE:     Okay.    Well, in

18     the off chance, Ms. Hendrix, are you going to -- do

19     you want -- I -- are -- you've been instructed by

20     your lawyer, are you going to answer the question?           03:47:11

21                 THE DEPONENT:   I thought I had said

22     earlier, I don't remember the precise -- I don't

23     remember the precise date.       I think that it's

24     actually referred to in the FTC order.

25                 But to point you to a public, you know,          03:47:26

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1      document, but -- I don't remember.       I just           03:47:28

2      know that -- and I also would like to -- for the

3      record, I never said grace period.       And we don't

4      refer to our breaking changes as grace periods.

5                So I'd like to correct that.          And I     03:47:38

6      haven't been doing this also my entire life, I'd

7      like to correct.    I have only been doing this since

8      I joined in October of 2008.

9                But all of the relevant disclosures and

10     privacy settings that needed to be in place were --       03:47:52

11     I can testify with 100 percent, that they stayed in

12     place and changes were made once that we were

13     certain no longer friend information or friend

14     permissions were being made available to

15     third-party apps.                                         03:48:08

16               SPECIAL MASTER GARRIE:       That's

17     sufficient.

18               Counsel Ko, next question.

19               THE DEPONENT:     Thank you.

20          Q.   (By Mr. Ko)     Okay.   With respect to         03:48:17

21     topic 2d, Ms. Hendrix, are you prepared to testify

22     on that topic as it relates to friend sharing and

23     the deprecation of -- of friend sharing in

24     connection with Graph v2?

25          A.   I believe I am.                                 03:48:40

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1           Q.   Great.                                          03:48:48

2                So since you are prepared to testify on

3      that topic, are you aware of any third parties that

4      continue to access friend data following the

5      deprecation of -- of friend sharing in connection         03:48:56

6      with Graph v1?

7                MR. BLUME:   Objection.     Same objection.

8                D is how Facebook ensured third parties'

9      use of data was limited to the use case, which is

10     policies, procedures and the enforcement of               03:49:12

11     policies and procedures.

12               MR. KO:   Is there anything, Mr. Blume in,

13     topic 2 that refers to policies and procedures?

14               I don't know why you keep raising that.

15               MR. BLUME:   It -- it relates to the            03:49:23

16     category -- identification of type of data or

17     information to which Facebook sold, which it didn't

18     as she testified, made accessible, made available

19     or allowed.   So it's not what actually occurred,

20     what the third parties specifically did.                  03:49:35

21               But the type of data, including d, how

22     Facebook ensured that the use of that data was

23     limited to the use case, which is enforcement

24     mechanisms behind the policies.      It's not which

25     third parties -- what third parties were doing            03:49:52

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1      when.                                                             03:49:54

2                    MR. KO:   Now I am going to request,

3      Special Master Garrie, that we go off the record

4      because we've been talking about this point for

5      15 minutes and I have a suggestion as to how to                   03:50:01

6      move forward.

7                    SPECIAL MASTER GARRIE:        Okay.    We'll go

8      off the record for -- but when we go back on the

9      record, I'm going to rule.

10                   MR. KO:   Yup.     Thank you.      So I -- can we   03:50:15

11     do it this way, Special Master Garrie?              If -- if --

12     if this --

13                   (Brief interruption.)

14                   MR. KO:   I'm sorry.      Sorry.

15                   THE COURT REPORTER:       John, go off.             03:50:23

16                   THE VIDEOGRAPHER:      You guys want to go

17     off the record, just to be sure?

18                   SPECIAL MASTER GARRIE:        Off the record.

19     Thank you.

20                   THE DEPONENT:      Thank you.      We're off the    03:50:32

21     record.      It's 3:50 p.m.

22                   (Recess taken.)

23                   THE VIDEOGRAPHER:      We're back on the

24     record.      It's 4:09 p.m.

25             Q.    (By Mr. Ko)      Ms. Hendrix, thank you for         04:09:58

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1      allowing the lawyers and Special Master Garrie to               04:09:59

2      do their legal thing.     But I just want to make sure

3      that the record is clear with respect to your

4      answer to the following question.

5                With respect to topic 2d or 3c, are you               04:10:11

6      prepared to testify on either of these topics as

7      they relate to friend sharing and the deprecation

8      of friend sharing in connection with Graph v2?

9                MR. BLUME:     Yes, she is.     And we said

10     that at the outset.                                             04:10:38

11               MR. KO:     I was asking Ms. Hendrix, not

12     you --

13               (Simultaneously speaking.)

14               MR. BLUME:     But it's a -- it's a legal --

15     it's a legal question on prepare.       You already             04:10:41

16     asked that in the third question of the day.

17               Yes, she's prepared to do that, except as

18     it relates to targeted advertising.

19          Q.   (By Mr. Ko)     Ms. Hendrix, can you answer

20     that question?                                                  04:10:55

21               MR. BLUME:     It's -- it's -- okay.         You've

22     asked and answered.

23               You can answer.     Go ahead.

24               THE DEPONENT:     It's still yes.

25          Q.   (By Mr. Ko)     Thank you.                            04:11:06

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1                      And as it relates to third-party app         04:11:07

2      developers that actually continued to access friend

3      information post-deprecation of this friend

4      sharing, are you prepared to testify on that topic?

5                      MR. BLUME:    I'm -- objection.              04:11:24

6                      THE DEPONENT:     When v1 was deprecated,

7      there was no concept of requesting friend

8      permissions from people.

9              Q.      (By Mr. Ko)     What do you mean when you

10     say there was no concept of requesting friend                04:11:46

11     permissions from people?

12             A.      I mean the product -- it just wouldn't

13     work, right.        If you didn't move your app and build

14     off of v2, from a technical standpoint at

15     deprecation of v1, you could no longer call the              04:12:01

16     Graph API and receive any friend permissions.

17     There was no longer the ability to request friend

18     permissions.

19                     You've said friend sharing and friend

20     data.        I just want to make sure we're clear.           04:12:16

21     Because today you can ask people to share their

22     inapp friend list which returns, of course, the

23     friend -- public friend profile picture and name,

24     if that person hasn't opted out of platform.

25                     So that's why this terminology is really     04:12:30

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1      important here.        So friend permissions, once v1 was       04:12:34

2      fully deprecated, are no longer a thing from a

3      product perspective.

4                   MR. BLUME:        There you go.

5           Q.      (By Mr. Ko)        Are you familiar with the       04:12:46

6      term whitelisting?

7           A.      Yes.

8           Q.      What's your understanding of that term?

9           A.      It's -- it's --

10                  MR. BLUME:        Hold --                          04:12:54

11                  THE DEPONENT:        Yeah.

12                  MR. BLUME:        -- hold on.     Now, this is

13     clearly topic 7.

14                  MR. KO:     That is not.        You have a

15     superficial understanding of these topics,                      04:13:00

16     Mr. Blume.

17                  MR. BLUME:        I --

18                  (Simultaneously speaking.)

19          Q.      (By Mr. Ko)        Can you please answer that

20     question --                                                     04:13:06

21                  MR. BLUME:        Wow.   Was that -- was that --

22     was that -- was that a personal insult?               Wow.

23                  MR. KO:     No.

24                  Whitelisting -- topic 7 is discuss

25     whitelisting.       What -- the -- here -- the -- the           04:13:15

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1      problem is you --                                                  04:13:17

2                   SPECIAL MASTER GARRIE:       One sec,

3      Counsel Blume, is your --

4                   MR. KO:     Note your objection.

5                   SPECIAL MASTER GARRIE:       Counsel Ko,              04:13:23

6      Counsel Blume, I will say it one more time.                Say

7      the objection.

8                   I believe the objection, Mr. --

9      Counsel Blume, you're saying is objection.                Beyond

10     the scope of what this witness is here to testify                  04:13:31

11     to.

12                  Is that your objection or is --

13                  MR. BLUME:     Yeah.    Well, the -- he got

14     his first answer answered.          But we thought about it

15     off the record.        So that's done.                             04:13:41

16                  But now he's moving it to what is

17     topic 7, whitelist particular apps.           So I'm -- I'm

18     hard-pressed to see where that falls in her topics.

19                  SPECIAL MASTER GARRIE:       Is your

20     objection --                                                       04:13:55

21                  MR. BLUME:     So the objection is beyond

22     the scope.

23                  SPECIAL MASTER GARRIE:       Got it.

24                  Counsel Ko.

25                  MR. KO:     Well, I mean, my position is              04:14:00

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1      very consistent with how it has been before.              04:14:01

2                Mr. Blume is perfectly entitled to note

3      his objection for the record.      But I would ask that

4      Ms. Hendrix answer the question regardless.

5                And more importantly, when I asked her          04:14:11

6      first if she was familiar with the term

7      "whitelisting," she said yes.      And so I'm entitled

8      to understand what her understanding of that is.

9                MR. BLUME:     She's -- she -- as a

10     corporate representative --                               04:14:22

11               SPECIAL MASTER GARRIE:       She's here as a

12     30(b)(6) witness --

13               MR. BLUME:     Yeah.

14               SPECIAL MASTER GARRIE:       -- on specific

15     issues, Counsel Ko.     So if they relate to the          04:14:27

16     topics at issues, she is here to testify, please

17     show me the topic and issue she -- and how -- where

18     whitelist is stated.     And then I can then issue a

19     ruling on whether or not I will order the witness

20     to answer the question or not.                            04:14:45

21               MR. KO:     Special Master Garrie,

22     Facebook's monitoring and enforcement of third

23     parties is obviously related to both the continual

24     access of friends data and relatedly the

25     whitelisting by Facebook of certain third parties         04:14:59

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1      to continue to access that data.                             04:15:03

2                So the monitoring and enforcement of user

3      information is fundamentally related to the

4      whitelisting of these permissions.

5                In addition, topic 2d indicates how                04:15:14

6      Facebook ensured third parties' use of data or

7      information was, in fact, limited to the use case.

8                If there were whitelisting or exceptions,

9      or any other special permissions that continued on

10     and that Facebook continued to allow third parties           04:15:30

11     to access, I am certainly entitled to explore and

12     elicit testimony regarding how Facebook monitored

13     and enforced those third parties.

14               SPECIAL MASTER GARRIE:         Can you read back

15     the question, Court Reporter.                                04:16:07

16               MR. KO:    I believe it was the question at

17     4:12:54, Rebecca.

18               THE COURT REPORTER:        So I'll read the

19     question before that.

20              (Record read as follows:                            04:16:44

21               "QUESTION: Are you familiar with the

22               term whitelisting?

23               "ANSWER:     Yes.

24               "QUESTION:     What's your understanding

25               of that term?")                                    04:16:44

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1                  MR. BLUME:    If I may be heard?                     04:16:47

2                  MR. KO:   I mean, the idea,

3      Special Master Garrie, is that I can't lay any

4      foundation --

5                  SPECIAL MASTER GARRIE:        No, wait.      Stop.   04:16:54

6      I haven't ruled to -- just because I haven't --

7      as -- as it relates to the topics you're here to

8      testify about as whitelisting relates to those

9      topics, Ms. Hendrix, can you please answer the

10     question.                                                        04:17:09

11                 I note your objection, for the record,

12     Counsel Blume, but it's overruled.

13                 As it relates to the topics you're here

14     to speak to, please provide your answer to the

15     question.                                                        04:17:20

16                 THE DEPONENT:     I just don't understand

17     how it relates to monitoring and enforcement.              If

18     friend permissions have been deprecated, then

19     there's no friend permissions to review, for

20     example, at app review, because developers from a                04:17:35

21     product technical perspective can't answer it.              So

22     it doesn't make any sense.          It's not -- it's not

23     related to why I'm here.

24          Q.     (By Mr. Ko)     Okay.     Are you prepared, in

25     connection with any of the topics that you have                  04:17:50

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1      been designated to speak on -- about, are you                  04:17:53

2      prepared to testify on behalf of Facebook as to any

3      aspect of whitelisting at all?

4                  MR. BLUME:    You asked -- just asked that

5      question and she just answered it.                             04:18:08

6                  MR. KO:   Stop, Mr. Blume.

7                  SPECIAL MASTER GARRIE:       No, you got to

8      object, Counsel Blume, or let the question --

9                  MR. BLUME:    Asked and answered.        It

10     was --                                                         04:18:17

11                 SPECIAL MASTER GARRIE:       Answer the

12     question.

13                 MR. BLUME:    Special Master Garrie, it was

14     the question you just asked her.

15                 SPECIAL MASTER GARRIE:       Well --               04:18:26

16                 MR. BLUME:    Answer is the same.        You can

17     answer again.

18                 THE DEPONENT:     I -- I agree that -- that

19     my response to Special Master Garrie's question is

20     accurate.    And I don't see how whitelisting is               04:18:36

21     relevant to the topics on why I'm -- I'm here

22     today.    Like I don't -- I don't see it.          And I'm

23     not trying to be evasive.       I just don't understand.

24     And I feel like Mr. Ko just might not understand.

25          Q.     (By Mr. Ko)     Yeah.   And -- and I'm -- I'm      04:18:53

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1      trying to be very precise with my words.          And I       04:18:54

2      understand that you don't believe it's relevant.

3      And so it's just a simple yes-or-no question, for

4      the record.

5                  Are you prepared --                               04:19:02

6                  SPECIAL MASTER GARRIE:      Go ahead.

7                  MR. KO:   Do you have an objection, Rob?

8                  MR. BLUME:    Yes.   Asked and answered now

9      a third time.    This is just wasting time.

10            Q.   (By Mr. Ko)    Not- -- notwithstanding            04:19:16

11     Mr. Blume's cracks on the record, are you prepared,

12     Ms. Hendrix, to testify on any aspect of

13     whitelisting as it relates to the topics you have

14     been designated to testify on behalf of Facebook

15     for.                                                          04:19:35

16                 MR. BLUME:    Objection.

17                 Special Master Garrie, does she have to

18     now answer that a third time?

19                 SPECIAL MASTER GARRIE:      Did you -- was

20     the answer in the affirmative, Ms. Hendrix?                   04:19:51

21                 I believe it was the first time.            The

22     second time, I'm not sure.       The third time, I

23     believe it was yes, but she's -- you're not sure

24     how -- I'm -- can you just -- was it affirmative,

25     yes?                                                          04:20:02

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1                   I'm just -- I'm confused at this point.        04:20:02

2      Just yes or no.

3                   THE DEPONENT:   I said yes to the specific

4      question of whether I'm familiar with the topic of

5      whitelisting, which is not a defined term.                  04:20:12

6                   SPECIAL MASTER GARRIE:      No, no, no.

7      That's not -- that's not the question.

8                   All I'm interested in is, are you -- the

9      question was, are you prepared to testify on any

10     aspect of whitelisting as it relates to what you            04:20:24

11     have been designated to testify on behalf of

12     Facebook for.

13                  THE DEPONENT:   I --

14                  MR. BLUME:   Shall I read her answer?

15                  She doesn't -- it doesn't -- one thing         04:20:39

16     doesn't relate to the other.         That's what she's

17     saying.     She says "I don't understand how it

18     relates."

19                  And I think the problem,

20     Special Master Garrie, is that I don't think Mr. Ko         04:20:45

21     understands the concept and so -- which she said

22     now three times, "I don't understand how it relates

23     to monitoring and everyone.         If friend permissions

24     have been deprecated, then there's no friend

25     permissions to review."                                     04:20:57

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1                  SPECIAL MASTER GARRIE:     Well --                  04:20:58

2                  MR. BLUME:   And so it doesn't relate to

3      her topics.     It just doesn't relate.     It's the

4      concept and that's -- my fear is that Mr. Ko

5      doesn't understand the concept of whitelisting and              04:21:05

6      so he's saying it --

7                  SPECIAL MASTER GARRIE:     Okay.     Then wait

8      a second.     We can fix this.

9                  Can we -- define -- could you please

10     define, Ms. Hendrix, what whitelisting is for you?              04:21:15

11                 MR. KO:   The question that I had --

12                 MR. BLUME:   Personally.    But not --

13     not a -- not as a corporate representative.            How --

14     what she means -- what she --

15                 (Simultaneously speaking.)                          04:21:21

16                 SPECIAL MASTER GARRIE:     What she

17     understands in her capacity -- well, he -- she was

18     asked whether she is prepared to speak to

19     whitelisting in response to any of the topics she

20     is here to speak to today.                                      04:21:30

21                 What was stated is, she doesn't

22     understand how whitelisting applies to what she is

23     here to speak about today.

24                 I'm asking her to explain to me her

25     definition of whitelisting.      So that way I can              04:21:41

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1      then -- we can move forward because I don't -- so           04:21:45

2      can you please answer the question?

3                  MR. BLUME:   Well, with all due respect,

4      Your Honor, it's how we prepared her.         It -- it's

5      whether or not we -- she is sufficiently adequately         04:21:54

6      prepared.

7                  We have obligations under the rules to

8      adequately prepare the witness pursuant to the

9      topics as stated.    Her personal understanding

10     mean -- may mean nothing.        There is a                 04:22:02

11     topic specifically --

12                 SPECIAL MASTER GARRIE:      I -- I

13     understand.    My point is --

14                 MR. BLUME:   So --

15                 SPECIAL MASTER GARRIE:      -- that as -- as    04:22:07

16     it's defined, how -- however -- as the corporate

17     representative, how -- do you not believe

18     whitelisting relates in any way to what needs --

19                 MR. BLUME:   It's defined --

20                 SPECIAL MASTER GARRIE:      -- that you have    04:22:18

21     been designated to speak about it on.

22                 MR. BLUME:   It's defined in the document.

23                 SPECIAL MASTER GARRIE:      Well, I'd like an

24     answer to my question, Ms. Hendrix.

25                 THE DEPONENT:   Well, do -- do they --          04:22:32

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1      does the plaintiffs' counsel -- do they define             04:22:32

2      it -- I mean, do you want me to read their

3      definition, if the answer is yes to that first

4      question and then try to respond?

5                  SPECIAL MASTER GARRIE:     That would be --    04:22:40

6      I thought the definition of whitelisting was

7      actually in the deposition notice.       So that's what

8      I've been operating under the understanding of what

9      it is, but that -- so maybe -- is it not there,

10     Counsel Blume?                                             04:22:52

11                 MR. BLUME:   No, it --

12                 (Simultaneously speaking.)

13                 MR. KO:   So also I --

14                 MR. BLUME:   -- whitelisted partners --

15     it's defined as -- in -- in -- I'm not sure the --         04:22:54

16     the -- on page 10 -- in -- and a part- -- a

17     whitelisted partner is "any entity or person

18     provided access to a capability, such as permission

19     to read or write information via a specific API

20     call, that was not provided to all entities or             04:23:11

21     persons."

22                 SPECIAL MASTER GARRIE:     Right.    So with

23     that understanding and that definition, Mr. Ko's

24     question is -- because I've == I've been operating

25     with that definition.     But apparently maybe this        04:23:29

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1      isn't -- but the question was, from Mr. Ko,               04:23:34

2      Ms. Hendrix -- are you prepared, Ms. Hendrix, to

3      testify in any aspect of whitelisting as it relates

4      to what you have been designated to testify on

5      behalf of Facebook, using the definition that was         04:23:54

6      just read into the record?

7                  THE DEPONENT:   Thank -- thank you for

8      pointing this out to me.     And -- and I don't have

9      any -- I -- I don't -- sorry that I didn't recall

10     that that was in there.                                   04:24:08

11                 I don't, sitting here today, think that

12     there is any relevancy with respect to anything

13     that I've been told to -- to be prepared for that

14     relates to any of those topics.

15                 I can swear under oath that I just --         04:24:24

16     sitting here today, I -- I struggle to come up with

17     anything.

18                 MR. BLUME:   It's not that she's not

19     prepared.    It just doesn't apply.

20                 SPECIAL MASTER GARRIE:     Well --            04:24:34

21                 MR. BLUME:   That's the difference.

22                 SPECIAL MASTER GARRIE:     Well, you're --

23     you're -- Counsel Blume, he's entitled to ask the

24     question and she's entitled to answer the question,

25     whether whitelisting is appropriate, in her view,         04:24:47

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1      as the witness that she designated by Facebook and                04:24:49

2      is prepared to speak to that.

3                  And if her -- her position is, "No, it's

4      not, and I don't understand why," which is what she

5      has said.     So we can move forward.                             04:24:58

6                  MR. KO:   This is all -- this is all --

7      Special Master Garrie, this is all sort of

8      insanity, if you will, as well, because --

9                  SPECIAL MASTER GARRIE:        No, no

10     adjectives.     Let me be very clear so there's no --             04:25:11

11     ambiguity here.

12                 There cannot be another -- you need to

13     take more time to think about what you're going

14     to -- the words you're going to use.           We are going

15     to curb our words.     You will not use insanity --               04:25:19

16     you will use constructive terms for any question --

17     any words you want that will not further ex- --

18     agitate or result in further future frustration.

19                 MR. KO:   Noted.     I -- I apologize.        And I

20     apologize that I am so frustrated today.                          04:25:36

21                 I have -- the point I wanted to make,

22     Special Master Garrie, was I had asked the

23     question, "Are you familiar with the term

24     whitelisting?"     The answer was "Yes."

25                 The next question was, "What is your                  04:25:49

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1      understanding of that term?"      And that is what led    04:25:51

2      to this -- another 20 minutes on the record of back

3      and forth to a very basic question.

4                SPECIAL MASTER GARRIE:       Well --

5                MR. KO:   And, of course, all of my             04:26:03

6      questions relate to Ms. Hendrix' capacity as a

7      30(b)(6) witness.

8                And, again, Mr. Blume can object for the

9      record, but he certainly cannot instruct the

10     witness not to answer as he had.       That is            04:26:14

11     completely improper.

12               MR. BLUME:     I can, actually.

13               SPECIAL MASTER GARRIE:       Yeah.

14               MR. BLUME:     I actually can.

15               MR. KO:   Only with respect to privilege,       04:26:19

16     not with respect to --

17               MR. BLUME:     That is not the rules.

18               SPECIAL MASTER GARRIE:       No, for

19     30(b)(6) --

20               MR. BLUME:     No --                            04:26:22

21               SPECIAL MASTER GARRIE:       With -- with

22     regards to 30(b)(6) --

23               MR. BLUME:     It's not the rules.

24               SPECIAL MASTER GARRIE:       -- you can --

25     because the witness is here to testify on certain         04:26:26

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1      subjects, under the case law in the Ninth Circuit,              04:26:28

2      they -- they have to preserve their rights because

3      the witness's testimony can be called at trial

4      accordingly.     So he is obligated to make sure that

5      the witness testifies only on the subjects that                 04:26:41

6      they are before or been designated as.

7                   I -- I -- I -- I believe the case --

8      don't quote me, but I want -- there's a Ninth

9      Circuit case that brings them in line with all the

10     other circuits.        I can't remember it, as I sit here       04:27:00

11     now.

12                  So he is entitled to and -- and needs to

13     rate -- and note the objection for the record.            And

14     instruct the witness because the statements are

15     binding.                                                        04:27:14

16                  MR. KO:     Special Master Garrie, do you

17     mind -- I -- I -- I believe when -- on the

18     record -- I mean, Ms. Hendrix, unfortunately,

19     you -- you've been relieved at some periods of time

20     for the last hour and a half.                                   04:27:32

21                  But I'm dealing with a bit of a personal

22     emergency.     So I -- I was hoping that -- to take

23     five minutes to address this, and then we can get

24     back on the record, if you wouldn't mind.

25                  SPECIAL MASTER GARRIE:       Yeah.    Somebody     04:27:45

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1      please open the breakout rooms so everybody can                     04:27:46

2      take time to -- five minutes.            And we'll reconvene

3      in five minutes.

4                   THE VIDEOGRAPHER:         Okay.     We're off the

5      record -- we're off the record.            It's 4:28 p.m.           04:27:56

6                   (Recess taken.)

7                   THE VIDEOGRAPHER:         We're back on the

8      record.   It's 4:40 p.m.

9                   SPECIAL MASTER GARRIE:            Ready to go back

10     on the record?                                                      04:40:58

11                  MR. BLUME:    Yes.

12                  SPECIAL MASTER GARRIE:            No.   Counsel Ko,

13     was that a yes from you?

14                  MR. KO:   Yes.

15                  SPECIAL MASTER GARRIE:            All right.   We're   04:41:03

16     going to go back on the record.            I want to make --

17     I want to make another statement before anybody

18     says anything.

19                  Let's go back on the record.

20                  THE VIDEOGRAPHER:         Thank you.      We're back   04:41:13

21     on record.     It's 4:41 p.m.

22                  MS. WEAVER:      Okay.     This is the

23     Special Master and I'm going to remind counsel

24     again, do not talk over each other or I will make

25     all of these be in person.            So we can keep                04:41:22

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1      trying and endeavor to get this right.                         04:41:25

2                   But it is critical, for the purposes of

3      the court reporter, to have a full and complete

4      record.     We -- you are still consistently talking

5      over each other, the witness and vice versa.              So   04:41:37

6      please endeavor among yourselves to allow each

7      other to finish -- finish speaking and show the

8      courtesy and respect and so on and so forth.

9                   With that said, I will turn it back to

10     Counsel Ko to continue forward.                                04:41:55

11                  MR. KO:   Thank you,

12     Special Master Garrie.

13                  And Ms. Hendrix, thank you for your

14     patience.     I actually hope to only have a few more

15     series of questions for you, if all goes according             04:42:07

16     to plan.     So the end is in sight, at least with

17     respect to today.

18          Q.      (By Mr. Ko)     Now, with respect to the

19     topics that you have been designated to testify on

20     behalf of Facebook for, are you prepared to testify            04:42:28

21     as to any aspect of these topics as it -- as they

22     relate to whitelisting?

23                  MR. BLUME:    Objection.     Asked and

24     answered.

25                  THE DEPONENT:     I've already made it            04:42:49

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1      clear, I believe, on the record, with all due             04:42:51

2      respect, that I am prepared to speak to the topics.

3      And based on the definition here of whitelisted

4      partners, and, again, saying for the record, that

5      we do not have a fixed definition, as a corporate         04:43:06

6      company, precisely of what that means.      It can mean

7      different things to different people.      I am not

8      able, sitting here today -- after reviewing the

9      topics multiple times -- able to provide any

10     information that I think is at all relevant on my         04:43:22

11     understanding and this definition of whitelisting

12     to those topics.

13          Q.   (By Mr. Ko)   Thank you for making that

14     clear.

15               Now, with respect to the policies and           04:43:35

16     procedures that I believe your counsel has

17     indicated you can testify as to, are there any

18     policies and procedures that relate to third

19     parties' use of friend -- use of user information

20     beyond the use case?                                      04:43:55

21          A.   I need to refresh my -- use case refers

22     to the purpose for any entity to obtain user data.

23               And then your question again.       I -- I'm

24     sorry.

25          Q.   With respect to the policies and                04:44:14

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1      procedures that I believe you are prepared to             04:44:15

2      testify on, are there any policies and procedures

3      that relate to third parties' use of user

4      information beyond the use case?

5           A.   What -- wait.    Isn't that the opposite of     04:44:36

6      what you asked me?

7                Like are you asking what policies and

8      monitoring procedures are in place that relate to

9      user data --

10          Q.   I don't know what your --                       04:44:47

11          A.   -- for use case?

12          Q.   I don't what understanding you have of --

13     of my previous question.     But I'm simply asking you

14     this question.

15               With respect to the policies and                04:44:53

16     procedures that I believe you are prepared to

17     testify on, are there any policies and procedures

18     that relate to third parties' use of user

19     information beyond the use case?

20               MR. BLUME:   Objection.                         04:45:07

21               THE DEPONENT:    There are policies with

22     respect to the use of friend data and they exist

23     today because we still allow you to share your

24     inapp friends list.

25               And in terms of monitoring for user             04:45:31

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1      information then, yes, there's an app review team.          04:45:36

2      And there's other teams within DevOps that review

3      apps for compliance with those policies governing

4      use of user information.

5           Q.   (By Mr. Ko)   And those policies that             04:45:57

6      govern the use of user information, what are they?

7                And to be helpful --

8           A.   Well --

9           Q.   -- I'm referring to the specific ones

10     that you just mentioned in your prior response.             04:46:12

11          A.   Well, I didn't mention specific policies.

12     I just said, you know, there's still a friend --

13     there are still -- a friend -- friend-related

14     policies because the login product still allows you

15     to access inapp friend lists.                               04:46:32

16               So there are friend-specific

17     provisions -- I believe there's two -- that relate

18     to use of friend information.     And then there's

19     other policies for use of user information in the

20     platform terms and the developer policies, and the          04:46:49

21     term -- terms of service perhaps elsewhere.           But

22     for the relevant topics, that's the locations that

23     come to mind.

24          Q.   Any other policies that you can think of

25     that contain this information?                              04:47:02

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1                   MR. BLUME:     Objection.    Form.             04:47:05

2                   THE DEPONENT:     I don't have anything

3      further to add in response to what I said.

4              Q.   (By Mr. Ko)     Given your understanding of

5      the term "whitelisted apps," as indicated in this           04:47:24

6      notice, are you aware of whether or not the -- the

7      SRR ever indicated at any time that Facebook was

8      going to allow whitelisted partners to continue

9      making specific API calls with respect to friend

10     data?                                                       04:47:57

11                  MR. BLUME:     Objection.    Form.

12                  THE DEPONENT:     I -- I -- it's hard for me

13     to answer your question because I don't like the

14     way you worded it.        So it's hard for me to do like

15     yes or no.                                                  04:48:15

16             Q.   (By Mr. Ko)     What -- what part of the

17     question did you not like?

18             A.   I' -- I'm going to need you to restate

19     it.

20             Q.   You -- you have a certain understanding        04:48:29

21     of whitelisted partners; you had indicated that to

22     me earlier, right?

23             A.   Yes.   And -- and I believe that I'm

24     supposed to, for my purposes today, adopt this

25     description in No. 26; is that correct?                     04:48:42

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1           Q.     Given -- given the definition of               04:48:49

2      whitelisted partners, or whitelist, or whitelisted,

3      or whitelisting, as indicated in paragraph 26 of

4      the notice, do you know whether or not the SRRs at

5      any time ever indicated that Facebook was going to         04:49:02

6      whitelist certain apps and permit them to continue

7      accessing friend information after 2014?

8                  MR. BLUME:    Objection.     Form.

9                  THE DEPONENT:     That would not be anything

10     in the SRR.                                                04:49:20

11          Q.     (By Mr. Ko)     Same question with respect

12     to the data use policy or all iterations thereto.

13                 Did -- did the data use policy at any

14     time ever indicate that Facebook was going to

15     whitelist certain apps and permit them to continue         04:49:38

16     accessing friend data after 2014?

17                 MR. BLUME:    Objection.     Form.

18                 THE DEPONENT:     The data use policy at all

19     times during the relevant period made clear to

20     people what data was available through the                 04:49:53

21     platform.

22                 So like I said, to the extent the v1 apps

23     were still live, regardless of when they were

24     deprecated, those disclosures were there in

25     multiple locations, including the controls and             04:50:06

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1      settings that people had to control their                 04:50:11

2      information.   We never removed those disclosures

3      until it was no longer relevant to people.

4           Q.   (By Mr. Ko)     And I know you testified

5      that you don't recall exactly when that occurred.         04:50:24

6                But with respect to the rolling out of v2

7      or Graph v2, when that occurred, was there any

8      aspect of the data use policy that ever indicated

9      that Facebook was going to whitelist certain apps

10     and permit them to continue accessing friend data?        04:50:44

11               MR. BLUME:    Objection.

12               THE DEPONENT:     I don't believe that we

13     would have communicated that in the data use

14     policy.

15               Sorry.   I -- I hear myself speculating.        04:51:02

16     I'm having afternoon fatigue.

17               That just wouldn't be the location.

18     The -- the -- that's not the purpose of the data

19     use policy.

20          Q.   (By Mr. Ko)     So the -- to be the clear,      04:51:13

21     the data use policies did not disclose or reflect

22     any indication that Facebook was going to whitelist

23     certain apps and permit them to continue accessing

24     friend data, correct?

25               MR. BLUME:    Asked and answered.               04:51:26

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1                THE DEPONENT:     The -- the data use policy       04:51:40

2      told people, including the product itself, right.

3      So when a user goes to log in, they would see that

4      the app was requesting friend information, right.

5      And the user's friends were still able to see that           04:51:53

6      they could, unless they opted out of platform,

7      enable their friends who choose to use platform and

8      log in to apps.

9                So all of facts with respect to how it

10     worked were available to people at all times                 04:52:06

11     through both the product, and the user experience

12     by using the product, and through the privacy and

13     app settings and pri- -- data use policy and help

14     center, and all of the educational tools that we've

15     discussed throughout the day, always made it clear           04:52:23

16     that that was how the platform worked.

17               Now, a subset of the platform that's

18     developing on v2 worked in a different way.            But

19     it's more important to tell people what's happening

20     with the v1.                                                 04:52:41

21          Q.   (By Mr. Ko)     So in connection with the

22     data use policy, was there ever a disclosure at any

23     time over the relevant time period that Facebook

24     was going to whitelist certain apps and permit them

25     to continue accessing friend data?                           04:52:58

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1                  MR. BLUME:    Objection.     Form.                  04:53:01

2                  THE DEPONENT:     I don't -- I don't know.

3      I'm -- I -- I am sure we have versions I could find

4      out.    I don't believe that we would have done so,

5      because it's not the right document.          That's...         04:53:15

6             Q.   (By Mr. Ko)     Regardless of whether or not

7      it was the right document and you -- you have -- I

8      mean, we provided your counsel, and it sounds like

9      to you, ultimately, a copy of -- or at least a

10     reference to the fact that we were going to discuss             04:53:34

11     the data use policy, among the other policies that

12     are applicable to users in this case.

13                 Did you, in fact, review the data use

14     policies in connection with preparing for this

15     deposition?                                                     04:53:51

16            A.   I testified earlier today that I reviewed

17     multiple versions of the data use policies.              I am

18     sitting here today to tell you I don't believe that

19     the contents of any of those versions would have

20     included any topics pertaining to the word                      04:54:05

21     "whitelist" because that, again, is not what

22     privacy policies or data use policies for Meta

23     purposes.

24                 That's not the -- the -- that's not the

25     place I would put it, but I don't recall having                 04:54:18

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1      seen it in the -- all of the versions that I did          04:54:21

2      review.

3           Q.   And in connection with the data use

4      policies that you reviewed and were in place over

5      the relevant time period, was there ever any              04:54:32

6      indication or disclosure that in those data use

7      policies, that Facebook was going to permit certain

8      third parties to access certain friend information

9      about a user in connection with Graph v2?

10               MR. BLUME:     Objection.    Form.              04:55:00

11               THE DEPONENT:     To try to be helpful, like

12     there -- there was no disclosure that certain apps

13     would no longer have access to friend information.

14               MR. KO:     That is helpful.     Thank you.

15               THE DEPONENT:     And, again, I should          04:55:21

16     correct myself.

17               All apps, even to today, can get certain

18     friend data.   So I should have said friend

19     permissions.   But I -- I -- I just wanted to

20     clarify that point.                                       04:55:34

21          Q.   (By Mr. Ko)     And when you say that

22     certain apps can continue to -- continue to get

23     friend data to this day, you are just talking about

24     the carve-out that you had described before, the

25     inapp friend lists, correct?                              04:55:48

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1           A.   Yes, through the APIs.      Because keeping      04:55:49

2      in mind there's other methods by which friends

3      can -- and -- and we disclose that to people when

4      we tell them to be mindful of what they share with

5      their friends.    So if we're just talking about the       04:56:02

6      platform, then that's correct.

7           Q.   Any other friend information, other than

8      the inapp friend list, on the platform that a

9      third-party app developer can access today?

10          A.   Ever since v2, there has not been any            04:56:18

11     friend permissions built, whether via a public API

12     or a private, or partner, rather, API.       Like I -- I

13     can confirm that -- that that friend permissions

14     have gone away.

15          Q.   Does the term -- or are you familiar with        04:57:04

16     the term "integration partner"?

17          A.   I am.

18          Q.   What is your understanding of that?

19          A.   Those are -- those are service providers

20     who build and -- they -- let's use -- I think I can        04:57:22

21     better respond with an example.

22               Like Facebook is available on BlackBerry

23     and BlackBerry is an integration partner and --

24     well, was available.    And so integration partners

25     are people -- are partners who enabled you to              04:57:38

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1      replicate Facebook on your -- on their devices.             So   04:57:42

2      people could have -- so -- so I guess put

3      differently, if you don't have -- if you don't have

4      an integration partner, then you can't use Facebook

5      on BlackBerry.    It just doesn't technically work.              04:57:56

6                 So they -- they replicate Facebook for

7      people so they can use Facebook on other things,

8

9      example.

10          Q.    Are you aware of whether or not any                   04:58:15

11     integration partners continue to access friend data

12     after 2014?

13                MR. BLUME:    Objection.     Beyond the scope.

14                THE DEPONENT:     Hum?

15                MR. BLUME:    Hold on.                                04:58:34

16                THE DEPONENT:     Okay.    Sorry.

17                MR. BLUME:    Same question with regard --

18     I mean, integration partners, third party.

19                Instruct you not to answer.         Beyond the

20     scope.                                                           04:58:40

21          Q.    (By Mr. Ko)     Are you going to follow that

22     instruction?

23          A.    Yes.

24          Q.    Are you aware of whether or not the SRR,

25     or any iteration thereto, ever indicated at any                  04:58:57

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1      time that Facebook was going to permit certain               04:59:03

2      integration partners to continue accessing friend

3      data after 2014?

4                MR. BLUME:    Objection.

5                THE DEPONENT:     I'm aware that even from         04:59:18

6      the relevant period up until today, there is a

7      service provider section within the context of the

8      data use policy which is directly incorporated by

9      reference in the terms of service and/or SRR.          And

10     that explains very clearly that there are service            04:59:31

11     providers who help us provide services, such as our

12     products -- I -- I'm -- not quoting me on the

13     language -- and then those integration partners,

14     for example, would be agreeing to terms.

15               And those terms had provisions on user             04:59:45

16     data which required those partners to be very clear

17     about what it was they were collecting and how they

18     were going to use the information.       And that could

19     only be used in accordance with our agreements with

20     those integration partners, which was to provide             04:59:58

21     Facebook, for example, on the BlackBerry service --

22     app phone, rather.

23          Q.   (By Mr. Ko)     So your understanding of --

24     sorry.

25               So your understanding of integration               05:00:12

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1      partners and your description of integration              05:00:14

2      partners is that they fit under the umbrella of the

3      service provider language and the data use policy?

4           A.      Say that again.        You cut out.

5           Q.      The description of integration partners      05:00:30

6      that you have provided, is it your understanding

7      that they would fit under the umbrella of the

8      service provider language in the data use policy?

9           A.      It does.

10          Q.      So does -- do the -- I think I know the      05:01:00

11     answer to this question, but I'm -- I'm going to

12     ask it nonetheless so that the record is clear.

13                  Did the data use policies ever indicate

14     at any time that Facebook was going to permit an

15     integration partner to continue accessing friend          05:01:15

16     data after 2014?

17          A.      There's too much weaving of concepts

18     going on in your question.

19                  The -- the data use policy --

20          Q.      It's a complicated case.                     05:01:31

21          A.      Sorry.     Go ahead.

22          Q.      Go ahead.     Sorry.     I didn't mean to

23     interrupt.

24          A.      The data use policy told people about the

25     Facebook platform and how they could control their        05:01:40

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1      information with applications on -- that use the          05:01:43

2      Facebook platform.

3                  But there's also another section and I

4      believe it's been mostly referred to as service

5      providers and/or just added upon that which is            05:01:55

6      another paragraph, which is different and distinct.

7      And that is telling people that we have certain

8      partners.    I -- you know, I'd have to pull up the

9      precise language -- that help us provide our

10     products.                                                 05:02:11

11                 And so the example in that service

12     provider section that I'm referring to is that

13     these integration partners allow users to access --

14

15                                                               05:02:24

16     Like when they're on using that -- playing that

17     game and they beat their friends, they could,

18     because of their service provider relationship with

19     us, enable people to share on Facebook some story.

20     Maybe that they beat their friend in a game or that       05:02:42

21     they, you know, beat Super Mario Brothers, for

22     example.

23          Q.     So is it your testimony that there were

24     aspects of the data use policy that communicated to

25     users that service providers, including but not           05:02:54

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1      limited to integration partners, continue to access            05:02:58

2      information about a user's friend; is that fair to

3      say?

4                  MR. BLUME:    Objection.     Form.

5                  Objection.    Form.                                05:03:06

6                  THE DEPONENT:     I don't remember if the

7      word "integration" was in there.         But the word

8      "partners" is in there.       And the first sentence

9      of -- of multiple versions, if not all of them, is

10     very clear to people.       That we have partners that         05:03:18

11     help us provide access to and provide -- and to

12     Facebook's products, like to improve them.

13                 I should stop rambling on what it says

14     and actually refer to the precise language.              But

15     it's always been clear.                                        05:03:33

16            Q.   (By Mr. Ko)     Is there language in the

17     data use policy that reflects -- that reflects how

18     Facebook would control, or not control, the

19     information that a third party would acquire about

20     a user or a user's friend?                                     05:03:55

21                 MR. BLUME:    Objection.     Form.

22                 THE DEPONENT:     The data use policy has

23     always told people about what third-party

24     applications can access through our platform and

25     what -- including the information that their                   05:04:11

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1      friends can share.   It's always been clear.              05:04:14

2           Q.   (By Mr. Ko)     Is there anything in the

3      data use policy that reflects any language about

4      how Facebook would monitor or enforce the use of

5      that information once it was acquired by that             05:04:32

6      third party?

7           A.   So the answer is yes, there's information

8      about the fact -- not -- I -- I really should

9      answer yes to your question.

10               So the -- the data use policy tells             05:04:49

11     people to be careful about what -- and the terms of

12     service -- tells -- tells people to be careful what

13     it is that they're sharing and be aware of the

14     information they share.     Not just with their

15     friends, but with -- with applications.                   05:05:06

16               And that those applications are required

17     to respect the user's privacy, but to be -- very

18     closely to read their terms of service because the

19     developer also has terms for use of their

20     third-party application.                                  05:05:21

21               So it cautions people.       So there's

22     relevant language always in the relevant period on

23     the topic of the fact that developers are required

24     to respect their privacy policy -- their privacy,

25     and for people to read the terms and policies of          05:05:35

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1      the developer because they govern the developer's         05:05:39

2      use of the information that the person is choosing

3      to share.

4           Q.     And how did Facebook ensure that third

5      parties were, in fact, required to respect the            05:05:50

6      user's privacy?

7                  MR. BLUME:    Objection.     Form.

8                  THE DEPONENT:     Through our agreements

9      with -- like we ensured it because the developers

10     contractually agreed and are obligated to adhere to       05:06:04

11     those terms.     So in terms of requiring -- like that

12     is the agreements that we had with developers and

13     the provisions included therein required developers

14     to follow our terms and respect and comply with

15     their own privacy policies.                               05:06:24

16          Q.     (By Mr. Ko)     And those contractual

17     agreements -- I assume you're talking about the

18     platform policy?

19          A.     The platform terms and developer policies

20     today and any other applicable provision, to the          05:06:38

21     extent there is one.      But, yes, those are the

22     primary terms.

23          Q.     Are there any aspect -- are there any

24     policies, other than the platform terms and

25     developer policies, or the platform policy before         05:06:54

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1      that, that reflects this contractual agreement                05:07:00

2      between Facebook and a third-party app developer,

3      as to how they would go about respecting a user's

4      privacy?

5                  MR. BLUME:    Objection.                          05:07:18

6                  THE DEPONENT:     So the terms, the SRR

7      have -- have disclosures that there's other

8      provisions.     And at the very bottom of them, it

9      tells people that there could be additional terms

10     and policies.      And it has -- incorporates by              05:07:40

11     reference the platform terms.        And in the relevant

12     period, the platform policies.

13                 So it makes people aware that there are

14     terms of use for developers who use our platform

15     and -- so that's the SRR.       And then for the data         05:07:55

16     use policy, all -- I won't repeat myself.           I think

17     I went over that.

18          Q.     (By Mr. Ko)     So is it your testimony that

19     the SRRs link to or reference the -- the platform

20     policy or the current iteration of it, which --               05:08:19

21     which are the platform terms and developer

22     policies?

23          A.     Yes.    At the -- at the bottom, it links

24     to things like the advertising guidelines and other

25     different terms associated with different products            05:08:32

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1      for the use of different apps and services that we               05:08:36

2      offer and require third parties to adhere to.

3              Q.      And were there specific provisions in the

4      data use policy -- or excuse me.

5                      Were there specific provisions in the            05:08:48

6      platform policy or the platform terms and developer

7      policies that reflected how a third-party app

8      developer was to respect a user's privacy?

9                      MR. BLUME:   Objection.

10                     THE DEPONENT:   That's a broad statement.        05:09:12

11                     But there are provisions, and always have

12     been.        Like you have to have a privacy policy that

13     tells people what it is that you collect and how

14     you will use and/or share their information.               You

15     have to comply with your privacy policy.             You have    05:09:22

16     to not be -- don't mislead, confuse or surprise

17     people, which could pertain to our topics today.

18                     So there were definitely provisions that

19     are privacy related in the formerly known as -- in

20     the platform policies and current versions of the                05:09:43

21     platform terms and developer policies, such as only

22     request the information you need to meaningfully

23     improve the user's experience.

24                     So it's a broad -- privacy is a broad

25     statement, and so those are examples of privacy                  05:09:57

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1      related provisions.                                       05:09:59

2           Q.   (By Mr. Ko)   And with respect to the

3      provisions that you are referring to that required

4      the third-party app developers to respect the

5      user's privacy, how did Facebook monitor and              05:10:11

6      enforce those terms?

7           A.   We automa- -- we -- we monitor using both

8      automated and manual means.     So we have automated

9      tools that have been dynamic over the years, as

10     we've updated them or built different types of            05:10:33

11     automated monitoring tactics.

12               A good example would be we built a

13     privacy policy crawler that would help crawl and

14     detect broken privacy policy links because we

15     require developers to have a privacy policy.              05:10:51

16               And if it's broken and a user can't find

17     it, then the automated crawler can detect that.

18     And then a human can -- well, no, never mind.        I

19     shouldn't -- like the automated crawler can -- can

20     detect that and I believe it can automated enforce.       05:11:04

21     I don't believe it goes to a human.      So I may be

22     mistaken there.   But I'm pretty sure the automated

23     is complete.

24               But either way the -- the issue -- the

25     issue gets surfaced and addressed and -- oops, I          05:11:18

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1      should stop because I'm forgetting because I                 05:11:26

2      rambled.   Evening or late -- yeah, evening fatigue.

3           Q.    This automatic system, is it fair to

4      describe that as a preemptive measure --

5                 MR. BLUME:    Objection.                          05:11:37

6           Q.    (By Mr. Ko)     -- or was it more of a

7      reactive measure?

8                 MR. BLUME:    Objection.

9                 THE DEPONENT:     I -- I don't know what you

10     mean by "preemptive measure."                                05:11:49

11                I mean, the crawler runs.        And if the app

12     is live on the platform and not in developer mode,

13     for example, like the crawler can -- it -- I'm not

14     remembering, sitting here today, how often.             I

15     think it's each week, but I -- I do not want -- I            05:12:09

16     should stop speculating.      But the crawler

17     proactively calls and detects.        So it doesn't

18     like -- so I don't know what you mean by pre- --

19     "preemptive."

20          Q.    (By Mr. Ko)     Other than this crawler,          05:12:23

21     what were the other ways in which Facebook

22     monitored and enforced terms -- its terms with

23     third parties regarding user privacy?

24          A.

25                                                                  05:12:42

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1                                                                   05:12:49

2

3

4

5                                                                   05:13:02

6

7

8

9

10                                                                  05:13:18

11               So it's just meant as a signal.         And also

12     users -- people can report apps through, for

13     example, any post that a person shares from an app.

14     There's an ability at each post for a user to

15     report what they're seeing for multiple reasons.             05:13:39

16               We also receive reports internally,

17     externally, for example, from the press, or other

18     third parties.     Like advertisers might point out

19     something or other developers might observe that

20     there's violations.                                          05:13:56

21               And so through user reports, external and

22     internal reports, and then proactive developer

23     operations.     Team members manually going in to

24     review applications for compliance with the terms

25     and policies.                                                05:14:15

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1                   And I forgot another privacy related         05:14:15

2      provision.     But like the security requirements to

3      protect data obtained from us from -- against

4      unauthorized use access or disclosure.

5




14                  So there's a lot of monitoring that

15     goes -- that takes place both in -- on Facebook and       05:15:01

16     then off of Facebook, depending on -- on -- yeah, I

17     should stop.     Getting tired.   Sorry.

18          Q.      Would you agree with me that it was

19     Facebook's job to police and monitor API abuse by

20     third parties on its platform?                            05:15:21

21          A.      I agree with you that we committed to --

22     to policing our platform through -- and we did so

23     through multiple measures, including agreements

24     with developers.

25                  At times, we -- we introduce the formal      05:15:35

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1      app review team.    But there was already teams that         05:15:41

2      were proactively reviewing apps for compliance

3      prior to that.

4                  So I -- I do agree that Facebook needs

5      to -- and has had like policy enforcement review             05:15:51

6      measures that have been, you know, effective and

7      practical and proportionate to the platform.

8             Q.   But did Facebook succeed in its effort to

9      police and monitor API abuse on its platform?

10                 MR. BLUME:    Objection.       Hold on.          05:16:15

11                 Calls for a legal conclusion.           And

12     outside the scope of the topics.

13                 Instruct you not to answer on behalf of

14     the organization.

15                 THE DEPONENT:       Does that mean I answer in   05:16:35

16     my personal or --

17                 MR. BLUME:    No.

18                 THE DEPONENT:       -- do I don't answer at

19     all.

20                 MR. BLUME:    You don't answer.                  05:16:40

21                 THE DEPONENT:       Okay.

22            Q.   (By Mr. Ko)     You're going to follow the

23     instructions of your counsel?

24            A.   Yes, sir.

25            Q.   Would you agree with me that it was              05:16:49

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1      difficult, if not impossible, for Facebook to                05:16:51

2      capture all the data abuse and misuse that was

3      happening on its platform?

4                  MR. BLUME:    Hold on.

5                  Objection.    Compound.    Vague.    And calls   05:17:01

6      for a legal conclusion.      And beyond the scope of

7      the topics.

8                  And instruct you not to answer as a

9      30(b)(6) witness.

10          Q.     (By Mr. Ko)    Are you going to follow that      05:17:23

11     instruction?

12          A.     Yes, sir.

13          Q.     Now, would you agree with me -- and, of

14     course, I'm asking as I always have been for these

15     questions -- in your capacity as a 30(b)(6) witness          05:17:38

16     that is here to testify on matters such as

17     monitoring and enforcement as reflected in topic 3,

18     would you agree that it was difficult, if not

19     impossible, for Facebook to monitor, enforce,

20     police, all the API abuse that was happening on its          05:17:55

21     platform?

22                 MR. BLUME:    Objection.    Calls not for

23     facts but opinion of an organization, which is

24     beyond the scope of the 30(b)(6).

25                 And, therefore, I instruct you not to            05:18:05

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1      answer.                                                    05:18:08

2           Q.   (By Mr. Ko)    Are you going to follow that

3      instruction?

4           A.   Yes, sir.

5           Q.   Are you aware of any facts -- speaking on        05:18:18

6      behalf of the company, are you aware of any facts

7      or circumstances in which it became known that it

8      was impossible for Facebook to police and monitor

9      all the abuse that was happening on its platform?

10               MR. BLUME:    Again, to the extent that you      05:18:33

11     are aware of any facts that relate to some

12     assessment of impossible --

13               SPECIAL MASTER GARRIE:      Counsel, is there

14     an objection?

15               MR. BLUME:    Yeah.   I'm about to -- to --      05:18:44

16     it's a privilege objection.     And so I'm defining

17     the scope of the privilege for her, if I may.

18               SPECIAL MASTER GARRIE:      Yeah.    Sure.   I

19     just wasn't sure if there was an objection.

20               MR. BLUME:    Yes.                               05:18:55

21               So to the extent that you become aware of

22     facts about the impossibility of Facebook

23     monitoring, as a result of conversations with legal

24     counsel, or based on advice from legal counsel, I'd

25     instruct you not to answer.                                05:19:09

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1                   And -- and -- and, as well, I would           05:19:10

2      object that it is sufficiently vague as to be

3      outside the scope of the topics about which you're

4      testifying as a 30(b)(6) witness, which is another

5      instruction not to answer.                                 05:19:30

6              Q.   (By Mr. Blume)    Are you going to follow

7      that instruction?

8              A.   I'm not sure if I'm supposed to wait for

9      Special Master Garrie because he just turned on his

10     video and he --                                            05:19:44

11                  SPECIAL MASTER GARRIE:      Thank you.

12                  THE DEPONENT:    -- that means he might

13     talk.

14                  SPECIAL MASTER GARRIE:      That is true.

15                  Counsel -- Counsel Ko, what -- what           05:19:50

16     does -- within the scope of what this witness was

17     designated to, what does that -- your question map

18     to?

19                  MR. KO:   Topic 3c, Special Master.

20                  SPECIAL MASTER GARRIE:      Can you read it   05:20:15

21     because I don't have it in front of me.

22                  MR. KO:   "Facebook's monitoring and

23     enforcement of contractual terms with Third Parties

24     regarding their use of User's Data or Information."

25                  We can -- we can screen-share it, too,        05:20:30

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1      for everyone to see.                                      05:20:31

2                SPECIAL MASTER GARRIE:     That -- that

3      would be helpful.

4                MR. BLUME:   If I may, Your Honor?

5                SPECIAL MASTER GARRIE:     One second.          05:20:43

6                Yeah, Counsel Blume, please explain to me

7      how this is beyond the scope of what she was

8      designated by Facebook to testify to.

9                MR. BLUME:   The impossibility of

10     monitoring the -- is a legal conclusion.       The        05:21:13

11     concept -- concept of what constitutes abuse on the

12     platform is a legal conclusion.

13               They are also too vague terms for a

14     30(b)(6) witness to opine on.     And to the extent

15     that she's aware of those facts that led to those         05:21:31

16     conclusions, they are privileged and, therefore,

17     inappropriate.

18               SPECIAL MASTER GARRIE:     And for the

19     privilege, I get.

20               But "Facebook's monitoring and                  05:21:41

21     enforcement of contractual terms with Third Parties

22     regarding their use of User Data or Information,

23     including enforcement of Policies regulating

24     access" -- "regulating access to such Data or

25     Information beyond the Use Case."                         05:21:58

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1                   And you -- Facebook put forward this              05:22:02

2      witness to opine on this topic.

3                   MR. BLUME:   Not the -- the

4      impossibility -- the -- the conclusion that

5      something was impossible to monitor or that is --              05:22:11

6      what is -- it's presumably a legal conclusion of

7      impossibility.

8                   SPECIAL MASTER GARRIE:      But -- no.     It's

9      impossibility to reach a --

10                  (Simultaneously speaking.)                        05:22:21

11                  MR. BLUME:   It's sufficiently vague and

12     undefined.

13                  SPECIAL MASTER GARRIE:      Okay.   Noted.

14                  Impossibility in the function not as a

15     lawyer.   But as a function of her duties as an                05:22:27

16     employee of Facebook, whether it was possible or

17     not.   Not a legal --

18                  MR. BLUME:   Right.

19                  SPECIAL MASTER GARRIE:      -- testifying

20     conclusion, right.                                             05:22:35

21                  It's whether or not it was possible for

22     her to accomplish this.

23                  And so please answer -- so overruled,

24     Counsel Blume, subject for the first -- overruled

25     with respect to the scope.         However, still with         05:22:45

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1      regards to the objection with regards to privilege,           05:22:52

2      for purposes of clarity of Counsel Blume, or any

3      conversations you had with lawyers -- or

4      Counsel Blume, would you like to instruct the

5      witness again with regards to privilege?                      05:23:02

6                   MR. BLUME:   Actually -- actually, if we

7      can just jump off the record, I could figure out

8      what the answer is and whether it's privileged.

9      And then we can go forward.

10                  SPECIAL MASTER GARRIE:       Okay.    We'll go   05:23:11

11     off the record.

12                  THE VIDEOGRAPHER:     We're off the record.

13     It's 5:26.

14                  (Recess taken.)

15                  THE VIDEOGRAPHER:     Back on the record.        05:27:44

16     It's 5:27 p.m.

17                  MR. KO:   Okay.    I just want to make sure

18     Special Master Garrie is here for this, so I'll

19     wait.

20                  Hello.                                           05:28:01

21                  At -- at this point, Your Honor,

22     Special Master, Mr. Blume Ms. Hendrix, I'm -- I'm

23     not going to ask any further questions and I am

24     going to reserve the right to ask questions related

25     to topics 1, topics 2b, 2d, topics 3 and portions             05:28:17

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1      of topic 6, to the appropriate Facebook witness           05:28:24

2      that can answer these questions.

3                 And we reserve the right to seek

4      additional time so that Facebook can identify the

5      appropriate witness such that we can have our             05:28:35

6      substantive questions answered.

7                 But at this point, I have no further

8      questions for you.      Thank you for your time,

9      Ms. Hendrix.

10                MR. BLUME:     If I may,                       05:28:48

11     Special Master Garrie, respond.

12                SPECIAL MASTER GARRIE:       I mean, sure.

13     Suddenly, I think.

14                MR. BLUME:     Yeah.   Ms. Hendrix is here

15     and prepared, as she has said a number of times, to       05:28:58

16     speak on these topics.      There is no other witness

17     that will speak to those topics.        If Mr. Ko has

18     questions for Ms. Hendrix on those topics, any one

19     of them that he mentioned, he is obligated to ask

20     those today.                                              05:29:16

21                There is absolutely no reason whatsoever,

22     no good faith reason whatsoever to request any

23     other witness address those topics.         No other

24     witness will be prepared to address any of those

25     topics.   That is -- we have fulfilled our                05:29:30

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1      obligation by preparing Ms. Hendrix to answer on             05:29:33

2      those topics.    And Mr. Ko had more than sufficient

3      time to get through them.

4                  We object not only to extending any other

5      deposition to topics for which those witnesses are           05:29:47

6      not prepared.    We also object to any extensions of

7      any time based on this deposition.

8                  I will note that plaintiffs sent

9      Ms. Hendrix more than 150 documents to prepare for

10     this deposition.    They asked -- they presented two,        05:30:05

11     maybe three, of those documents.       The fact that

12     they chose not to go through those documents, the

13     other 147 of them, is a choice that they made.

14                 The types of questions that Mr. Ko asked

15     are choices he made.     And so their failure to get         05:30:22

16     whatever information they thought that they would

17     want to get is a making of their own.

18                 If time is an issue, Ms. Hendrix is here.

19     But we will not present another witness on the

20     topics --                                                    05:30:38

21                 (Technical issues.)

22                 THE COURT REPORTER:    Wait.    Wait.      You

23     cut out with "another witness on the topics" --

24                 MR. BLUME:   Will not -- nor will -- nor

25     we will -- nor will we bring Ms. Hendrix back as a           05:30:46

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1      30(b)(6) witness on these topics as far as Facebook         05:30:49

2      is concerned --

3                (Technical issues.)

4                THE COURT REPORTER:      Hold on.     The audio

5      is very bad.   I don't know --                              05:30:58

6                MR. BLUME:     As far -- as far as -- as far

7      as Facebook -- Facebook is concerned, the topics

8      for which Ms. -- Ms. Hendrix is designated are now

9      closed, with the conclusion of this deposition by

10     Mr. Ko, and we will move on to the other topics.            05:31:05

11               MR. KO:   I just want to note for the

12     record, Special Master Garrie and Mr. Blume, that

13     in addition to the reasons I identified earlier

14     about why we reserve to right to ask questions to

15     the appropriate witness on these topics, I just             05:31:22

16     want to make sure that the record is clear that we

17     have spent a substantial amount of time on the

18     record today having basic disputes over the

19     witness's ability to answer or not these questions

20     in response to topics.                                      05:31:41

21               And just to make clear another ground for

22     which we are seeking to reserve the right to reopen

23     the deposition is Mr. Blume's improper

24     instructions instructing the witness not to answer.

25               MR. BLUME:     I -- I would -- I would            05:32:00

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1      note --                                                    05:32:00

2                   SPECIAL MASTER GARRIE:     Counsel Blume.

3                   MR. BLUME:   -- Special Master Garrie that

4      the -- the purpose of -- obviously your presence is

5      to make those decisions here.                              05:32:07

6                   The objections I made for privilege, of

7      course, were proper.      The privilege discussion and

8      the objections I made to scope are certainly

9      proper.     And to the extent that those questions

10     are -- fit better in other topics, which I noted on        05:32:18

11     the record, there are other witnesses who will

12     testify that Mr. Ko has failed to make a record.

13                  I will note that any of the topics for

14     which Ms. Hendrix was designated, she was -- she

15     was not prepared for.      She explained her efforts to    05:32:32

16     prepare.

17                  And so, again, we object to additional

18     time.     And we object to the extension of the topics

19     or any continuation.      And we request that,

20     Special Master Garrie, you determine that                  05:32:46

21     Ms. Hendrix is released from her obligations under

22     the second amended notice of deposition, pursuant

23     to Rule 30(b)(6).

24                  SPECIAL MASTER GARRIE:     Well, here's the

25     good news.     I can rule on that.     Denied.             05:33:00

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1                   I will take under consideration both            05:33:06

2      party's positions.        I will likely request further

3      briefing, limited briefing, in an accelerated

4      schedule on the issue.

5                   And you're more than welcome to bring           05:33:16

6      this before Judge Chhabria and use the record

7      accordingly and explain it to him accordingly.

8                   If you disagree with my ruling or

9      finding, if I do warrant more time or that the

10     witness, or someone else is to be produced to                05:33:29

11     respond.

12                  With that noted, I thank the witness and

13     we will be finished for today, unless there are any

14     further questions or requests or rulings of

15     Counsel Blume or Counsel Ko so desire.                       05:33:50

16                  MR. BLUME:     I -- I would only note that

17     if I -- I make the request that if Mr. Ko has

18     additional -- additional questions on the topics

19     for which Ms. Hendrix is designated, he ask them

20     right now.     She's here and prepared to continue.          05:34:02

21                  MR. KO:   I will stand by my original

22     reservation of rights, as noted in the previous

23     six minutes on the record.

24                  SPECIAL MASTER GARRIE:       And just for the

25     record, to be clear, I have no position one way or           05:34:16

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1      the other as to the request for relief beyond               05:34:19

2      denying Counsel Blume's request that I make the

3      ruling here and now.

4                  MR. BLUME:   Right.    And -- and appreciate

5      that.                                                       05:34:29

6                  MR. KO:   Thank you.

7                  MR. BLUME:   And -- and -- that's fine.

8      We -- we've made our -- we've made our point.

9                  SPECIAL MASTER GARRIE:     And so noted.   We

10     are done.                                                   05:34:38

11                 Just make sure the designation as

12     confidential has been recorded.

13                 Are there any standing orders for

14     transcripts for 30(b)(6) depositions?        Are we going

15     to use the standing orders for the other witnesses?         05:34:51

16                 MR. BLUME:   I believe so.     I'm the wrong

17     person to ask, but I believe that's the case.

18                 MR. KO:   I -- I apologize.     I forgot one

19     thing in my haste to conclude this.

20                 I forgot to make the formal request on          05:35:07

21     the record, Mr. Blume, that you provide

22     Ms. Hendrix' DC AG deposition transcript, in

23     connection with the applicable RFP asking Facebook

24     to produce all such material.       That's all --

25                 MR. BLUME:   Well, the DC A -- the --           05:35:26

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1      we'll take under consideration the DC AG transcript       05:35:26

2      request and that's -- we'll take it under

3      consideration.

4                  And, again, I urge you, Mr. Ko, if you

5      have additional questions for Ms. Hendrix, we are         05:35:42

6      not stopping the deposition.      She's here and

7      prepared.    And if you choose to end it, I'll

8      consider that -- that you have nothing further for

9      her.

10                 MR. KO:   So the record is clear, I, of       05:35:54

11     course, do have a lot further, but your continued

12     objections and --

13                 MR. BLUME:   Well, we'll be here.

14                 MR. KO:   -- instructions not -- let me

15     finish.                                                   05:36:01

16                 -- continued objections and instructions

17     not to answer.    And the fact that this witness is

18     not prepared to testify as to basic issues on

19     claims and allegations regarding this case, in

20     particular, are the reasons why we would hope to          05:36:15

21     seek an actual witness, or this witness to actually

22     testify as to these topics.

23                 MR. BLUME:   Well, then I think we should

24     be clear.

25                 So the issues that you believe apply to       05:36:26

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1      her topics include whitelisting, as it relates to         05:36:28

2      the topics that -- for which she is designated.     We

3      also understand that you asked whether or not there

4      were third-party apps who continued to be given

5      permission to access friends data after                   05:36:42

6      May of 2015, that she believed was -- that we

7      objected to under -- under topic 2d.     That is that

8      that topic.

9                Can you please state for the record any

10     other areas that -- and then privilege, of course,        05:36:59

11     which we objected to.

12               But because Ms. Hendrix is here and

13     available, if you could put on the record exactly

14     what other topics you believe she -- you were

15     prevented from asking her about under the said            05:37:16

16     topics so that we can appropriately address those

17     and deal with them, rather than burden this witness

18     with -- when she's here and available based on your

19     desire to just do it another day.

20               If you could put on the record                  05:37:32

21     specifically what it is you believe -- what

22     information you believe you were deprived from her

23     on the topics for which she was designated and

24     that -- and that -- and that were asked about --

25     and that were -- you were asked about -- and -- not       05:37:44

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1      topics that you were not -- that you didn't talk          05:37:49

2      about.   The questions you asked and the answers of

3      which you believe you were deprived for, in your

4      view, objections unfounded.

5                 MR. KO:   I think the record is clear as       05:37:58

6      to both your instruction and the witness's

7      inability to ask it -- answer basic questions with

8      respect to topics 2d and 3c, in particular.

9                 But I will note for the record that all

10     of these topics, which do relate to monitoring and        05:38:15

11     enforcement and how Facebook enforced its policy

12     with respect to third party use of user information

13     were all the type of questions that Ms. Hendrix had

14     difficulty responding to on behalf of Facebook.

15                MR. BLUME:   She -- she's here prepared to     05:38:39

16     talk about the policies with respect to the -- the

17     use -- of use -- the third party use of

18     information.   That's exactly what she's here to

19     testify to.

20                I would suggest that if you have any           05:38:48

21     questions you did not ask about any of her topics,

22     you ask them now.    We can discuss later or -- or --

23     or debate whether or not my objections were

24     appropriate.   But to topics, questions, issues that

25     were -- you did not raise and -- and not give             05:39:04

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1      Ms. Hendrix the opportunity to testify to, we are         05:39:09

2      prepared to sit here right now and -- and answer

3      those questions.

4                  But we will not consent to simply taking

5      an extra day with her to ask questions or to hit          05:39:18

6      topics that you did not cover today.        Because she

7      is very well prepared --

8                  MR. KO:   You've made that --

9                  MR. BLUME:   I'm sorry -- she's very

10     prepared to read your things with regard to               05:39:28

11     topics 2d and 2c and -- or 3c, in particular.

12                 She is prepared to talk about monitoring

13     and how Facebook enforce -- how Facebook -- this is

14     your quote from the record -- how Facebook enforced

15     its policies with respect to third party use.             05:39:41

16                 She is prepared to testify to that, as we

17     said.    And so if you have questions on that topic,

18     I -- I request that you ask them now.

19                 MR. KO:   You have made it perfectly clear

20     that you do not consent to my request and I               05:39:52

21     understand and respect it.

22                 MR. BLUME:   I just said -- I just said I

23     did.    I just said on the record, Mr. Ko, that with

24     regard to topics 2d and 3c, you just said -- you

25     note, for the record, quote, that all of these            05:40:06

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1      topics that -- which do relate to monitoring and             05:40:08

2      how Facebook enforces policies with respect to

3      third party use of -- third parties' use -- use of

4      user -- of user information.

5                   That's what you just described.       And I'm   05:40:19

6      telling you, on the record, with Ms. Hendrix, to my

7      left, prepared to answer all of those questions.

8                   So if you have them, I beg you to ask

9      them now.     And don't come back and ask them later.

10     We are open and willing to answer those questions,           05:40:34

11     as we have said all along.      That is -- that -- the

12     how that you just quoted was exactly the how that I

13     quoted.     And we are more than happy to answer

14     questions on that topic.

15                  MR. KO:   If you had made -- if you             05:40:50

16     allowed me to finish you probably understand my

17     statement in full.

18                  I understand, and you have made it

19     perfectly clear, that you do not consent to our

20     request to reopen this deposition.        And I get that.    05:41:02

21     And we obviously oppose that.

22                  I will also note for the record that one

23     of the reasons why we need another deposition is

24     that you have unfairly and unreasonably limited

25     these topics, as you have noted many times on the            05:41:18

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1      record today, that these topics only relate to the                 05:41:20

2      policies and procedures that Facebook enacted in

3      connection with this topic.

4                   MR. BLUME:    You are free -- you -- you

5      are --                                                             05:41:31

6                   MR. KO:   That's all I have to say.          I

7      am --

8                   MR. BLUME:    You are required -- you --

9      you are --

10                  SPECIAL MASTER GARRIE:        One at a time,          05:41:34

11     Counsel.

12                  Here's what we're going to do.         Here's

13     what we're going to do.

14                  You both have been pontificating for some

15     time on the record.       We will cease pontification.             05:41:40

16     Here's what we will do.

17                  Bear with me.

18                  Ms. Hendrix, would you mind stepping out

19     for two minutes so I can speak to the lawyers.                We

20     will go off the record.                                            05:41:54

21                  THE VIDEOGRAPHER:     Okay.     We're off the

22     record.    It's 5:42 p.m.

23                  (Recess taken.)

24                  THE VIDEOGRAPHER:     Okay.     We're back on

25     the record at 6:03 --                                              06:03:21

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1                   SPECIAL MASTER GARRIE:       All right.      Let's   06:03:22

2      go back on the record.

3                   THE VIDEOGRAPHER:      -- 6:03 p.m.

4                   MR. KO:     Mr. Blume, your -- your begging

5      was persuasive.        I'll try and -- and ask some more          06:03:37

6      questions.

7                   But I will note for the record that, of

8      course, the position that we have taken prior to

9      this most recent break is that there are a number

10     and myriad of examples in which this witness                      06:03:54

11     indicated she was not testi- -- prepared to testify

12     as to certain aspects of these topics and that you

13     have given improper instructions not to answer.

14                  So for those reasons, we reserve the

15     right to reopen the deposition.          But as long as           06:04:10

16     we're all here, I do want to ask some more

17     follow-up questions with respect to these topics,

18     if Ms. Hendrix is still available.

19                  MR. BLUME:     Okay.   Go ahead.

20          Q.      (By Mr. Ko)     Ms. Hendrix, take -- take a          06:04:31

21     look at the notice again.

22          A.      I'm here.

23          Q.      Okay.     Can you look at topic 3.

24          A.      Yes.

25          Q.      And can you identify for me all the                  06:04:47

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1      instances in which Facebook was able to identify               06:04:49

2      whether or not a third party was using Facebook

3      users' data or information beyond the use case?

4                   MR. BLUME:      Hang on one second, please.

5                   Yeah, which -- which -- the actual uses           06:05:32

6      of -- use of data beyond the use case is covered by

7      which subsection of topic 3?

8                   MR. KO:   3c.

9                   MR. BLUME:      "Monitoring and enforcement

10     of contractual terms, including enforcement of                 06:05:48

11     Policies regulating access," that one?

12                  MR. KO:   That would be --

13                  MR. BLUME:      Is that -- is that --

14                  MR. KO:   -- what I said when I said 3c.

15                  MR. BLUME:      Okay.     I mean, to the extent   06:06:06

16     you can answer the question with regard to an

17     overview of the processes regarding the monitoring

18     and enforcement, you can.            If not...

19                  THE DEPONENT:      And the question again is

20     what?                                                          06:06:23

21             Q.   (By Mr. Ko)      Can you identify for me all

22     the instances in which Facebook was able to

23     identify whether or not a third party was using

24     Facebook's users' data information beyond the use

25     case?                                                          06:06:33

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1                   MR. BLUME:     And, again, this talks to      06:06:33

2      processes, Mr. Ko.        It's just --

3                   SPECIAL MASTER GARRIE:       Counsel --

4      Counsel, are you objecting?

5                   MR. BLUME:     I'm -- I'm objecting it's      06:06:40

6      beyond the scope.     If -- if you're prepared to --

7      if you've been prepared to talk to the identity of

8      specific instances as opposed to the overview of

9      the processes, which is what topic 3 asks for, you

10     may.    But if you're not prepared, you're not             06:06:54

11     prepared.

12                  THE DEPONENT:     Well, during the relevant

13     period from 2007 to 2022, I don't believe we have

14     that logging.     But I can definitely speak to the

15     processes of developing the settings or other              06:07:17

16     controls made available to users to prevent or

17     limit their data or information from being accessed

18     by third parties, including how Facebook monitors

19     and enforces a contractual terms with those third

20     parties.                                                   06:07:33

21                  But the specific amounts, I don't even

22     think we, as a company, could produce that if we

23     wanted to.     And I -- so I don't come prepared with

24     the knowledge of that --

25            Q.    (By Mr. Ko)     Can you identify --           06:07:53

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1           A.    -- which is outside the scope of what I'm      06:07:54

2      reading here.

3           Q.    Can you identify all the factual

4      instances or circumstances for when Facebook did,

5      in fact, detect abuse on its platform?                    06:08:04

6                 MR. BLUME:    And I'd instruct you -- to

7      the extent that you've learned of "abuse" on the

8      platform through conversations with counsel, I'd

9      instruct you not to answer.

10                And I'd obviously review the topic and         06:08:16

11     the question and determine whether it's in --

12     within the scope of topic 3, as far as you are

13     concerned in your prep.

14                THE DEPONENT:     I am not prepared to

15     answer all of the -- nor do I think Facebook can          06:08:31

16     answer all of the amount or violations of policies

17     that we've surfaced -- surfaced in apps from 2007

18     to 2022.

19          Q.    (By Mr. Ko)     Can you describe to the

20     Court whether or not you're aware of the factual          06:08:51

21     circumstances in which Facebook determined that an

22     app was not complying with its policies?

23                MR. BLUME:    Objection.     How they

24     determined whether they were complying or whether

25     they are complying?                                       06:09:19

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1                   MR. KO:   I'm -- I'm -- I'm trying to ask         06:09:20

2      questions related to this topic and you continue to

3      object during -- for scope and privilege.          And

4      continue to instruct the witness not to answer.

5                   I thought that your begging would allow           06:09:28

6      me to actually ask questions that you would not

7      object to.

8                   MR. BLUME:   If -- relevant to the

9      topic -- Mr. Garrie, I'd ask that we -- we walk

10     through topic 3 with your instructions, sir, and               06:09:37

11     put it in -- in -- and identify how -- where it

12     talks about factual instances or circumstances of

13     abuse, where topic 3 speaks to the number of

14     instances of abuse.

15                  And Mr. Garrie, if you -- if you'd show           06:09:57

16     us that -- where it is, then we'll be advised.           But

17     there's nothing I see -- I don't even see the word

18     "facts" or "instances" at all in topic 3.

19                  And so I'm hard-pressed to -- to hear

20     Mr. Ko repeatedly make this witness feel as though             06:10:13

21     she's inadequately prepared when, on the face of

22     topic 3, the words that he's using in his questions

23     don't even appear.

24                  MR. KO:   Pretty simple.    Well, if I -- if

25     I can respond, I will, Special Master Garrie.                  06:10:30

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1                SPECIAL MASTER GARRIE:       Can you share      06:10:33

2      your screen and then a response to the point raised

3      by Counsel Blume.     But share your screen

4      for topic 3.   So we all are reading it together.

5                Okay.     Your response first, Counsel Ko,      06:10:44

6      and then I will go through it.

7                MR. KO:     As -- as we discussed earlier,

8      it's a bit divorced from reality if a witness

9      cannot testify as to the facts that apply with

10     respect to how Facebook monitored and enforced its        06:10:59

11     contractual terms of third parties.

12               Similarly, it's a bit divorced

13     from reality if Facebook is trying to suggest that

14     they cannot provide a witness that will testify as

15     to the facts that apply to how -- and this is in          06:11:12

16     connection with 2d -- how Facebook ensured third

17     parties' use of such data or information was

18     limited to the use case.

19               And so this, once again, goes back to the

20     point earlier where we were discussing where all of       06:11:25

21     these things, as Ms. Hendrix has testified before,

22     were fairly iterative and things evolved as the

23     factual circumstances changed.

24               And so the idea that she cannot sit here

25     and testify as to the facts that actually underlie        06:11:41

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1      Facebook's monitoring and enforcement of                     06:11:45

2      contractual terms is a bit unreasonable, from my

3      perspective, and does not comport with the actual

4      testimony that we would hope to elicit from this

5      witness on these topics.                                     06:12:00

6                   MR. BLUME:   As Mr. Ko just described it,

7      she's prepared to do that, facts that apply with

8      respect to how -- this is his quote from what he

9      just said.     She -- and she is prepared to testify

10     as to the facts that apply with respect to how               06:12:13

11     Facebook monitored and enforced its contractual

12     terms.   She will testify to that.

13                  She will also testify to the facts that

14     apply, quote, as to how and -- how -- and this is

15     in connection with 2d, he says -- how Facebook               06:12:25

16     ensured third parties' use of such data.          She's

17     completely prepared to testify to that.

18                  But if you -- Mr. Ko -- if you refer to

19     his question, that's not what he's asking.              He

20     is -- he is making -- he's responding to my                  06:12:39

21     objection by stating exactly what she's prepared to

22     testify to.     But then the questions he asks don't

23     ask those questions.

24                  MR. KO:   Logical corollary to the facts

25     related --                                                   06:12:56

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1                SPECIAL MASTER GARRIE:      One second.     One   06:12:56

2      second.

3                You're both are repeating your arguments.

4      Just -- just because I'm -- again, just -- so the

5      question is, can you describe to the Court whether          06:13:02

6      or not you are aware of the factual circumstances

7      in which Facebook determined that an app was not

8      complying with its policies.

9                MR. BLUME:    That -- with all due respect,

10     that wasn't the question he asked.                          06:13:16

11               THE DEPONENT:    His question is --

12               SPECIAL MASTER GARRIE:      No, no.    Well,

13     I'm -- that's the question I -- okay.       So that's

14     one question that was asked and you objected, how

15     they determined whether they were complying or              06:13:24

16     whether they are complying.

17               And Counsel Ko responded, well -- and

18     then you responded.    And I don't think an answer

19     was ever provided by the witness.      And then there

20     was another question asked, so...                           06:13:40

21               MR. BLUME:    Right.   The question was --

22     the outstanding question is, are you -- whether or

23     not you are aware, quote, of the factual

24     circumstances in which Facebook determined that an

25     app -- specific app was not complying with its              06:13:51

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1      policies.                                                         06:13:54

2                  But then when he describes it in his

3      argument to you, what he really wants to know is,

4      quote, how and -- how -- how Facebook monitored and

5      enforced its contractual terms.                                   06:14:07

6                  If he just asked that question that he

7      stated in his objection, Ms. Hendrix will answer

8      that, how Facebook monitored and enforced.               She'll

9      also answer the next question he posits in his

10     response to my objection, which is how Facebook                   06:14:19

11     ensured third parties use such data.          She's

12     prepared to answer that.

13                 And that speaks -- that is topic 3.

14     We're prepared.       All he has to do is ask those

15     questions and we'll move this along.          But he wants        06:14:31

16     specific instances of misconduct, which is not

17     topic 3.

18                 MR. KO:     I don't understand how you could

19     talk about monitoring without specific instances of

20     misconduct, but...                                                06:14:47

21                 SPECIAL MASTER GARRIE:       If you're wanting

22     to know, based on her -- his -- his argument,

23     Counsel Blume, is based on her work experiences,

24     how did that shape what -- the things she's here to

25     testify about.    It's -- that's what I understand                06:15:01

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1      what Counsel Ko pointed.      Are there any --                  06:15:04

2                   MR. BLUME:   Yeah, that's not the topic,

3      though.

4                   SPECIAL MASTER GARRIE:     I'm -- I'm just

5      communicating --                                                06:15:10

6                   MR. BLUME:   I -- I hear it.       Yeah, I get

7      it.

8                   SPECIAL MASTER GARRIE:     All right.      Well,

9      before I rule on it, let's go through it.

10                  "An overview of the processes of                   06:15:25

11     developing Privacy or App Settings or other

12     controls made available to Users to prevent or

13     limit their Data or Information from being accessed

14     by Third Parties, including the dates during which

15     each such Privacy or App Setting or other control               06:15:39

16     were available."

17                  MR. BLUME:   Right.

18                  SPECIAL MASTER GARRIE:     So --

19                  MR. BLUME:   Pro- -- overview of processes

20     and dates.                                                      06:15:48

21                  SPECIAL MASTER GARRIE:     And specific --

22     dates.    Then the data and information, which is

23     defined terms, covered by -- so then they want the

24     data and information -- if you read the definition

25     of information -- can you go up --                              06:16:00

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1                   MR. KO:   Sure.                                    06:16:04

2                   SPECIAL MASTER GARRIE:       -- to the

3      definition, Counsel Ko, because I think this is

4      where we're running into a little -- so

5      information, as I understood it and maybe my --                 06:16:08

6      it's getting late so maybe I --

7                   MR. BLUME:   It's page 4.      Page 4.

8                   SPECIAL MASTER GARRIE:       Yeah.    "'Data' or

9      'Information' refers to Personal Information,

10     Content and Information, and Data collected and                 06:16:26

11     delivered about Users" -- users --

12                  MR. BLUME:   Correct.     Right.

13                  SPECIAL MASTER GARRIE:       -- including --

14     wait -- "including information ordered relevant in

15     the Court's October 29, 2020" -- this is discovery              06:16:35

16     order No. 9, which is on platform, off platform or

17     third party.     It is extremely broad --

18                  MR. BLUME:   Yes.

19                  SPECIAL MASTER GARRIE:       -- "which defines

20     the discoverable User Data at issue in this case to             06:16:48

21     include "Data collected from a user's on-platform

22     activity; Data obtained from third parties

23     regarding a user's off-platform activities; and

24     Data inferred from a user's on or off-platform

25     activity."                                                      06:17:00

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1                So that's how we're defining information.             06:17:00

2      So going back down to where we're at --

3                MR. BLUME:     Yup.     What -- what of that is

4      covered by each setting or control is the

5      question -- is the topic, right.        What of that            06:17:11

6      broad swath of data the topic is for Ms. Hendrix to

7      says, well, that broad swath of data, what of it is

8      covered by each setting or control.

9                SPECIAL MASTER GARRIE:        Well, you asked

10     me to walk through it.     So you're saying to prevent          06:17:22

11     or limit the data or information.           Data or

12     information is on or off platform activity with

13     third parties.     It's specific technical defined

14     information.     That is how --

15               MR. BLUME:     I agree.                               06:17:36

16               SPECIAL MASTER GARRIE:        -- it's defined

17     in the Court order with Judge Corley, who had

18     spoken at length about it.

19               MR. BLUME:     Yeah.     But it's the

20     processes -- it's the first sentence.           It's the        06:17:43

21     "processes of developing Privacy -- "made available

22     to prevent or limit" -- the processes --

23               SPECIAL MASTER GARRIE:        No, no.       Privacy

24     or other controls.

25               MR. BLUME:     Yeah.     Right.     But that's not    06:17:53

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1      an instance.     Those are the controls in place.               06:17:55

2      What is the --

3                  SPECIAL MASTER GARRIE:        I get it.       You

4      just asked me -- "made available to Users to

5      prevent or limit their Data" --                                 06:18:00

6                  MR. BLUME:   Right.

7                  SPECIAL MASTER GARRIE:        -- "or

8      Information from being accessed" -- "including the

9      dates during which of these" -- okay.

10                 MR. BLUME:   Right.                                 06:18:09

11                 SPECIAL MASTER GARRIE:        I'm -- I'm just

12     walking through it -- covered, blah, blah, blah --

13     "and the Default setting for each."

14                 So you -- there's not --

15                 MR. BLUME:   Right.                                 06:18:14

16                 THE DEPONENT:      Your point is, the scope

17     here from where --

18                 MR. BLUME:   3b.

19                 SPECIAL MASTER GARRIE:        -- you read it --

20     in 3, as you read it --                                         06:18:17

21                 MR. BLUME:   Privacy, app settings and

22     controls.

23                 SPECIAL MASTER GARRIE:        All right.

24                 MR. BLUME:   That's what it is.

25                 SPECIAL MASTER GARRIE:        And --                06:18:25

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1                  MR. BLUME:   That's the scope.                   06:18:25

2                  SPECIAL MASTER GARRIE:     For data or

3      information.

4                  MR. BLUME:   Right.    Privacy for app

5      settings or other controls.       That's what this topic     06:18:32

6      focuses on.

7                  SPECIAL MASTER GARRIE:     So what -- the

8      part where I struggle, Counsel Blume, is accessed

9      by third parties, right.     So their -- and your

10     point -- your -- your argument is, that doesn't              06:18:44

11     cover the specific factual background that

12     generated --

13                 MR. BLUME:   The -- well -- right.         The

14     topic is -- focuses on privacy or app settings or

15     other controls that govern all of this stuff.                06:18:54

16     That's what this focuses on.

17                 They could have written a topic that said

18     identify all instances in which a third party

19     improperly accessed data.     That's not what this

20     says.    I don't deny them they want that                    06:19:08

21     information.    But this specific topic talks about

22     privacy and app setting and controls --

23                 SPECIAL MASTER GARRIE:     And then 3b --

24                 MR. BLUME:   -- that cover all of this

25     stuff.                                                       06:19:16

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1                SPECIAL MASTER GARRIE:        Then 3b, is she     06:19:16

2      here for 3b or no?

3                MR. BLUME:     Yes.

4                MR. KO:     Yes, she is.     She's here for all

5      topics.                                                     06:19:22

6                SPECIAL MASTER GARRIE:        So this is where

7      I'm confused.     This is -- so --

8                MR. BLUME:     Privacy and app settings --

9                SPECIAL MASTER GARRIE:        Wait.   Wait.

10     Wait.                                                       06:19:24

11               MR. BLUME:     -- and controls about

12     processes, reviews and --

13               SPECIAL MASTER GARRIE:        But it says

14     "investigations" --

15               MR. BLUME:     Yeah, but --                       06:19:26

16               SPECIAL MASTER GARRIE:        -- "inquiries,

17     studies" -- just wait a sec.

18               MR. BLUME:     It's --

19               THE COURT REPORTER:        We're talking on top

20     of each other.                                              06:19:26

21               MR. BLUME:     Sorry.    It's -- it's the

22     including colon section leading to section b.

23               SPECIAL MASTER GARRIE:        Yeah.   So

24     including any process -- processes, check.

25     Reviews, check.     Investigations or particular            06:19:44

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1      instances that would drive a particular -- you             06:19:47

2      investigate a particular activity.       You asked me to

3      explain it, I'm explaining --

4                  MR. BLUME:   It's the privacy or app --

5      it's the privacy, app settings or controls that --         06:19:55

6      that -- that monitor investigations, not the facts

7      of the investigations --

8                  SPECIAL MASTER GARRIE:     So you're reading

9      it the other way.

10                 MR. BLUME:   -- not what goes into it.         06:20:04

11     It's privacy and apps settings and controls that

12     focus on other processes, reviews, investigations,

13     inquiries, studies, analyses.

14                 It's not tell us about the investigations

15     or the queries and the studies.       It's tell us about   06:20:13

16     the -- the privacy or app setting or other

17     controls.

18                 It's how they drafted it.      I mean, it's

19     their own words.    I -- I don't know how it can be

20     viewed in some way that -- that -- that requires us        06:20:22

21     to infer from the very words on the page that it

22     means something other than the plain language.

23                 SPECIAL MASTER GARRIE:     And what about

24     3c?

25                 MR. BLUME:   Same way.    Privacy or app       06:20:35

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1      settings and other controls, including those about        06:20:36

2      Facebook's monitoring and enforcement of

3      contractual of with third parties.

4                   The -- the premise of all subsections a,

5      b and c is to discuss an overview of the processes        06:20:44

6      of developing privacy or app settings or other

7      controls.

8                   SPECIAL MASTER GARRIE:     But how does

9      monitoring --

10                  MR. BLUME:   That's your topic 3b.           06:20:54

11                  SPECIAL MASTER GARRIE:     So then explain

12     to me what your reasoning -- how does monitoring

13     and enforcement relate to what you're talking

14     about.

15                  MR. BLUME:   What -- what's -- what          06:21:00

16     privacy or app settings are in place that help

17     Facebook monitor and enforce contractual terms of

18     third parties.     What controls are in place to help

19     Facebook monitor and enforce the contractual terms

20     of third parties.     Not when has third parties          06:21:12

21     violated, but what does Facebook do to monitor

22     that.

23                  SPECIAL MASTER GARRIE:     Just answer my

24     question.     You can keep the other part of the

25     answer.     Just focus on my questions, rather than       06:21:21

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1      the -- the other part.                                               06:21:25

2                  MR. BLUME:    Yes.     And I'm sorry.       I

3      thought I answered.      But that's how -- topic c.             If

4      you -- if every -- sub-topics a, b and c are

5      included --                                                          06:21:35

6                  SPECIAL MASTER GARRIE:          I get it.       Yeah.

7                  MR. BLUME:    -- in this topic.

8                  THE DEPONENT:    Honestly --

9                  MR. BLUME:    So what are the privacy --

10     right.                                                               06:21:39

11                 THE DEPONENT:    Counsel --

12                 MR. BLUME:    -- app settings or controls

13     for monitoring --

14                 SPECIAL MASTER GARRIE:          Counsel Blume.

15     Counsel Blume, I hear you.         You've got to just take           06:21:42

16     a --

17                 MR. BLUME:    Okay.

18                 SPECIAL MASTER GARRIE:          -- take a

19     second -- take a breath.         I'm just going through

20     them.    Okay.                                                       06:21:48

21                 MR. BLUME:    Okay.

22                 SPECIAL MASTER GARRIE:          I'm trying to

23     understand your position and perspective, and then

24     we can have further conversation.

25                 MR. BLUME:    Right.     Yes.                            06:21:54

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1                  SPECIAL MASTER GARRIE:      So you prepared     06:21:56

2      the witness to -- like from where I -- so from

3      your -- from Facebook's perspective, the witness is

4      prepared to testify as to the processes of

5      developing privacy or app settings or other, blah,          06:22:08

6      blah, blah, and the date.        So that's what --

7      controls available, not -- and your position is

8      having the witness as a representative of the

9      company speak to what drove the particular

10     instances to drive those processes and actions              06:22:27

11     she -- that witness isn't prepared to testify to

12     that.

13                 MR. BLUME:   Yeah.     It -- there's nothing

14     in here that speaks to --

15                 SPECIAL MASTER GARRIE:      I'm not -- wait.    06:22:36

16     Wait.

17                 (Simultaneously speaking.)

18                 MR. BLUME:   -- facts.

19                 SPECIAL MASTER GARRIE:      Answer my

20     question.                                                   06:22:37

21                 MR. BLUME:   So -- yes.

22                 SPECIAL MASTER GARRIE:      I'm not asking --

23     I'm not asking what --

24                 MR. BLUME:   Yes.     She is prepared to

25     answer here.                                                06:22:40

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1                   SPECIAL MASTER GARRIE:     I just want to --      06:22:40

2                   (Simultaneously speaking.)

3                   MR. BLUME:   You're absolutely right.       She

4      is prepared to --

5                   THE COURT REPORTER:    Please -- please --        06:22:40

6                   MR. BLUME:   That's exactly what she's

7      prepared to answer -- to testify to, exactly how

8      you just described it, the processes -- privacy and

9      app settings and controls.

10                  SPECIAL MASTER GARRIE:     I got it.              06:22:50

11     Counsel Blume, I got it.      Answer my questions and

12     not a bunch of other questions.        It will be much

13     quicker --

14                  MR. BLUME:   Gotcha.

15                  SPECIAL MASTER GARRIE:     -- for us to get       06:22:57

16     this done.

17                  MR. BLUME:   Under- -- understood.

18                  And -- and just -- if I may, Mr. Garrie,

19     its -- it's in fairness to Ms. Hendrix, right.

20                  SPECIAL MASTER GARRIE:     I understand,          06:23:17

21     Counsel.     I --

22                  MR. BLUME:   She -- she has to -- right.

23                  SPECIAL MASTER GARRIE:     Counsel Blume, I

24     have been a 30(b)(6) witness.

25                  MR. BLUME:   Right.                               06:23:21

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1                  THE DEPONENT:   I understand the concept,          06:23:22

2      the construct.    I understand the case law.           Don't

3      interpret my silence as an invitation to --

4                  MR. BLUME:   No, I -- I understand.

5                  SPECIAL MASTER GARRIE:     I'm just                06:23:28

6      scrolling --

7                  MR. BLUME:   You're scrolling text.

8                  SPECIAL MASTER GARRIE:     -- to read what

9      the question was.

10                 MR. BLUME:   Understood.                           06:23:31

11                 SPECIAL MASTER GARRIE:     Okay.    And your

12     instruction -- the long instruction --

13     Counsel Blume, the long and short of your

14     instruction was to instruct the witness not to

15     answer --                                                      06:24:16

16                 MR. BLUME:   Right.

17                 SPECIAL MASTER GARRIE:     -- based on it's

18     beyond the scope.

19                 MR. BLUME:   Yes, to the question,

20     identify all factual instances or circumstances                06:24:23

21     under Facebook --

22                 SPECIAL MASTER GARRIE:     Nah, nah --

23                 MR. BLUME:   -- did, in fact, detect --

24     that's the question -- and did, in fact, detect.

25     And we -- I object -- I objected that it is beyond             06:24:30

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1      the scope of topic 3 simply --                                 06:24:33

2                  SPECIAL MASTER GARRIE:       Okay.

3                  MR. BLUME:     -- simply enough.

4                  SPECIAL MASTER GARRIE:       Thank you.      All

5      right, Counsel Ko.       You can stop sharing.                 06:24:37

6                  Counsel Ko, any -- any point or question

7      before --

8                  MR. KO:   Sure.    Two quick things.

9                  One, again, I just come back to the

10     simple and practical point that I'm not sure how               06:24:58

11     one could suggest that the factual circumstances

12     behind monitoring or enforcement are not related to

13     this topic.

14                 And two, with respect to 2d, in

15     particular, which we've talked about quite often,              06:25:12

16     and which Mr. Blume likes to both either ignore or

17     inject policies and procedures into, there is no

18     aspect of section 2d which requires Facebook to

19     produce a witness about how Facebook ensured third

20     parties' use of data and information was limited to            06:25:31

21     the use case.

22                 I'm -- I'm not quite sure how I can

23     elicit any testimony whatsoever if I'm not allowed

24     to ask questions about the factual circumstances

25     behind how Facebook ensured that.                              06:25:42

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1                MR. BLUME:     Again --                          06:25:46

2                THE DEPONENT:     Ask that question.

3                MR. BLUME:     -- he can ask that question.

4                THE DEPONENT:     Yeah.

5                MR. BLUME:     Ask the question, how did         06:25:48

6      Facebook ensure that.     Ask that question.      She'll

7      sit here and answer that as long as we -- we want.

8      Ask that question.     The very question that is

9      listed in the topic, ask that.

10               SPECIAL MASTER GARRIE:       So there's a        06:26:07

11     question pending.

12               Are you going to take the advice of your

13     counsel, Ms. Hendrix, before we --

14               THE DEPONENT:     Yeah.   I -- I don't

15     remember the -- I -- yes, I'm going to take the            06:26:19

16     advice of -- of counsel.

17               SPECIAL MASTER GARRIE:       Okay.    Good.

18               Mr. -- Counsel Ko, would you like to ask

19     another question?    I'm not -- I'm -- I'm -- the

20     parties -- I will probably -- as -- as both                06:26:31

21     parties' rights are -- can bring a motion before

22     the Special Master seeking an additional topic or

23     clarification for the 30(b)(6), accordingly for

24     said witness to be provided to speak to that.

25     However, I do -- so I remind both parties of that          06:26:49

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1      opportunity.                                              06:26:57

2                  With that said, Mr. -- Counsel Ko, do you

3      have another question?

4                  MR. KO:   I do.    Thank you,

5      Special Master.                                           06:27:05

6                  And -- and I'll note that -- just my

7      position on the record, I'll note why the --

8      overall that this deposition has been so unhelpful,

9      because we just spent 17 minutes listening to

10     Mr. Blume discuss with you what this notice means         06:27:18

11     on the record.    And so I just repeated my --

12                 SPECIAL MASTER GARRIE:       Counsel Ko, I

13     wouldn't worry so much about getting additional

14     time or not getting additional time at this point.

15     I'm inclined if such a request is made -- maybe not       06:27:32

16     with this witness, but if -- I wouldn't focus on

17     the time at this point.       I would just ask the

18     additional questions you may have.

19                 MR. KO:   Thank you.     I appreciate that.

20          Q.     (By Mr. Ko)   With respect to data, misuse    06:27:50

21     on the Facebook platform, can you describe the

22     factual circumstances in which Facebook utilized

23     certain policies and procedures to, in fact,

24     enforce and monitor data misuse on the Facebook

25     platform?                                                 06:28:14

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1           A.     Yes.   So first, we develop the policies          06:28:18

2      that developers agree to and must comply with.           We

3      train -- for example, we -- we train the teams

4      accountable for policing the platform, which is

5      primarily the developer operations team.         So we        06:28:35

6      train them on those policies and create specific

7      guidance and instructions for how they can review

8      apps for compliance with the terms and policies, to

9      the extent we agree that those additional criteria

10     guidelines for reviewing for compliance might be              06:29:00

11     helpful to our teams that are actually doing the

12     review.

13                 And then we train all of the different

14     teams.    So for example, the app review team, the

15     enforcement team, the investigations team, all of             06:29:17

16     the vendor -- vendors that work on reviewing apps

17     for compliance.     So we will train everyone on those

18     terms.

19                 We also train our sales and partnerships

20     and other teams, including our own teams, as we               06:29:32

21     grow and build new people, so that broad wide group

22     of the company can understand what these terms are.

23     So that they can help us police the platform by

24     servicing and identifying those potential

25     violations of our terms.     And we educate them on           06:29:54

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1      how they can report those violations to the                 06:29:55

2      appropriate teams.

3                 We teach them how they can ask questions

4      about the policies, to the extent that they have

5      them.   We train the external developer community           06:30:03

6      and at times even nondevelopers on our terms where

7      applicable.

8                 We do monitoring which has evolved over

9      time, different types of monitoring.      But we use

10     both automated and manual means to detect potential         06:30:27

11     violations to, again, like including like the

12     reporting channels that I -- referred to earlier.

13




                                                                   06:31:14

21                We, present day, asked developers

22     proactively to do -- we -- we put the data use --

23     data use checkup tool in front of developers, which

24     shows them the permissions that they have.           They

25     already know that they have them and they're                06:31:33

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1      available in their app dashboard and other                06:31:35

2      settings, but we put in front of them those

3      permissions and ask them to yearly review that and

4      then assess whether they still need those

5      provisions.                                               06:31:48

6                We have automated tools in place that

7      will prevent a developer from accessing a user's

8      information through the platform if they haven't

9      used the application within 90 days.

10               We -- we also put certain developers            06:32:00

11     in -- with access to certain information or to

12     higher amounts of installs through what we refer to

13     as the data protection assessment that asks them

14     questions about their data use practices, primarily

15     focused on sections 3 through 6 of the platform           06:32:23

16     terms.

17               We require apps to go through app review

18     for nearly all use of the platform.      If they want

19     to request a new permission, then so that would

20     trigger a thorough review of the app at the app           06:32:40

21     review stage.   Each time they want to decide that

22     they are building their app in a way that requires

23     the need to request permissions which require

24     review, all of which do, for Facebook login.

25               If they are asking for more than name,          06:32:59

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1      profile, picture and email, even those apps that          06:33:01

2      don't require upfront app review are reviewed every

3      year during the app re-review process, where the

4      teams are asking -- are presented with a number of

5      questions designed to surface potential violations        06:33:16

6




14                We have a data bounty program where we

15     pay external reporting parties when they report to        06:33:49

16     us.   So we incentivize the reporting of potential

17     violations as an additional monitoring and

18     enforcement tac- -- tactic.

19                We have -- there's a third party, IDAC,

20     which serves to independently be reviewing apps for       06:34:10

21     potential compliance with not just our platforms,

22     but others.   And we -- we were the leader in

23     getting that to -- to come into place.      And so we

24     engage and ask for help through the entire

25     community, again, by educating all of these               06:34:29

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1      individuals on the terms.                                           06:34:32

2                  Going back to the data point program,

3      we -- that is not just specific to platform term

4      data collection through permissible means.                It also

5      includes data that is accessed through unauthorized                 06:34:47

6      means by scraping us.       So that is another part of

7      the bounty that will pay out where the criteria is

8      met.    For example, if we already are aware of an

9      investigation because it's been reported either

10     internally -- surfaced internally or reported by                    06:35:04

11     another person externally, then we will thank the

12     reporting party.

13                 We -- I feel like I've been incredibly

14     comprehensive, but please let me know if you have

15     any further questions on that point.                                06:35:19

16                 MR. KO:   It sounds like you got your

17     second wind.

18                 Rebecca, that was amazing.         Good job.

19                 THE DEPONENT:      I'm -- I'm not Rebecca,

20     but thank you.                                                      06:35:30

21                 MR. KO:   Right.     I was talking to

22     Rebecca, transcribing all of that.

23                 THE DEPONENT:      Oh.

24            Q.   (By Mr. Ko)     So with respect -- with --

25     with respect to --                                                  06:35:39

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1                  MR. BLUME:    But -- but good job to you,            06:35:39

2      too.

3                  THE DEPONENT:      Oh, thanks.

4                  MR. KO:   Right.      No, I -- sorry.         I --

5      I -- I implied that as well.                                     06:35:45

6                  THE DEPONENT:      I can't see her

7      transcribing, so I -- I didn't know what you were

8      referring to.    I can't see whatever it is that

9      you're referring to.      So I'm sorry.       But I thought

10     you were directing your comment to me.                           06:35:53

11            Q.   (By Mr. Ko)     In all the examples that you

12     gave in response to my question, can you identify

13     all the instances in which Facebook actually

14     applied those policies and procedures that you

15     described to a particular app?                                   06:36:10

16                 MR. BLUME:    Objection.      We're back to

17     topic 3.    If you can point to which of the topics

18     and sub-topics talk about particular instances of

19     application of the policies.

20                 MR. KO:   So I'm now looking at topic 2d,            06:36:35

21     in particular --

22                 MR. BLUME:    Okay.

23                 MR. KO:   -- addition to 3c.        But -- so

24     I -- I don't know if I have to respond to that,

25     but I think --                                                   06:36:42

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1                  (Simultaneously speaking.)                       06:36:43

2                  MR. BLUME:    Well, she's here.

3                  MR. KO:   So let me -- I'm just going to

4      ask the question again so the record is clear.

5           Q.     (By Mr. Ko)    Can you identify all the          06:36:48

6      instances in which Facebook actually applied those

7      policies and procedures that you described to a

8      particular app?

9                  MR. BLUME:    How -- how they -- well --

10                 MR. KO:   And you object?                        06:37:00

11                 MR. BLUME:    Yeah, to the extent it's 2d

12     my objection is, she -- I mean, it's clear why you

13     didn't want to ask the question.        She just

14     described how they ensure it.

15                 I'm not sure how this particular                 06:37:09

16     instances fits under 2d.      So if you can educate me,

17     I'll perhaps permit it.      But as I read it in the

18     plain language of the -- 2d, I think it's not --

19     what specific instances is not covered.

20                 MR. KO:   I -- I don't think I have a duty       06:37:28

21     here to try and educate you.       You can object --

22                 MR. BLUME:    Well, it's your topic.        If

23     you want an answer, you do, because it's your

24     topic.    So you can -- if -- you wrote it.        So if

25     you want answer --                                           06:37:38

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1                  MR. KO:   Stop repeating it -- can you          06:37:40

2      stop --

3                  MR. BLUME:     -- I would request that you

4      educate me on it.

5                  MR. KO:   This is why this has been a           06:37:44

6      completely unhelpful day, the continual --

7                  MR. BLUME:     That's --

8                  SPECIAL MASTER GARRIE:        Counsel Ko --

9                  MR. BLUME:     That's -- that's not why --

10                 SPECIAL MASTER GARRIE:        Counsel Blume,    06:37:51

11     stop talking.

12                 MR. BLUME:     That is not why.

13                 SPECIAL MASTER GARRIE:        Stop.   Put

14     yourselves on mute.

15                 Can you please bring up 2d, Counsel Ko.         06:37:58

16                 I will rule.     Let's see.

17                 Court Reporter, I'm looking for the

18     question.    Can you read it back.

19                 (Record read as follows:

20                 "QUESTION: Can you identify all the             06:39:02

21                 instances in which Facebook actually

22                 applied those policies and procedures

23                 that you described to a particular

24                 app?")

25                 SPECIAL MASTER GARRIE:        Counsel Ko, are   06:39:39

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1      you -- when I read 2d, it says "limited to the Use         06:39:40

2      Case."

3                 Can you clarify when you say "particular

4      app," what do you mean?

5                 MR. KO:    So a particular -- well, I -- I      06:39:47

6      wanted to start broad and I would hone in, which

7      I'm entitled to do.     But I am talking about, first,

8      if she has any understanding with respect to when

9      or the number of times -- generally, specifically,

10     either one -- of when she was aware of the actual          06:40:05

11     times in which Facebook applied all the examples

12     she gave of the various policies and procedures

13     that Facebook enacted to a particular app that may

14     have either been using information beyond the use

15     case or in any improper way.                               06:40:28

16                SPECIAL MASTER GARRIE:      And what was your

17     issue with -- how is this beyond the scope,

18     Counsel Blume?

19                I'm trying to read your answer, but it

20     was very long.                                             06:41:13

21                MR. BLUME:    It -- because it asks how,

22     not when, not what, not which.      All words they knew

23     and could have written in this topic, but they

24     didn't.   They chose how.    And now if he's trying to

25     expand it to include when, which, what.         I mean,    06:41:28

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1      that's --                                                 06:41:31

2                  SPECIAL MASTER GARRIE:     So is it your

3      position that Facebook will produce -- if I,

4      hypothetically, let the plaintiff submit another

5      set of 30(b)(6) depositions requests, and they            06:41:38

6      modify it accordingly, will you submit a different

7      witness to answer these questions?

8                  MR. BLUME:   If they're somehow permitted

9      to -- to file additional 30(b)(6)s --

10                 SPECIAL MASTER GARRIE:     Yes.               06:41:53

11                 MR. BLUME:   -- we'd have to take -- we'd

12     take that under consideration as to whether -- as

13     to whether to put someone up for yet another

14     30(b)(6), which would now be their third request.

15     I mean, there are interrogatories they had --             06:42:02

16                 SPECIAL MASTER GARRIE:     Well, when you

17     read it, Judge Chhabria was pretty clear as to

18     what is -- he was pretty -- I have pretty good

19     clarity as to this part.     So -- okay.

20                 MR. BLUME:   If they -- they -- if --         06:42:15

21     yeah, if they -- if they want -- if you -- if you

22     want to give them permission to continue with

23     another -- with another 30(b)(6) witness on those

24     specific topics, we know they know how to ask them.

25     They should do it properly and we'll consider it          06:42:27

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1      when we get it.                                             06:42:29

2                 SPECIAL MASTER GARRIE:     Is the -- the

3      witness -- I mean, my concern again is the witness

4      isn't prepared to answer the -- the other pieces of

5      the question; is that --                                    06:42:42

6                 MR. BLUME:   Yeah.

7                 SPECIAL MASTER GARRIE:     -- basically your

8      concern?

9                 MR. BLUME:   Right.   And I would ask you

10     -- I would ask you to determine that it -- she              06:42:47

11     wasn't required to prepare because then -- because

12     that's going to -- I'll -- we'll deal with another

13     request that's separate.

14                But what I don't want this witness to

15     believe when she leaves is she read "how," and that         06:43:00

16     she should have somehow interpreted "how" to mean

17     "what" and "when" and "which."      And that she

18     somehow was inadequate in her efforts to prepare.

19                She spent a lot of time doing this and I

20     just don't think it's fair to suggest that when --          06:43:13

21     when we read "how" -- whether they're entitled to

22     do it again in another depo or another notice.        And

23     that's fine --

24                SPECIAL MASTER GARRIE:     And I got it,

25     Counsel Blume.    I noted for -- I note your request        06:43:24

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1      for the record.                                                 06:43:26

2                   You can stop sharing, Counsel Ko.

3                   I'm going to refrain from issuing any

4      ruling to your request, Counsel Blume, in part,

5      because I just haven't read them all.           But I do --     06:43:40

6                   So Counsel Ko -- so Ms. Hendrix,

7      returning back to you, which is what we're here

8      for, I -- counsel gave the -- objected as beyond

9      the scope.

10                  Is that correct, Counsel Blume?        I           06:43:58

11     believe that was your objection.

12                  MR. BLUME:   It was.

13                  SPECIAL MASTER GARRIE:     Okay.     Are you

14     going to heed the advice of counsel -- so I

15     would -- have them reread it all, but we're talking             06:44:08

16     about 30 pages.     So I'm just cutting to the chase.

17                  THE DEPONENT:   I'm prepared to answer

18     everything that is described in the topics.             And I

19     agree with my counsel that nothing in here asked me

20     to prepare how many violations of specific                      06:44:26

21     provisions we've surfaced over the years.

22                  SPECIAL MASTER GARRIE:     I -- I'm not

23     ruling any which way or the other as to that.             I

24     haven't -- I wasn't privy to the motions or -- or

25     the conversations between the lawyers.           So I -- and    06:44:38

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1      we're -- and I -- and I don't know what was                 06:44:42

2      exchanged.

3                   So I -- I understand and appreciate where

4      you're coming from.        And I -- and I -- and I

5      commend you for your patience today and -- as I             06:44:49

6      thought it was three hours as well.

7                   So with that said, Counsel Ko -- so are

8      you going to answer the question or -- or follow

9      the instructions of counsel?

10                  THE DEPONENT:     I'm not prepared to answer   06:45:04

11     subjects that were not included in the topics that

12     I was asked to prepare for.        So I -- I can't answer

13     the question.     I'm going to follow my -- advice of

14     counsel.

15                  SPECIAL MASTER GARRIE:       There you go.     06:45:18

16     We'll just stop there.

17                  Counsel Ko, ask another question.

18          Q.      (By Mr. Ko)     So outside of the examples

19     that you gave for the various ways in which

20     Facebook would enforce, was it also the case that           06:45:31

21     individual employees often determined whether or

22     not Facebook would enforce against a particular

23     third party?

24          A.      Human beings are charged with -- to the

25     extent, they are -- for example, on developer               06:45:51

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1      operations, they are accountable to understand and        06:45:53

2      know the policies.    To the extent they have

3      questions or surface any gray areas and aren't

4      sure, there are teams, like the data policy

5      management and enforcement team and the product           06:46:04

6      policy team that manages most of the provisions in

7      the developer policies, except those that apply to

8      collection and use of data obtained from us.

9                They would review those applications for

10     compliance.   And to the extent they surfaced a           06:46:20

11     violation, they would look to what we refer to as

12     the enforcement rubric.    That is a -- a document

13     that outlines each provision and what the -- the

14     appropriate enforcement action is, if we surfaced

15     those violations.    And then they would be               06:46:39

16     instructed to follow those -- that -- and that take

17     that appropriate enforcement action.

18               I didn't speak in granularity with

19     respect to the enforcement actions that they could

20     take, but it's -- the enforcement actions would be        06:46:56

21     decided when we launched the policies and initially

22     developed that enforcement rubric, which first was

23     developed in 2009, because we wanted to ensure

24     consistency and uniformity in enforcement.

25               No one is accountable for making                06:47:15

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1      exceptions because we are not an exceptions-based            06:47:18

2      company.   If we surface a violation, we enforce

3      consistent with the enforcement rubric.         And -- and

4      we do so -- for example, today, based solely on the

5      nature, scope, severity of the violation and not             06:47:32

6      with respect to the relationship that we have with

7      the developer who has been concluded by a human as

8      violating a specific provision.

9                 Speaking of how it's gone during the

10     relevant period, it is true that during a period of          06:47:50

11     time the enforcement rubric did have a protocol for

12     reaching out to anyone who managed the relationship

13     with the partner to notify them that their partner

14     has been found to be violating one or more of the

15     respective provisions.                                       06:48:07

16                That has changed and now we do not have

17     that protocol and procedure.      They are notified via

18     what we refer to as a FYI email that outlines what

19     we've surfaced and the fact that we will be

20     reaching out to their partner through the developer          06:48:23

21     operations team.   So that they can be prepared to

22     respond to the developer.

23                To the extent the developer has any

24     questions or confusion, we encourage developers to

25     reply to the communications that we've sent that             06:48:37

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1      outline the violations.     But it is common --           06:48:39

2      some -- common practice for a developer that has --

3      that is a managed partner to reach out to their --

4      the person at the company that they have that

5      direct relationship with on and -- but no                 06:48:53

6      additional time is given in the context of that.

7      So developers -- all developers, whether managed or

8      unmanaged, must comply with the terms.        There are

9      no exceptions.     And they have the exact same amount

10     of time afforded to them whether they are managed         06:49:11

11     or unmanaged.     And the enforcement rubric -- which

12     is what we look to when the team surfaces a

13     violation.

14          Q.      And what is the case that all developers

15     did, in fact, comply with these terms?                    06:49:24

16          A.      I don't understand your question.

17          Q.      Are you aware of the instances in which

18     developers did or did not comply with the terms

19     that you had described a moment ago?

20          A.      As we've done throughout today, I will do    06:49:46

21     my own bitching and moaning.      I have already

22     answered that question twice.

23                  So for the third time, I will let you

24     know that I am not prepared to tell you every

25     single violation that has been surfaced and               06:49:57

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1      confirmed from 2007 to 2022.      I was not asked to            06:50:02

2      prepare for that.   It is not included in the topics

3      that you wrote.

4                It's how do these processes work.            I have

5      explained in thorough detail, potentially like                  06:50:11

6      overly explaining how we're doing this.         But,

7      again, I would just ask that we try not to repeat

8      questions I've answered because I am getting tired.

9      But I will stay here all night.

10          Q.   Well, to be fair, Ms. Hendrix, I was                  06:50:31

11     responding to your question -- or your response

12     that you didn't understand my question.         But it

13     sounds like you understood my question.

14               MR. BLUME:    Anyway, since -- can you ask

15     the next one.                                                   06:50:43

16          Q.   (By Mr. Ko)    Wasn't it the case that

17     Facebook's existing relationship with a third party

18     and the type of partner they were, determined

19     whether or not Facebook was going to enforce its

20     policies against that third party?                              06:50:59

21          A.   Absolutely not.

22          Q.   With respect to the enforcement rubric,

23     can you identify any instances in which employees

24     went outside of that rubric to decide not to

25     enforce against a particular third party?                       06:51:15

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1           A.   As I've just said and said earlier, we          06:51:19

2      are not an exception-based company.     Have we given

3      part- -- managed partners additional time to come

4      into compliance due to the need to reach out to the

5      managed partners so they know that we've surfaced         06:51:30

6      an issue, the answer to that is there -- is some

7      time during the relevant period where -- where you

8      look to the rubric, and there's a column for

9      managed and unmanaged, which shows the developer

10     operations team, that they need to take that              06:51:43

11     additional step of notifying the partner manager of

12     what they have surfaced within the application.

13     And -- but there's not any instances where we would

14     ignore or turn a blind eye to a violation.

15               The only distinction as between managed         06:52:02

16     and unmanaged would be there have been times where

17     a developer might get a little bit more time due to

18     the need to reach out to the partner manager.       But

19     at the end of the day, we always enforce those

20     provisions as we surface any violation.                   06:52:19

21          Q.   But how did Facebook ensure that they

22     were actually enforcing those provisions?

23          A.   Through the required -- through the

24     education of the policies.   So your job on

25     developer operations is not just to enforce the           06:52:38

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1      policies.    But in order to effectively enforce           06:52:40

2      them, you have to ensure that you have a very

3      strong understanding of all of the terms and

4      policies that are applicable to each respective

5      application.                                               06:52:50

6                  To the extent that you acquire that

7      knowledge, if you ever are unsure, the process

8      calls to reach out to either the data policy

9      management and enforcement team.      Or for

10     nondata-policy-related questions, for the policy           06:53:02

11     team that handles everything that my team does not,

12     you can ask for gray areas.

13                 We will either use that as a trigger to

14     inform the need to potentially develop -- going

15     back to another topic -- to develop new policies --        06:53:19

16     so if we think we need to be clearer, or we go back

17     to the -- the teammate on developer ops and we let

18     them know, hey, this is not a gray area.        This is

19     the respective provision or provisions that you

20     should cite to or give other kind of guidance or           06:53:34

21     clarity.

22                 So there is -- through education.         We

23     also do Q and A, where we audit a sample of the

24     enforcement actions that we've taken to -- and

25     decisions that we've made to assess and ensure for         06:53:52

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1      quality assurance perspectives that we are                   06:53:55

2      effectively and accurately policing the platform

3      consistent with the terms and policies that we have

4      in place.

5                   So yes, leaning in on all of the                06:54:12

6      additional methods that I described for the

7      automated and manual means for education, review,

8      re-review.

9           Q.      Couldn't individuals like Mark Zuckerberg

10     or Sheryl Sandberg, or any other Facebook exec, for          06:54:29

11     that matter, determine whether or not Facebook

12     should enforce its platform policy against a

13     third party?

14                  MR. BLUME:    Objection.     Was it -- was it

15     couldn't or didn't -- was what the first -- can              06:54:44

16     you -- I missed the first part of that question.

17                  MR. KO:   Couldn't.

18                  MR. BLUME:    Could you -- could the

19     reporter reread or you restate it.

20                  MR. KO:   Sure.                                 06:54:57

21          Q.      (By Mr. Ko)    Couldn't individuals like

22     Mark Zuckerberg and Sheryl Sandberg, for that

23     matter, any Facebook executive, determine whether

24     or not to enforce the platform policies -- enforce

25     Facebook's platform policy against a particular              06:55:13

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1      third party?                                                  06:55:16

2           A.      So you're wanting me to speculate on what

3      our executives might be able to do, given their

4      roles at our company?

5           Q.      I'm not asking you to speculate --               06:55:28

6      speculate.

7                   I'm asking you, as a corporate designee

8      of Facebook, if you are aware of any instances, in

9      connection with Facebook's monitoring and

10     enforcement of third parties, of whether                      06:55:39

11     individuals like Mark Zuckerberg or

12     Sheryl Sandberg, or any other Facebook executive,

13     for that matter, could determine themselves whether

14     or not to enforce platform policies against a

15     third party?                                                  06:55:53

16                  MR. BLUME:   Objection.     Compound.      And

17     does call for speculation.

18                  THE DEPONENT:   Yeah.     The word "could" --

19     of course, Mark could decide that -- if we told him

20     something was against policy, as with any human, he           06:56:06

21     could have feedback, like the culinary team, on

22     whether that policy should be in place or if it's

23     outdated or doesn't make sense, given the fact

24     that, you know, time goes go and things change.

25                  So, sure, it's possible that any human,          06:56:21

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1      including external people outside of the company,          06:56:23

2      could have opinions on whether we should enforce.

3      But those opinions would be whether the efficacy of

4      the policy and retaining the policy itself, or

5      whether it should be clear or not, again, we are           06:56:41

6      not an exceptions-based policy.

7           Q.    (By Mr. Ko)   Have you ever heard of a T0

8      partner?

9           A.    I've heard of T0.

10          Q.    What is your understanding of T0?               06:57:03

11          A.    I don't -- I don't remember.      I just know

12     I've heard of it.    But it doesn't apply in the

13     context of the monitoring enforcement and policing

14     of the platform and whether to enforce on

15     violations, whether you're T0 or however far the           06:57:22

16     numbers go.

17                So I'm not remembering right now.          I

18     don't -- that's not relevant to the question of

19     whether a developer with that designation has -- to

20     the extent, they even -- it's relevant to them --          06:57:37

21     has that status.    That -- that's not relevant to

22     the question of whether they're violating our

23     policies and whether we will enforce them.

24          Q.    Is there a policy or enforcement rubric

25     that governs how Facebook would enforce its                06:57:50

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1      policies as to partners that were in the T0                       06:57:51

2      category?

3             A.    It --

4                   MR. BLUME:    Object.      Other than the

5      ones -- the policies she's already spoken of?                     06:57:59

6                   MR. KO:   I have a question.         You can

7      raise an objection --

8                   SPECIAL MASTER GARRIE:         Object --

9      Counsel Blume, you didn't make an objections.

10                  Are you making an objection?                         06:58:12

11                  MR. BLUME:    Well, I just -- I'm trying to

12     save time.     She can go back through all the

13     policies again, or is she talking about --

14                  SPECIAL MASTER GARRIE:         Counsel, do you

15     have an objection to the question or not?                         06:58:19

16                  MR. BLUME:    No.     No objection.      Object --

17     yes.    Objection to form.

18                  SPECIAL MASTER GARRIE:         There you go.

19                  Please answer the question, Ms. Hendrix.

20                  THE DEPONENT:       I, sitting here today,           06:58:32

21     don't believe T0, or that type of specificity.              And

22     it was managed or unmanaged columns is what I'm

23     confident saying it has been.           But it's -- that is

24     certainly not the case today.

25            Q.    (By Mr. Ko)     Have you heard of a T1 or T2         06:58:51

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1      partner?                                                        06:58:53

2           A.      Yes.   And it -- I have this -- just for

3      purposes of our time, same response, we do not take

4      into account what -- what type of partner you are.

5      And we only enforce based on the nature, scope and              06:59:06

6      severity of the violation consistent with the

7      enforcement rubric, which does not distinguish

8      between tier zero and no tier partners, or anything

9      like that.

10                  It's all whether -- whether Facebook               06:59:20

11     knows who you are and works with you directly

12     through our teams or not, through just a developer

13     that we haven't any type of direct relationship

14     with, other than our contract with you to comply

15     with our provisions and adhere to our terms.            It is   06:59:38

16     not -- same response to any questions that you

17     presented with respect to tier -- tier zero.

18          Q.      So with respect to -- I just want to make

19     sure the record is clear.

20                  But with respect to T0, T1 and T2, is              06:59:54

21     there any policy or rubric that governed how

22     Facebook would enforce its policies as to partners

23     in these tiers?

24                  MR. BLUME:   Objection.    Asked and

25     answered.                                                       07:00:10

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1                      THE DEPONENT:     I have nothing further to     07:00:12

2      add other than what I've said.

3              Q.      (By Mr. Ko)     Wasn't it also the case that

4      Facebook would factor in how much third parties

5      were spending on advertising on the Facebook                    07:00:20

6      platform, before determining whether or not to

7      enforce its policies against these third parties?

8              A.      Well, the previous question was never the

9      case.        It's -- it's we only had managed and

10     unmanaged columns in the context of the rubric, and             07:00:34

11     none of that had anything to do on whether or not

12     to enforce or not.

13                     Now, whether a developer was spending ing

14     zero dollars, or a lot more money than zero

15     dollars, that is not a factor in whether to                     07:00:49

16     ultimately enforce the provision.

17             Q.      So advertising spend was not a part of

18     the enforcement rubric, correct?

19                     MR. BLUME:    Objection.     Asked and

20     answered.                                                       07:01:05

21                     THE DEPONENT:     Correct.    It's not a part

22     of the enforcement rubric.           Partners might be like,

23     can we have more time; this is an important

24     partner, yada, yada.          And we would let them know

25     that the developer must come into compliance with               07:01:16

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1      our policies.       And now, sitting here present day,    07:01:19

2      that doesn't contemplate any extensions of time

3      that we wouldn't afford in -- to a nonmanaged

4      developer.

5                   And, again, those extensions are baked       07:01:29

6      into the rubric.       So for example, you don't get an

7      extension for severity -- high severity provisions.

8           Q.      (By Mr. Ko)     Are you familiar with the

9      2012 FTC consent decree?

10          A.      Yes, I am.                                   07:01:46

11          Q.      Are you aware of the subsequent 2019 FTC

12     enforcement action?

13          A.      Yes.

14          Q.      So the consent decree and the subsequent

15     enforcement action, would you agree with me, would        07:01:57

16     that relate to -- in some manner would that relate

17     to Facebook's monitoring and enforcement?

18                  MR. BLUME:    Objection, to the extent it

19     calls for a legal -- to the extent you

20     understand -- to the extent the answer to that            07:02:15

21     question calls into effect conversations with

22     counsel, I'd instruct you not to answer.

23                  THE DEPONENT:     So the order, which is

24     publicly available for you to read, does have a

25     section that contemplates the -- that contemplates        07:02:32

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1      broadly monitoring and enforcement.                           07:02:41

2                   And -- and we did also -- and I

3      personally remember meeting with the auditor in the

4      context of the 12K, so I feel comfortable

5      confirming again -- and that's public -- that, yes,           07:02:53

6      both of those orders do speak to monitoring and

7      enforcement.

8           Q.      (By Mr. Ko)     Thank you.

9                   And in the -- the initial FTC consent

10     decree in 2012, Facebook agreed to certain                    07:03:07

11     provisions and certain things, for lack of a better

12     term, to improve their monitoring and enforcement

13     of their policies; is that fair to say?

14                  MR. BLUME:     Objection.    To the extent the

15     consent decree speaks for itself as to its terms,             07:03:30

16     it does --

17                  SPECIAL MASTER GARRIE:       Counsel --

18                  MR. BLUME:     -- as to specific --

19                  SPECIAL MASTER GARRIE:       What's the

20     objection?                                                    07:03:38

21                  MR. BLUME:     That the consent decree

22     speaks for itself.        It's the best evidence of what

23     it says.

24                  SPECIAL MASTER GARRIE:       Let's do with

25     best evidence.     Okay.                                      07:03:47

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1              Q.   (By Mr. Ko)     You can answer.                07:03:52

2                   SPECIAL MASTER GARRIE:       Are you

3      instructing the witness not to answer the question

4      or --

5                   MR. BLUME:     As to the terms of the          07:03:56

6      consent decree is beyond the scope of her topic.

7      But I'm sure -- if you want to show it to her, she

8      can walk through it with you, Mr. Ko.

9                   SPECIAL MASTER GARRIE:       I don't want to

10     show it to her.        But Counsel Ko, would you like       07:04:08

11     to -- so --

12                  MR. KO:     I -- I would like an answer to

13     my question.

14                  SPECIAL MASTER GARRIE:       Ms. Hendrix --

15                  THE DEPONENT:     Yeah.                        07:04:20

16                  MR. BLUME:     If you -- if you know the

17     answer, answer.

18                  THE DEPONENT:     So the only team that is

19     allowed to interpret the language of each of those

20     orders is the legal team.        The only communications    07:04:27

21     with respect to the interpretation of the order is

22     privileged conversations that we've had with the

23     legal team.

24                  So their -- we can rely on the language

25     of the order, but I am not able to speak to                 07:04:40

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1      nonprivileged conversations about the order because                 07:04:45

2      the legal team interprets and provides guidance on

3      the order.

4                   And even present day, I tell my teams,

5      you do not try to interpret the order.           You go to          07:04:57

6      the legal team to interpret any questions you have

7      about the order.

8                   MR. KO:     Wasn't it a widely held --

9                   THE COURT REPORTER:      I need a break in

10     a -- at a convenient time.        We've been going for              07:05:04

11     over an hour.

12                  MR. KO:     Sorry about that, Rebecca.

13                  SPECIAL MASTER GARRIE:        What kind of a

14     break do you need?

15                  THE COURT REPORTER:      Five minutes.       Ten       07:05:18

16     minutes.

17                  MS. WEAVER:     Sounds good.     We are going

18     off the record.        We're talking a five-minute break.

19                  THE VIDEOGRAPHER:     Okay.     We're off the

20     record.    It's 7:05 p.m.                                           07:05:28

21                  (Recess taken.)

22                  THE VIDEOGRAPHER:     We're back on the

23     record at 7:16 p.m.

24                  MR. KO:     Ms. Hendrix, congratulations.          I

25     have no further questions.                                          07:16:49

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1                 I just want to note for the record that        07:16:50

2      consistent with our prior representations,

3      plaintiffs reserve the right to reopen this

4      deposition as to these topics.

5                 MR. BLUME:   And consistent, I thought,        07:17:01

6      with Special Master Garrie's request to finish up

7      those topics, short of objections and debating over

8      the questions that were asked and objected to,

9      again, we -- we have -- we were not prepared to

10     bring this witness back on these topics.        She       07:17:20

11     remains available to answer them.      Although we've

12     gone beyond seven hours, we're still making her

13     available to answer questions on all those topics.

14                And so I, again, urge you to finish the

15     questions on these topics because those -- it's --        07:17:33

16     I'm not sure what your objection would be to

17     questions not yet asked about topics and why you

18     would be permitted to leave open the deposition to

19     cover ground you have not yet covered, when we're

20     making her available to finish this out today.            07:17:51

21                SPECIAL MASTER GARRIE:     I'll note it for

22     the record, Counsel Blume.

23                Counsel Ko, you both have extensively

24     exhausted the record on this issue two hours

25     earlier.   Both sides' positions are noted.               07:18:04

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1                  I'm still denying your request,                      07:18:06

2      Counsel Blume.     And --

3                  MR. BLUME:      Close it out.

4                  SPECIAL MASTER GARRIE:        No further

5      questions from Counsel Ko; is that correct,                      07:18:17

6      Counsel Ko?

7                  MR. KO:   Correct.

8                  SPECIAL MASTER GARRIE:        Counsel Blume,

9      any instructions --

10                 MR. BLUME:      No, nothing from us.                 07:18:28

11                 SPECIAL MASTER GARRIE:        Okay.     Before we

12     go off the record, we would -- the standing orders

13     for the transcript, because this is a 30(b)(6) --

14     you weren't sure, Counsel Blume.

15                 Is there anybody here from your team that            07:18:39

16     might be able to clarify?

17                 MR. BLUME:      I assume would -- I -- I

18     assume it's the same standing order as -- we'll --

19     we'll -- Rebecca, we'll let you know.             But it's the

20     same standing order as we have for the other                     07:18:51

21     depositions, please.

22                 SPECIAL MASTER GARRIE:        As long as it's

23     the same.     That's fine.

24                 MS. HERBERT:      It's the same.

25                 MR. BLUME:      Yeah, the same.       Okay.          07:18:57

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1                   THE COURT REPORTER:        Got -- got it.         07:19:00

2                   MR. BLUME:     Excellent.

3                   THE DEPONENT:     Rebecca, thank you.

4                   Nice to meet everybody.        But a sincere

5      thank you.     I -- I could see -- even I                      07:19:06

6      participating in that overtalking.           And I apologize

7      for when I did it.        I'm sure everybody else has the

8      same -- so thank you.        And I hope you have a good

9      night's rest.

10                  SPECIAL MASTER GARRIE:        You are the         07:19:24

11     witness, Ms. Hendrix.        They should never talk over

12     you.

13                  MR. BLUME:     All right.     Are we off?

14                  THE DEPONENT:     Thank you, John.      Thank

15     you.                                                           07:19:29

16                  THE VIDEOGRAPHER:        Okay to go off the

17     record everybody?

18                  SPECIAL MASTER GARRIE:        Yes.

19                  THE VIDEOGRAPHER:        Thank you.   We're off

20     the record.     It's 7:19 p.m.                                 07:19:33

21                  (TIME NOTED:     7:19 p.m.)

22

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24                               ---o0o---

25                                                                    07:19:36

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1             I, ALLISON HENDRIX, do hereby declare under
2      penalty of perjury that I have read the foregoing
3      transcript; that I have made any corrections as
4      appear notes; that my testimony as contained
5      herein, as corrected, is true and correct.
6             Executed this ____ day of ___________________,
7      2022, at      __________________,_____________________.
8
9
10
11                                _______________________
                                  ALLISON HENDRIX
12
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1      DAVID KO, ESQ.

2      dko@kellerrohrback.com

3                                                          May 10, 2022

4      IN RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION

5      MAY 5, 2022, ALLISON HENDRIX, JOB NO. 5210138

6      The above-referenced transcript has been

7      completed by Veritext Legal Solutions and

8      review of the transcript is being handled as follows:

9      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10        to schedule a time to review the original transcript at

11        a Veritext office.

12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13        Transcript - The witness should review the transcript and

14        make any necessary corrections on the errata pages included

15        below, notating the page and line number of the corrections.

16        The witness should then sign and date the errata and penalty

17        of perjury pages and return the completed pages to all

18        appearing counsel within the period of time determined at

19        the deposition or provided by the Code of Civil Procedure.

20     __ Waiving the CA Code of Civil Procedure per Stipulation of

21        Counsel - Original transcript to be released for signature

22        as determined at the deposition.

23     __ Signature Waived – Reading & Signature was waived at the

24        time of the deposition.

25

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1      __ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2         Transcript - The witness should review the transcript and

3         make any necessary corrections on the errata pages included

4         below, notating the page and line number of the corrections.

5         The witness should then sign and date the errata and penalty

6         of perjury pages and return the completed pages to all

7         appearing counsel within the period of time determined at

8         the deposition or provided by the Federal Rules.

9      _X_Federal R&S Not Requested - Reading & Signature was not

10        requested before the completion of the deposition.

11

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4      PAGE_____ LINE_____ CHANGE________________________
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21     REASON____________________________________________
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23     ________________________________                    _______________
24     WITNESS                                             Date
25

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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